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      No. 55]       NEW DELHI, MONDAY, DECEMBER 25, 2023/PAUSHA 4, 1945 (SAKA)

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       Separate paging is given to this Part in order that it may be filed as a separate compilation.




                            MINISTRY OF LAW AND JUSTICE
                                (Legislative Department)

                                   New Delhi, the 25th December, 2023/Pausha 4, 1945 (Saka)

           The following Act of Parliament received the assent of the President on the
      25th December, 2023 and is hereby published for general information:—

                    THE BHARATIYA SAKSHYA ADHINIYAM, 2023
                                NO. 47 OF 2023
                                                                              [25th December, 2023.]
      An Act to consolidate and to provide for general rules and principles of evidence
          for fair trial.
            BE it enacted by Parliament in the Seventy-fourth Year of the Republic of India as
      follows:—
                                                   PART I
                                                CHAPTER I
                                                PRELIMINARY
            1. (1) This Act may be called the Bharatiya Sakshya Adhiniyam, 2023.                           Short title,
                                                                                                           application and
            (2) It applies to all judicial proceedings in or before any Court, including Courts-martial,   commencement.
      but not to affidavits presented to any Court or officer, nor to proceedings before an arbitrator.
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                                         THE GAZETTE   OF INDIA EXTRAORDINARY
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                       3 ,WVKDOOFRPHLQWRIRUFHRQVXFKGDWHDVWKH&HQWUDO*RYHUQPHQWPD\E\QRWLILFDWLRQ
               LQWKH2IILFLDO*D]HWWHDSSRLQW
'HILQLWLRQV         2. 1 ,QWKLV$GKLQL\DPXQOHVVWKHFRQWH[WRWKHUZLVHUHTXLUHV²
                            a &RXUW LQFOXGHV DOO -XGJHV DQG 0DJLVWUDWHV DQG DOO SHUVRQV H[FHSW
                     DUELWUDWRUVOHJDOO\DXWKRULVHGWRWDNHHYLGHQFH
                            b FRQFOXVLYHSURRIPHDQVZKHQRQHIDFWLVGHFODUHGE\WKLV$GKLQL\DPWR
                     EHFRQFOXVLYHSURRIRIDQRWKHUWKH&RXUWVKDOORQSURRIRIWKHRQHIDFWUHJDUGWKH
                     RWKHUDVSURYHGDQGVKDOOQRWDOORZHYLGHQFHWREHJLYHQIRUWKHSXUSRVHRIGLVSURYLQJ
                     LW
                            c GLVSURYHGLQUHODWLRQWRDIDFWPHDQVZKHQDIWHUFRQVLGHULQJWKHPDWWHUV
                     EHIRUHLWWKH&RXUWHLWKHUEHOLHYHVWKDWLWGRHVQRWH[LVWRUFRQVLGHUVLWVQRQH[LVWHQFH
                     VRSUREDEOHWKDWDSUXGHQWPDQRXJKWXQGHUWKHFLUFXPVWDQFHVRIWKHSDUWLFXODUFDVH
                     WRDFWXSRQWKHVXSSRVLWLRQWKDWLWGRHVQRWH[LVW
                           d GRFXPHQWPHDQVDQ\PDWWHUH[SUHVVHGRUGHVFULEHGRURWKHUZLVHUHFRUGHG
                     XSRQDQ\VXEVWDQFHE\PHDQVRIOHWWHUVILJXUHVRUPDUNVRUDQ\RWKHUPHDQVRUE\
                     PRUHWKDQRQHRIWKRVHPHDQVLQWHQGHGWREHXVHGRUZKLFKPD\EHXVHGIRUWKH
                     SXUSRVHRIUHFRUGLQJWKDWPDWWHUDQGLQFOXGHVHOHFWURQLFDQGGLJLWDOUHFRUGV

                                                          Illustrations.
                               i $ZULWLQJLVDGRFXPHQW
                               ii :RUGVSULQWHGOLWKRJUDSKHGRUSKRWRJUDSKHGDUHGRFXPHQWV
                               iii $PDSRUSODQLVDGRFXPHQW
                               iv $QLQVFULSWLRQRQDPHWDOSODWHRUVWRQHLVDGRFXPHQW
                               v $FDULFDWXUHLVDGRFXPHQW
                            vi $QHOHFWURQLFUHFRUGRQHPDLOVVHUYHUORJVGRFXPHQWVRQFRPSXWHUVODSWRS
                     RUVPDUWSKRQHPHVVDJHVZHEVLWHVORFDWLRQDOHYLGHQFHDQGYRLFHPDLOPHVVDJHV
                     VWRUHGRQGLJLWDOGHYLFHVDUHGRFXPHQWV
                               e HYLGHQFHPHDQVDQGLQFOXGHV²
                                  i DOO VWDWHPHQWV LQFOXGLQJ VWDWHPHQWV JLYHQ HOHFWURQLFDOO\ ZKLFK WKH
                           &RXUWSHUPLWVRUUHTXLUHVWREHPDGHEHIRUHLWE\ZLWQHVVHVLQUHODWLRQWRPDWWHUV
                           RIIDFWXQGHULQTXLU\DQGVXFKVWDWHPHQWVDUHFDOOHGRUDOHYLGHQFH
                                  ii DOOGRFXPHQWVLQFOXGLQJHOHFWURQLFRUGLJLWDOUHFRUGVSURGXFHGIRUWKH
                           LQVSHFWLRQRIWKH&RXUWDQGVXFKGRFXPHQWVDUHFDOOHGGRFXPHQWDU\HYLGHQFH
                               f IDFWPHDQVDQGLQFOXGHV²
                                  i DQ\ WKLQJ VWDWH RI WKLQJV RU UHODWLRQ RI WKLQJV FDSDEOH RI EHLQJ
                           SHUFHLYHGE\WKHVHQVHV
                                     ii DQ\PHQWDOFRQGLWLRQRIZKLFKDQ\SHUVRQLVFRQVFLRXV

                                                          Illustrations.
                               i 7KDWWKHUHDUHFHUWDLQREMHFWVDUUDQJHGLQDFHUWDLQRUGHULQDFHUWDLQSODFHLV
                     DIDFW
                               ii 7KDWDSHUVRQKHDUGRUVDZVRPHWKLQJLVDIDFW
                               iii 7KDWDSHUVRQVDLGFHUWDLQZRUGVLVDIDFW
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                              iv 7KDWDSHUVRQKROGVDFHUWDLQRSLQLRQKDVDFHUWDLQLQWHQWLRQDFWVLQJRRG
                      IDLWKRUIUDXGXOHQWO\RUXVHVDSDUWLFXODUZRUGLQDSDUWLFXODUVHQVHRULVRUZDVDWD
                      VSHFLILHGWLPHFRQVFLRXVRIDSDUWLFXODUVHQVDWLRQLVDIDFW
                              g IDFWVLQLVVXHPHDQVDQGLQFOXGHVDQ\IDFWIURPZKLFKHLWKHUE\LWVHOIRU
                      LQFRQQHFWLRQZLWKRWKHUIDFWVWKHH[LVWHQFHQRQH[LVWHQFHQDWXUHRUH[WHQWRIDQ\
                      ULJKWOLDELOLW\RUGLVDELOLW\DVVHUWHGRUGHQLHGLQDQ\VXLWRUSURFHHGLQJQHFHVVDULO\
                      IROORZV
                            Explanation.²:KHQHYHUXQGHUWKHSURYLVLRQVRIWKHODZIRUWKHWLPHEHLQJ
                      LQIRUFHUHODWLQJWRFLYLOSURFHGXUHDQ\&RXUWUHFRUGVDQLVVXHRIIDFWWKHIDFWWREH
                      DVVHUWHGRUGHQLHGLQWKHDQVZHUWRVXFKLVVXHLVDIDFWLQLVVXH

                                                        Illustrations.
                      $LVDFFXVHGRIWKHPXUGHURI%$WKLVWULDOWKHIROORZLQJIDFWVPD\EHLQLVVXH²
                             i    7KDW$FDXVHG% VGHDWK
                             ii   7KDW$LQWHQGHGWRFDXVH% VGHDWK
                             iii 7KDW$KDGUHFHLYHGJUDYHDQGVXGGHQSURYRFDWLRQIURP%
                            iv 7KDW$DWWKHWLPHRIGRLQJWKHDFWZKLFKFDXVHG% VGHDWKZDVE\UHDVRQ
                      RIXQVRXQGQHVVRIPLQGLQFDSDEOHRINQRZLQJLWVQDWXUH
                            h PD\SUHVXPH²:KHQHYHULWLVSURYLGHGE\WKLV$GKLQL\DPWKDWWKH&RXUW
                      PD\SUHVXPHDIDFWLWPD\HLWKHUUHJDUGVXFKIDFWDVSURYHGXQOHVVDQGXQWLOLWLV
                      GLVSURYHGRUPD\FDOOIRUSURRIRILW
                            i QRWSURYHG²$IDFWLVVDLGWREHQRWSURYHGZKHQLWLVQHLWKHUSURYHGQRU
                      GLVSURYHG
                              j SURYHG²$IDFWLVVDLGWREHSURYHGZKHQDIWHUFRQVLGHULQJWKHPDWWHUV
                      EHIRUHLWWKH&RXUWHLWKHUEHOLHYHVLWWRH[LVWRUFRQVLGHUVLWVH[LVWHQFHVRSUREDEOH
                      WKDWDSUXGHQWPDQRXJKWXQGHUWKHFLUFXPVWDQFHVRIWKHSDUWLFXODUFDVHWRDFWXSRQ
                      WKHVXSSRVLWLRQWKDWLWH[LVWV
                             k UHOHYDQW²$IDFWLVVDLGWREHUHOHYDQWWRDQRWKHUZKHQLWLVFRQQHFWHG
                      ZLWKWKHRWKHULQDQ\RIWKHZD\VUHIHUUHGWRLQWKHSURYLVLRQVRIWKLV$GKLQL\DP
                      UHODWLQJWRWKHUHOHYDQF\RIIDFWV
                            l VKDOO SUHVXPH²:KHQHYHU LW LV GLUHFWHG E\ WKLV$GKLQL\DP WKDW WKH
                      &RXUWVKDOOSUHVXPHDIDFWLWVKDOOUHJDUGVXFKIDFWDVSURYHGXQOHVVDQGXQWLOLWLV
                      GLVSURYHG
                      2 :RUGVDQGH[SUHVVLRQVXVHGKHUHLQDQGQRWGHILQHGEXWGHILQHGLQWKH,QIRUPDWLRQ
 RI    7HFKQRORJ\$FWWKH%KDUDWL\D1DJDULN6XUDNVKD6DQKLWDDQGWKH%KDUDWL\D
                1\D\D6DQKLWDVKDOOKDYHWKHVDPHPHDQLQJVDVDVVLJQHGWRWKHPLQWKHVDLG$FWDQG
                6DQKLWDV


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                                                       &+$37(5,,
                                                     5(/(9$1&<2))$&76
                      3. (YLGHQFHPD\EHJLYHQLQDQ\VXLWRUSURFHHGLQJRIWKHH[LVWHQFHRUQRQH[LVWHQFH          (YLGHQFH PD\
                RIHYHU\IDFWLQLVVXHDQGRIVXFKRWKHUIDFWVDVDUHKHUHLQDIWHUGHFODUHGWREHUHOHYDQWDQG      EH JLYHQ RI
                RIQRRWKHUV                                                                                       IDFWV LQ LVVXH
                                                                                                                    DQG UHOHYDQW
                       Explanation.²7KLVVHFWLRQVKDOOQRWHQDEOHDQ\SHUVRQWRJLYHHYLGHQFHRIDIDFW             IDFWV
                ZKLFKKHLVGLVHQWLWOHGWRSURYHE\DQ\SURYLVLRQRIWKHODZIRUWKHWLPHEHLQJLQIRUFH
                UHODWLQJWRFLYLOSURFHGXUH
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                                                              Illustrations.
                          a $LVWULHGIRUWKHPXUGHURI%E\EHDWLQJKLPZLWKDFOXEZLWKWKHLQWHQWLRQRI
                    FDXVLQJKLVGHDWK
                          $W$ VWULDOWKHIROORZLQJIDFWVDUHLQLVVXH²
                                 $ VEHDWLQJ%ZLWKWKHFOXE
                                 $ VFDXVLQJ% VGHDWKE\VXFKEHDWLQJ
                                 $ VLQWHQWLRQWRFDXVH% VGHDWK
                          b $VXLWRUGRHVQRWEULQJZLWKKLPDQGKDYHLQUHDGLQHVVIRUSURGXFWLRQDWWKHILUVW
                    KHDULQJRIWKHFDVHDERQGRQZKLFKKHUHOLHV7KLVVHFWLRQGRHVQRWHQDEOHKLPWRSURGXFH
                    WKHERQGRUSURYHLWVFRQWHQWVDWDVXEVHTXHQWVWDJHRIWKHSURFHHGLQJVRWKHUZLVHWKDQLQ
                    DFFRUGDQFHZLWKWKHFRQGLWLRQVSUHVFULEHGE\WKH&RGHRI&LYLO3URFHGXUH                         RI 

                                                        Closely connected facts
5HOHYDQF\ RI             4. )DFWV ZKLFK WKRXJK QRW LQ LVVXH DUH VR FRQQHFWHG ZLWK D IDFW LQ LVVXH RU D
IDFWV IRUPLQJ      UHOHYDQWIDFWDVWRIRUPSDUWRIWKHVDPHWUDQVDFWLRQDUHUHOHYDQWZKHWKHUWKH\RFFXUUHGDW
SDUW RI VDPH
WUDQVDFWLRQ
                    WKHVDPHWLPHDQGSODFHRUDWGLIIHUHQWWLPHVDQGSODFHV

                                                              Illustrations.
                           a $LVDFFXVHGRIWKHPXUGHURI%E\EHDWLQJKLP:KDWHYHUZDVVDLGRUGRQHE\$
                    RU%RUWKHE\VWDQGHUVDWWKHEHDWLQJRUVRVKRUWO\EHIRUHRUDIWHULWDVWRIRUPSDUWRIWKH
                    WUDQVDFWLRQLVDUHOHYDQWIDFW
                          b $LVDFFXVHGRIZDJLQJZDUDJDLQVWWKH*RYHUQPHQWRI,QGLDE\WDNLQJSDUWLQDQ
                    DUPHGLQVXUUHFWLRQLQZKLFKSURSHUW\LVGHVWUR\HGWURRSVDUHDWWDFNHGDQGMDLOVDUHEURNHQ
                    RSHQ7KHRFFXUUHQFHRIWKHVHIDFWVLVUHOHYDQWDVIRUPLQJSDUWRIWKHJHQHUDOWUDQVDFWLRQ
                    WKRXJK$PD\QRWKDYHEHHQSUHVHQWDWDOORIWKHP
                            c $VXHV%IRUDOLEHOFRQWDLQHGLQDOHWWHUIRUPLQJSDUWRIDFRUUHVSRQGHQFH/HWWHUV
                    EHWZHHQWKHSDUWLHVUHODWLQJWRWKHVXEMHFWRXWRIZKLFKWKHOLEHODURVHDQGIRUPLQJSDUWRI
                    WKHFRUUHVSRQGHQFHLQZKLFKLWLVFRQWDLQHGDUHUHOHYDQWIDFWVWKRXJKWKH\GRQRWFRQWDLQ
                    WKHOLEHOLWVHOI
                           d 7KHTXHVWLRQLVZKHWKHUFHUWDLQJRRGVRUGHUHGIURP%ZHUHGHOLYHUHGWR$7KH
                    JRRGV ZHUH GHOLYHUHG WR VHYHUDO LQWHUPHGLDWH SHUVRQV VXFFHVVLYHO\ (DFK GHOLYHU\ LV D
                    UHOHYDQWIDFW
)DFWV ZKLFK DUH          5. )DFWVZKLFKDUHWKHRFFDVLRQFDXVHRUHIIHFWLPPHGLDWHRURWKHUZLVHRIUHOHYDQW
RFFDVLRQ FDXVH    IDFWVRUIDFWVLQLVVXHRUZKLFKFRQVWLWXWHWKHVWDWHRIWKLQJVXQGHUZKLFKWKH\KDSSHQHG
RU HIIHFW RI
IDFWVLQLVVXHRU
                    RUZKLFKDIIRUGHGDQRSSRUWXQLW\IRUWKHLURFFXUUHQFHRUWUDQVDFWLRQDUHUHOHYDQW
UHOHYDQW IDFWV

                                                              Illustrations.
                           a 7KHTXHVWLRQLVZKHWKHU$UREEHG%7KHIDFWVWKDWVKRUWO\EHIRUHWKHUREEHU\
                    %ZHQWWRDIDLUZLWKPRQH\LQKLVSRVVHVVLRQDQGWKDWKHVKRZHGLWRUPHQWLRQHGWKHIDFW
                    WKDWKHKDGLWWRWKLUGSHUVRQVDUHUHOHYDQW
                           b 7KHTXHVWLRQLVZKHWKHU$PXUGHUHG%0DUNVRQWKHJURXQGSURGXFHGE\D
                    VWUXJJOHDWRUQHDUWKHSODFHZKHUHWKHPXUGHUZDVFRPPLWWHGDUHUHOHYDQWIDFWV
                           c 7KHTXHVWLRQLVZKHWKHU$SRLVRQHG%7KHVWDWHRI% VKHDOWKEHIRUHWKHV\PSWRPV
                    DVFULEHGWRSRLVRQDQGKDELWVRI%NQRZQWR$ZKLFKDIIRUGHGDQRSSRUWXQLW\IRUWKH
                    DGPLQLVWUDWLRQRISRLVRQDUHUHOHYDQWIDFWV
0RWLYH                    6. 1 $Q\IDFWLVUHOHYDQWZKLFKVKRZVRUFRQVWLWXWHVDPRWLYHRUSUHSDUDWLRQIRUDQ\
SUHSDUDWLRQ         IDFWLQLVVXHRUUHOHYDQWIDFW
DQG SUHYLRXV
RU VXEVHTXHQW
FRQGXFW
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             2 7KHFRQGXFWRIDQ\SDUW\RURIDQ\DJHQWWRDQ\SDUW\WRDQ\VXLWRUSURFHHGLQJ
     LQUHIHUHQFHWRVXFKVXLWRUSURFHHGLQJRULQUHIHUHQFHWRDQ\IDFWLQLVVXHWKHUHLQRUUHOHYDQW
     WKHUHWR DQG WKH FRQGXFW RI DQ\ SHUVRQ DQ RIIHQFH DJDLQVW ZKRP LV WKH VXEMHFW RI DQ\
     SURFHHGLQJLVUHOHYDQWLIVXFKFRQGXFWLQIOXHQFHVRULVLQIOXHQFHGE\DQ\IDFWLQLVVXHRU
     UHOHYDQWIDFWDQGZKHWKHULWZDVSUHYLRXVRUVXEVHTXHQWWKHUHWR
          Explanation²7KHZRUGFRQGXFWLQWKLVVHFWLRQGRHVQRWLQFOXGHVWDWHPHQWV
     XQOHVV WKRVH VWDWHPHQWV DFFRPSDQ\ DQG H[SODLQ DFWV RWKHU WKDQ VWDWHPHQWV EXW WKLV
     H[SODQDWLRQLVQRWWRDIIHFWWKHUHOHYDQF\RIVWDWHPHQWVXQGHUDQ\RWKHUVHFWLRQRIWKLV
     $GKLQL\DP
          Explanation²:KHQWKHFRQGXFWRIDQ\SHUVRQLVUHOHYDQWDQ\VWDWHPHQWPDGHWR
     KLPRULQKLVSUHVHQFHDQGKHDULQJZKLFKDIIHFWVVXFKFRQGXFWLVUHOHYDQW

                                               Illustrations.
            a $LVWULHGIRUWKHPXUGHURI%7KHIDFWVWKDW$PXUGHUHG&WKDW%NQHZWKDW$KDG
     PXUGHUHG&DQGWKDW%KDGWULHGWRH[WRUWPRQH\IURP$E\WKUHDWHQLQJWRPDNHKLVNQRZOHGJH
     SXEOLFDUHUHOHYDQW
            b $VXHV%XSRQDERQGIRUWKHSD\PHQWRIPRQH\%GHQLHVWKHPDNLQJRIWKH
     ERQG7KHIDFWWKDWDWWKHWLPHZKHQWKHERQGZDVDOOHJHGWREHPDGH%UHTXLUHGPRQH\IRU
     DSDUWLFXODUSXUSRVHLVUHOHYDQW
           c $LVWULHGIRUWKHPXUGHURI%E\SRLVRQ7KHIDFWWKDWEHIRUHWKHGHDWKRI%$
     SURFXUHGSRLVRQVLPLODUWRWKDWZKLFKZDVDGPLQLVWHUHGWR%LVUHOHYDQW
            d 7KHTXHVWLRQLVZKHWKHUDFHUWDLQGRFXPHQWLVWKHZLOORI$7KHIDFWVWKDWQRW
     ORQJEHIRUHWKHGDWHRIWKHDOOHJHGZLOO$PDGHLQTXLU\LQWRPDWWHUVWRZKLFKWKHSURYLVLRQV
     RIWKHDOOHJHGZLOOUHODWHWKDWKHFRQVXOWHGDGYRFDWHVLQUHIHUHQFHWRPDNLQJWKHZLOODQG
     WKDWKHFDXVHGGUDIWVRIRWKHUZLOOVWREHSUHSDUHGRIZKLFKKHGLGQRWDSSURYHDUHUHOHYDQW
             e $LVDFFXVHGRIDFULPH7KHIDFWVWKDWHLWKHUEHIRUHRUDWWKHWLPHRIRUDIWHUWKH
     DOOHJHGFULPH$SURYLGHGHYLGHQFHZKLFKZRXOGWHQGWRJLYHWRWKHIDFWVRIWKHFDVHDQ
     DSSHDUDQFHIDYRXUDEOHWRKLPVHOIRUWKDWKHGHVWUR\HGRUFRQFHDOHGHYLGHQFHRUSUHYHQWHG
     WKH SUHVHQFH RU SURFXUHG WKH DEVHQFH RI SHUVRQV ZKR PLJKW KDYH EHHQ ZLWQHVVHV RU
     VXERUQHGSHUVRQVWRJLYHIDOVHHYLGHQFHUHVSHFWLQJLWDUHUHOHYDQW
            f 7KHTXHVWLRQLVZKHWKHU$UREEHG%7KHIDFWVWKDWDIWHU%ZDVUREEHG&VDLGLQ
     $ V SUHVHQFH²WKH SROLFH DUH FRPLQJ WR ORRN IRU WKH SHUVRQ ZKR UREEHG % DQG WKDW
     LPPHGLDWHO\DIWHUZDUGV$UDQDZD\DUHUHOHYDQW
             g 7KHTXHVWLRQLVZKHWKHU$RZHV%WHQWKRXVDQGUXSHHV7KHIDFWVWKDW$DVNHG
     &WROHQGKLPPRQH\DQGWKDW'VDLGWR&LQ$ VSUHVHQFHDQGKHDULQJ²,DGYLVH\RXQRW
     WRWUXVW$IRUKHRZHV%WHQWKRXVDQGUXSHHVDQGWKDW$ZHQWDZD\ZLWKRXWPDNLQJDQ\
     DQVZHUDUHUHOHYDQWIDFWV
             h 7KHTXHVWLRQLVZKHWKHU$FRPPLWWHGDFULPH7KHIDFWWKDW$DEVFRQGHGDIWHU
     UHFHLYLQJDOHWWHUZDUQLQJ$WKDWLQTXLU\ZDVEHLQJPDGHIRUWKHFULPLQDODQGWKHFRQWHQWV
     RIWKHOHWWHUDUHUHOHYDQW
             i $LVDFFXVHGRIDFULPH7KHIDFWVWKDWDIWHUWKHFRPPLVVLRQRIWKHDOOHJHGFULPH
     $DEVFRQGHGRUZDVLQSRVVHVVLRQRISURSHUW\RUWKHSURFHHGVRISURSHUW\DFTXLUHGE\WKH
     FULPHRUDWWHPSWHGWRFRQFHDOWKLQJVZKLFKZHUHRUPLJKWKDYHEHHQXVHGLQFRPPLWWLQJLW
     DUHUHOHYDQW
            j 7KHTXHVWLRQLVZKHWKHU$ZDVUDSHG7KHIDFWWKDWVKRUWO\DIWHUWKHDOOHJHGUDSH
     $PDGHDFRPSODLQWUHODWLQJWRWKHFULPHWKHFLUFXPVWDQFHVXQGHUZKLFKDQGWKHWHUPVLQ
     ZKLFKWKHFRPSODLQWZDVPDGHDUHUHOHYDQW7KHIDFWWKDWZLWKRXWPDNLQJDFRPSODLQW$
     VDLGWKDW$KDGEHHQUDSHGLVQRWUHOHYDQWDVFRQGXFWXQGHUWKLVVHFWLRQWKRXJKLWPD\EH
     UHOHYDQWDVDG\LQJGHFODUDWLRQXQGHUFODXVH a RIVHFWLRQRUDVFRUURERUDWLYHHYLGHQFH
     XQGHUVHFWLRQ
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                          k 7KH TXHVWLRQ LV ZKHWKHU$ ZDV UREEHG7KH IDFW WKDW VRRQ DIWHU WKH DOOHJHG
                   UREEHU\$PDGHDFRPSODLQWUHODWLQJWRWKHRIIHQFHWKHFLUFXPVWDQFHVXQGHUZKLFKDQGWKH
                   WHUPVLQZKLFKWKHFRPSODLQWZDVPDGHDUHUHOHYDQW7KHIDFWWKDW$VDLGKHKDGEHHQ
                   UREEHG ZLWKRXW PDNLQJ DQ\ FRPSODLQW LV QRW UHOHYDQW DV FRQGXFW XQGHU WKLV VHFWLRQ
                   WKRXJK LW PD\ EH UHOHYDQW DV D G\LQJ GHFODUDWLRQ XQGHU FODXVH a  RI VHFWLRQ  RU DV
                   FRUURERUDWLYHHYLGHQFHXQGHUVHFWLRQ
)DFWV                    7. )DFWVQHFHVVDU\WRH[SODLQRULQWURGXFHDIDFWLQLVVXHRUUHOHYDQWIDFWRUZKLFK
QHFHVVDU\ WR      VXSSRUW RU UHEXW DQ LQIHUHQFH VXJJHVWHG E\ D IDFW LQ LVVXH RU D UHOHYDQW IDFW RU ZKLFK
H[SODLQ RU
LQWURGXFH IDFW
                   HVWDEOLVKWKHLGHQWLW\RIDQ\WKLQJRUSHUVRQZKRVHLGHQWLW\LVUHOHYDQWRUIL[WKHWLPHRU
LQ LVVXH RU      SODFHDWZKLFKDQ\IDFWLQLVVXHRUUHOHYDQWIDFWKDSSHQHGRUZKLFKVKRZWKHUHODWLRQRI
UHOHYDQW IDFWV   SDUWLHVE\ZKRPDQ\VXFKIDFWZDVWUDQVDFWHGDUHUHOHYDQWLQVRIDUDVWKH\DUHQHFHVVDU\
                   IRUWKDWSXUSRVH

                                                              Illustrations.
                         a 7KH TXHVWLRQ LV ZKHWKHU D JLYHQ GRFXPHQW LV WKH ZLOO RI$7KH VWDWH RI$ V
                   SURSHUW\DQGRIKLVIDPLO\DWWKHGDWHRIWKHDOOHJHGZLOOPD\EHUHOHYDQWIDFWV
                           b $VXHV%IRUDOLEHOLPSXWLQJGLVJUDFHIXOFRQGXFWWR$%DIILUPVWKDWWKHPDWWHU
                   DOOHJHGWREHOLEHOORXVLVWUXH7KHSRVLWLRQDQGUHODWLRQVRIWKHSDUWLHVDWWKHWLPHZKHQWKH
                   OLEHOZDVSXEOLVKHGPD\EHUHOHYDQWIDFWVDVLQWURGXFWRU\WRWKHIDFWVLQLVVXH7KHSDUWLFXODUV
                   RIDGLVSXWHEHWZHHQ$DQG%DERXWDPDWWHUXQFRQQHFWHGZLWKWKHDOOHJHGOLEHODUHLUUHOHYDQW
                   WKRXJKWKHIDFWWKDWWKHUHZDVDGLVSXWHPD\EHUHOHYDQWLILWDIIHFWHGWKHUHODWLRQVEHWZHHQ
                   $DQG%
                           c $LVDFFXVHGRIDFULPH7KHIDFWWKDWVRRQDIWHUWKHFRPPLVVLRQRIWKHFULPH$
                   DEVFRQGHG IURP KLV KRXVH LV UHOHYDQW XQGHU VHFWLRQ  DV FRQGXFW VXEVHTXHQW WR DQG
                   DIIHFWHGE\IDFWVLQLVVXH7KHIDFWWKDWDWWKHWLPHZKHQKHOHIWKRPH$KDGVXGGHQDQG
                   XUJHQWEXVLQHVVDWWKHSODFHWRZKLFKKHZHQWLVUHOHYDQWDVWHQGLQJWRH[SODLQWKHIDFWWKDW
                   KHOHIWKRPHVXGGHQO\7KHGHWDLOVRIWKHEXVLQHVVRQZKLFKKHOHIWDUHQRWUHOHYDQWH[FHSW
                   LQVRIDUDVWKH\DUHQHFHVVDU\WRVKRZWKDWWKHEXVLQHVVZDVVXGGHQDQGXUJHQW
                          d $VXHV%IRULQGXFLQJ&WREUHDNDFRQWUDFWRIVHUYLFHPDGHE\KLPZLWK$&RQ
                   OHDYLQJ$ VVHUYLFHVD\VWR$²,DPOHDYLQJ\RXEHFDXVH%KDVPDGHPHDEHWWHURIIHU
                   7KLVVWDWHPHQWLVDUHOHYDQWIDFWDVH[SODQDWRU\RI& VFRQGXFWZKLFKLVUHOHYDQWDVDIDFWLQ
                   LVVXH
                          e $DFFXVHGRIWKHIWLVVHHQWRJLYHWKHVWROHQSURSHUW\WR%ZKRLVVHHQWRJLYHLW
                   WR$ VZLIH%VD\VDVKHGHOLYHUVLW²$VD\V\RXDUHWRKLGHWKLV% VVWDWHPHQWLVUHOHYDQW
                   DVH[SODQDWRU\RIDIDFWZKLFKLVSDUWRIWKHWUDQVDFWLRQ
                         f $LVWULHGIRUDULRWDQGLVSURYHGWRKDYHPDUFKHGDWWKHKHDGRIDPRE7KHFULHVRI
                   WKHPREDUHUHOHYDQWDVH[SODQDWRU\RIWKHQDWXUHRIWKHWUDQVDFWLRQ
7KLQJV VDLG RU          8. :KHUH WKHUH LV UHDVRQDEOH JURXQG WR EHOLHYH WKDW WZR RU PRUH SHUVRQV KDYH
GRQH E\           FRQVSLUHGWRJHWKHUWRFRPPLWDQRIIHQFHRUDQDFWLRQDEOHZURQJDQ\WKLQJVDLGGRQHRU
FRQVSLUDWRU LQ
UHIHUHQFH WR
                   ZULWWHQE\DQ\RQHRIVXFKSHUVRQVLQUHIHUHQFHWRWKHLUFRPPRQLQWHQWLRQDIWHUWKHWLPH
FRPPRQ             ZKHQVXFKLQWHQWLRQZDVILUVWHQWHUWDLQHGE\DQ\RQHRIWKHPLVDUHOHYDQWIDFWDVDJDLQVW
GHVLJQ            HDFKRIWKHSHUVRQVEHOLHYHGWREHVRFRQVSLULQJDVZHOOIRUWKHSXUSRVHRISURYLQJWKH
                   H[LVWHQFHRIWKHFRQVSLUDF\DVIRUWKHSXUSRVHRIVKRZLQJWKDWDQ\VXFKSHUVRQZDVDSDUW\
                   WRLW

                                                               Illustration.
                         5HDVRQDEOHJURXQGH[LVWVIRUEHOLHYLQJWKDW$KDVMRLQHGLQDFRQVSLUDF\WRZDJHZDU
                   DJDLQVWWKH6WDWH
                        7KHIDFWVWKDW%SURFXUHGDUPVLQ(XURSHIRUWKHSXUSRVHRIWKHFRQVSLUDF\&FROOHFWHG
                   PRQH\LQ.RONDWDIRUDOLNHREMHFW'SHUVXDGHGSHUVRQVWRMRLQWKHFRQVSLUDF\LQ0XPEDL
                   (SXEOLVKHGZULWLQJVDGYRFDWLQJWKHREMHFWLQYLHZDW$JUDDQG)WUDQVPLWWHGIURP'HOKLWR
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     *DW6LQJDSRUHWKHPRQH\ZKLFK&KDGFROOHFWHGDW.RONDWDDQGWKHFRQWHQWVRIDOHWWHU
     ZULWWHQ E\ + JLYLQJ DQ DFFRXQW RI WKH FRQVSLUDF\ DUH HDFK UHOHYDQW ERWK WR SURYH WKH
     H[LVWHQFHRIWKHFRQVSLUDF\DQGWRSURYH$ VFRPSOLFLW\LQLWDOWKRXJKKHPD\KDYHEHHQ
     LJQRUDQWRIDOORIWKHPDQGDOWKRXJKWKHSHUVRQVE\ZKRPWKH\ZHUHGRQHZHUHVWUDQJHUV
     WRKLPDQGDOWKRXJKWKH\PD\KDYHWDNHQSODFHEHIRUHKHMRLQHGWKHFRQVSLUDF\RUDIWHUKH
     OHIWLW
           9. )DFWVQRWRWKHUZLVHUHOHYDQWDUHUHOHYDQW²                                                     :KHQ IDFWV
                                                                                                             QRW RWKHUZLVH
                   1 LIWKH\DUHLQFRQVLVWHQWZLWKDQ\IDFWLQLVVXHRUUHOHYDQWIDFW                       UHOHYDQW
                                                                                                             EHFRPH
                 2 LIE\WKHPVHOYHVRULQFRQQHFWLRQZLWKRWKHUIDFWVWKH\PDNHWKHH[LVWHQFHRU            UHOHYDQW
           QRQH[LVWHQFHRIDQ\IDFWLQLVVXHRUUHOHYDQWIDFWKLJKO\SUREDEOHRULPSUREDEOH

                                                Illustrations.
                 a 7KHTXHVWLRQLVZKHWKHU$FRPPLWWHGDFULPHDW&KHQQDLRQDFHUWDLQGD\
           7KHIDFWWKDWRQWKDWGD\$ZDVDW/DGDNKLVUHOHYDQW7KHIDFWWKDWQHDUWKHWLPH
           ZKHQWKHFULPHZDVFRPPLWWHG$ZDVDWDGLVWDQFHIURPWKHSODFHZKHUHLWZDV
           FRPPLWWHGZKLFKZRXOGUHQGHULWKLJKO\LPSUREDEOHWKRXJKQRWLPSRVVLEOHWKDWKH
           FRPPLWWHGLWLVUHOHYDQW
                  b 7KHTXHVWLRQLVZKHWKHU$FRPPLWWHGDFULPH7KHFLUFXPVWDQFHVDUHVXFK
           WKDWWKHFULPHPXVWKDYHEHHQFRPPLWWHGHLWKHUE\$%&RU'(YHU\IDFWZKLFK
           VKRZVWKDWWKHFULPHFRXOGKDYHEHHQFRPPLWWHGE\QRRQHHOVHDQGWKDWLWZDVQRW
           FRPPLWWHGE\HLWKHU%&RU'LVUHOHYDQW
          10. ,QVXLWVLQZKLFKGDPDJHVDUHFODLPHGDQ\IDFWZKLFKZLOOHQDEOHWKH&RXUWWR                 )DFWV WHQGLQJ
     GHWHUPLQHWKHDPRXQWRIGDPDJHVZKLFKRXJKWWREHDZDUGHGLVUHOHYDQW                                 WR HQDEOH &RXUW
                                                                                                             WR GHWHUPLQH
                                                                                                             DPRXQW DUH
                                                                                                             UHOHYDQWLQVXLWV
                                                                                                             IRU GDPDJHV

            11. :KHUHWKHTXHVWLRQLVDVWRWKHH[LVWHQFHRIDQ\ULJKWRUFXVWRPWKHIROORZLQJ              )DFWV UHOHYDQW
     IDFWVDUHUHOHYDQW²                                                                                     ZKHQ ULJKW RU
                                                                                                             FXVWRP LV LQ
                  a DQ\ WUDQVDFWLRQ E\ ZKLFK WKH ULJKW RU FXVWRP LQ TXHVWLRQ ZDV FUHDWHG         TXHVWLRQ
           FODLPHGPRGLILHGUHFRJQLVHGDVVHUWHGRUGHQLHGRUZKLFKZDVLQFRQVLVWHQWZLWKLWV
           H[LVWHQFH
                  b SDUWLFXODULQVWDQFHVLQZKLFKWKHULJKWRUFXVWRPZDVFODLPHGUHFRJQLVHG
           RUH[HUFLVHGRULQZKLFKLWVH[HUFLVHZDVGLVSXWHGDVVHUWHGRUGHSDUWHGIURP

                                                Illustration.
            7KHTXHVWLRQLVZKHWKHU$KDVDULJKWWRDILVKHU\$GHHGFRQIHUULQJWKHILVKHU\RQ
     $ VDQFHVWRUVDPRUWJDJHRIWKHILVKHU\E\$ VIDWKHUDVXEVHTXHQWJUDQWRIWKHILVKHU\E\
     $ VIDWKHULUUHFRQFLODEOHZLWKWKHPRUWJDJHSDUWLFXODULQVWDQFHVLQZKLFK$ VIDWKHUH[HUFLVHG
     WKHULJKWRULQZKLFKWKHH[HUFLVHRIWKHULJKWZDVVWRSSHGE\$ VQHLJKERXUVDUHUHOHYDQW
     IDFWV
           12. )DFWVVKRZLQJWKHH[LVWHQFHRIDQ\VWDWHRIPLQGVXFKDVLQWHQWLRQNQRZOHGJH               )DFWV VKRZLQJ
     JRRG IDLWK QHJOLJHQFH UDVKQHVV LOOZLOO RU JRRGZLOO WRZDUGV DQ\ SDUWLFXODU SHUVRQ RU     H[LVWHQFH RI
                                                                                                             VWDWH RI PLQG
     VKRZLQJWKHH[LVWHQFHRIDQ\VWDWHRIERG\RUERGLO\IHHOLQJDUHUHOHYDQWZKHQWKHH[LVWHQFH          RU RI ERG\ RU
     RIDQ\VXFKVWDWHRIPLQGRUERG\RUERGLO\IHHOLQJLVLQLVVXHRUUHOHYDQW                            ERGLO\ IHHOLQJ
          Explanation²$IDFWUHOHYDQWDVVKRZLQJWKHH[LVWHQFHRIDUHOHYDQWVWDWHRIPLQG
     PXVWVKRZWKDWWKHVWDWHRIPLQGH[LVWVQRWJHQHUDOO\EXWLQUHIHUHQFHWRWKHSDUWLFXODU
     PDWWHULQTXHVWLRQ
           Explanation²%XWZKHUHXSRQWKHWULDORIDSHUVRQDFFXVHGRIDQRIIHQFHWKH
     SUHYLRXVFRPPLVVLRQE\WKHDFFXVHGRIDQRIIHQFHLVUHOHYDQWZLWKLQWKHPHDQLQJRIWKLV
     VHFWLRQWKHSUHYLRXVFRQYLFWLRQRIVXFKSHUVRQVKDOODOVREHDUHOHYDQWIDFW
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                                             Illustrations.
            a $LVDFFXVHGRIUHFHLYLQJVWROHQJRRGVNQRZLQJWKHPWREHVWROHQ,WLVSURYHGWKDW
     KHZDVLQSRVVHVVLRQRIDSDUWLFXODUVWROHQDUWLFOH7KHIDFWWKDWDWWKHVDPHWLPHKHZDVLQ
     SRVVHVVLRQRIPDQ\RWKHUVWROHQDUWLFOHVLVUHOHYDQWDVWHQGLQJWRVKRZWKDWKHNQHZHDFK
     DQGDOORIWKHDUWLFOHVRIZKLFKKHZDVLQSRVVHVVLRQWREHVWROHQ
            b $LVDFFXVHGRIIUDXGXOHQWO\GHOLYHULQJWRDQRWKHUSHUVRQDFRXQWHUIHLWFXUUHQF\
     ZKLFKDWWKHWLPHZKHQKHGHOLYHUHGLWKHNQHZWREHFRXQWHUIHLW7KHIDFWWKDWDWWKHWLPH
     RILWVGHOLYHU\$ZDVSRVVHVVHGRIDQXPEHURIRWKHUSLHFHVRIFRXQWHUIHLWFXUUHQF\LV
     UHOHYDQW7KHIDFWWKDW$KDGEHHQSUHYLRXVO\FRQYLFWHGRIGHOLYHULQJWRDQRWKHUSHUVRQDV
     JHQXLQHDFRXQWHUIHLWFXUUHQF\NQRZLQJLWWREHFRXQWHUIHLWLVUHOHYDQW
            c $VXHV%IRUGDPDJHGRQHE\DGRJRI% VZKLFK%NQHZWREHIHURFLRXV7KHIDFW
     WKDWWKHGRJKDGSUHYLRXVO\ELWWHQ;<DQG=DQGWKDWWKH\KDGPDGHFRPSODLQWVWR%DUH
     UHOHYDQW
             d 7KHTXHVWLRQLVZKHWKHU$WKHDFFHSWRURIDELOORIH[FKDQJHNQHZWKDWWKHQDPH
     RIWKHSD\HHZDVILFWLWLRXV7KHIDFWWKDW$KDGDFFHSWHGRWKHUELOOVGUDZQLQWKHVDPH
     PDQQHUEHIRUHWKH\FRXOGKDYHEHHQWUDQVPLWWHGWRKLPE\WKHSD\HHLIWKHSD\HHKDGEHHQ
     DUHDOSHUVRQLVUHOHYDQWDVVKRZLQJWKDW$NQHZWKDWWKHSD\HHZDVDILFWLWLRXVSHUVRQ
            e $LVDFFXVHGRIGHIDPLQJ%E\SXEOLVKLQJDQLPSXWDWLRQLQWHQGHGWRKDUPWKH
     UHSXWDWLRQRI%7KHIDFWRISUHYLRXVSXEOLFDWLRQVE\$UHVSHFWLQJ%VKRZLQJLOOZLOORQWKH
     SDUWRI$WRZDUGV%LVUHOHYDQWDVSURYLQJ$ VLQWHQWLRQWRKDUP% VUHSXWDWLRQE\WKH
     SDUWLFXODUSXEOLFDWLRQLQTXHVWLRQ7KHIDFWVWKDWWKHUHZDVQRSUHYLRXVTXDUUHOEHWZHHQ$
     DQG%DQGWKDW$UHSHDWHGWKHPDWWHUFRPSODLQHGRIDVKHKHDUGLWDUHUHOHYDQWDVVKRZLQJ
     WKDW$GLGQRWLQWHQGWRKDUPWKHUHSXWDWLRQRI%
            f $LVVXHGE\%IRUIUDXGXOHQWO\UHSUHVHQWLQJWR%WKDW&ZDVVROYHQWZKHUHE\%
     EHLQJLQGXFHGWRWUXVW&ZKRZDVLQVROYHQWVXIIHUHGORVV7KHIDFWWKDWDWWKHWLPHZKHQ
     $UHSUHVHQWHG&WREHVROYHQW&ZDVVXSSRVHGWREHVROYHQWE\KLVQHLJKERXUVDQGE\
     SHUVRQVGHDOLQJZLWKKLPLVUHOHYDQWDVVKRZLQJWKDW$PDGHWKHUHSUHVHQWDWLRQLQJRRG
     IDLWK
            g $LVVXHGE\%IRUWKHSULFHRIZRUNGRQHE\%XSRQDKRXVHRIZKLFK$LVRZQHU
     E\WKHRUGHURI&DFRQWUDFWRU$ VGHIHQFHLVWKDW% VFRQWUDFWZDVZLWK&7KHIDFWWKDW$
     SDLG&IRUWKHZRUNLQTXHVWLRQLVUHOHYDQWDVSURYLQJWKDW$GLGLQJRRGIDLWKPDNHRYHUWR
     &WKHPDQDJHPHQWRIWKHZRUNLQTXHVWLRQVRWKDW&ZDVLQDSRVLWLRQWRFRQWUDFWZLWK%RQ
     & VRZQDFFRXQWDQGQRWDVDJHQWIRU$
            h $LVDFFXVHGRIWKHGLVKRQHVWPLVDSSURSULDWLRQRISURSHUW\ZKLFKKHKDGIRXQG
     DQGWKHTXHVWLRQLVZKHWKHUZKHQKHDSSURSULDWHGLWKHEHOLHYHGLQJRRGIDLWKWKDWWKHUHDO
     RZQHUFRXOGQRWEHIRXQG7KHIDFWWKDWSXEOLFQRWLFHRIWKHORVVRIWKHSURSHUW\KDGEHHQ
     JLYHQLQWKHSODFHZKHUH$ZDVLVUHOHYDQWDVVKRZLQJWKDW$GLGQRWLQJRRGIDLWKEHOLHYH
     WKDWWKHUHDORZQHURIWKHSURSHUW\FRXOGQRWEHIRXQG7KHIDFWWKDW$NQHZRUKDGUHDVRQ
     WREHOLHYHWKDWWKHQRWLFHZDVJLYHQIUDXGXOHQWO\E\&ZKRKDGKHDUGRIWKHORVVRIWKH
     SURSHUW\DQGZLVKHGWRVHWXSDIDOVHFODLPWRLWLVUHOHYDQWDVVKRZLQJWKDWWKHIDFWWKDW$
     NQHZRIWKHQRWLFHGLGQRWGLVSURYH$ VJRRGIDLWK
            i $LVFKDUJHGZLWKVKRRWLQJDW%ZLWKLQWHQWWRNLOOKLP,QRUGHUWRVKRZ$ VLQWHQW
     WKHIDFWRI$ VKDYLQJSUHYLRXVO\VKRWDW%PD\EHSURYHG
            j $LVFKDUJHGZLWKVHQGLQJWKUHDWHQLQJOHWWHUVWR%7KUHDWHQLQJOHWWHUVSUHYLRXVO\
     VHQWE\$WR%PD\EHSURYHGDVVKRZLQJWKHLQWHQWLRQRIWKHOHWWHUV
            k 7KH TXHVWLRQ LV ZKHWKHU$ KDV EHHQ JXLOW\ RI FUXHOW\ WRZDUGV % KLV ZLIH
     ([SUHVVLRQVRIWKHLUIHHOLQJWRZDUGVHDFKRWKHUVKRUWO\EHIRUHRUDIWHUWKHDOOHJHGFUXHOW\DUH
     UHOHYDQWIDFWV
           l 7KHTXHVWLRQLVZKHWKHU$ VGHDWKZDVFDXVHGE\SRLVRQ6WDWHPHQWVPDGHE\$
     GXULQJKLVLOOQHVVDVWRKLVV\PSWRPVDUHUHOHYDQWIDFWV
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             m 7KHTXHVWLRQLVZKDWZDVWKHVWDWHRI$ VKHDOWKDWWKHWLPHZKHQDQDVVXUDQFHRQ
     KLVOLIHZDVHIIHFWHG6WDWHPHQWVPDGHE\$DVWRWKHVWDWHRIKLVKHDOWKDWRUQHDUWKHWLPHLQ
     TXHVWLRQDUHUHOHYDQWIDFWV
            n $VXHV%IRUQHJOLJHQFHLQSURYLGLQJKLPZLWKDFDUIRUKLUHQRWUHDVRQDEO\ILWIRU
     XVHZKHUHE\$ZDVLQMXUHG7KHIDFWWKDW% VDWWHQWLRQZDVGUDZQRQRWKHURFFDVLRQVWRWKH
     GHIHFWRIWKDWSDUWLFXODUFDULVUHOHYDQW7KHIDFWWKDW%ZDVKDELWXDOO\QHJOLJHQWDERXWWKH
     FDUVZKLFKKHOHWWRKLUHLVLUUHOHYDQW
            o $LVWULHGIRUWKHPXUGHURI%E\LQWHQWLRQDOO\VKRRWLQJKLPGHDG7KHIDFWWKDW$RQ
     RWKHURFFDVLRQVVKRWDW%LVUHOHYDQWDVVKRZLQJKLVLQWHQWLRQWRVKRRW%7KHIDFWWKDW$
     ZDVLQWKHKDELWRIVKRRWLQJDWSHRSOHZLWKLQWHQWWRPXUGHUWKHPLVLUUHOHYDQW
            p $LVWULHGIRUDFULPH7KHIDFWWKDWKHVDLGVRPHWKLQJLQGLFDWLQJDQLQWHQWLRQWR
     FRPPLWWKDWSDUWLFXODUFULPHLVUHOHYDQW7KHIDFWWKDWKHVDLGVRPHWKLQJLQGLFDWLQJDJHQHUDO
     GLVSRVLWLRQWRFRPPLWFULPHVRIWKDWFODVVLVLUUHOHYDQW
           13. :KHQWKHUHLVDTXHVWLRQZKHWKHUDQDFWZDVDFFLGHQWDORULQWHQWLRQDORUGRQH             )DFWV EHDULQJ
     ZLWKDSDUWLFXODUNQRZOHGJHRULQWHQWLRQWKHIDFWWKDWVXFKDFWIRUPHGSDUWRIDVHULHVRI          RQ TXHVWLRQ
                                                                                                          ZKHWKHU DFW
     VLPLODURFFXUUHQFHVLQHDFKRIZKLFKWKHSHUVRQGRLQJWKHDFWZDVFRQFHUQHGLVUHOHYDQW
                                                                                                          ZDV DFFLGHQWDO
                                                                                                          RU LQWHQWLRQDO
                                              Illustrations.
            a $LVDFFXVHGRIEXUQLQJGRZQKLVKRXVHLQRUGHUWRREWDLQPRQH\IRUZKLFKLWLV
     LQVXUHG7KHIDFWVWKDW$OLYHGLQVHYHUDOKRXVHVVXFFHVVLYHO\HDFKRIZKLFKKHLQVXUHGLQ
     HDFKRIZKLFKDILUHRFFXUUHGDQGDIWHUHDFKRIZKLFKILUHV$UHFHLYHGSD\PHQWIURPD
     GLIIHUHQW LQVXUDQFH FRPSDQ\ DUH UHOHYDQW DV WHQGLQJ WR VKRZ WKDW WKH ILUHV ZHUH QRW
     DFFLGHQWDO
            b $LVHPSOR\HGWRUHFHLYHPRQH\IURPWKHGHEWRUVRI%,WLV$ VGXW\WRPDNHHQWULHV
     LQDERRNVKRZLQJWKHDPRXQWVUHFHLYHGE\KLP+HPDNHVDQHQWU\VKRZLQJWKDWRQD
     SDUWLFXODURFFDVLRQKHUHFHLYHGOHVVWKDQKHUHDOO\GLGUHFHLYH7KHTXHVWLRQLVZKHWKHUWKLV
     IDOVHHQWU\ZDVDFFLGHQWDORULQWHQWLRQDO7KHIDFWVWKDWRWKHUHQWULHVPDGHE\$LQWKHVDPH
     ERRNDUHIDOVHDQGWKDWWKHIDOVHHQWU\LVLQHDFKFDVHLQIDYRXURI$DUHUHOHYDQW
             c $LVDFFXVHGRIIUDXGXOHQWO\GHOLYHULQJWR%DFRXQWHUIHLWFXUUHQF\7KHTXHVWLRQ
     LVZKHWKHUWKHGHOLYHU\RIWKHFXUUHQF\ZDVDFFLGHQWDO7KHIDFWVWKDWVRRQEHIRUHRUVRRQ
     DIWHUWKHGHOLYHU\WR%$GHOLYHUHGFRXQWHUIHLWFXUUHQF\WR&'DQG(DUHUHOHYDQWDV
     VKRZLQJWKDWWKHGHOLYHU\WR%ZDVQRWDFFLGHQWDO
          14. :KHQWKHUHLVDTXHVWLRQZKHWKHUDSDUWLFXODUDFWZDVGRQHWKHH[LVWHQFHRIDQ\            ([LVWHQFH RI
     FRXUVHRIEXVLQHVVDFFRUGLQJWRZKLFKLWQDWXUDOO\ZRXOGKDYHEHHQGRQHLVDUHOHYDQWIDFW        FRXUVH RI
                                                                                                          EXVLQHVV ZKHQ
                                                                                                          UHOHYDQW
                                              Illustrations.
            a 7KHTXHVWLRQLVZKHWKHUDSDUWLFXODUOHWWHUZDVGLVSDWFKHG7KHIDFWVWKDWLWZDV
     WKHRUGLQDU\FRXUVHRIEXVLQHVVIRUDOOOHWWHUVSXWLQDFHUWDLQSODFHWREHFDUULHGWRWKHSRVW
     DQGWKDWSDUWLFXODUOHWWHUZDVSXWLQWKDWSODFHDUHUHOHYDQW
            b 7KHTXHVWLRQLVZKHWKHUDSDUWLFXODUOHWWHUUHDFKHG$7KHIDFWVWKDWLWZDVSRVWHG
     LQGXHFRXUVHDQGZDVQRWUHWXUQHGWKURXJKWKH5HWXUQ/HWWHU2IILFHDUHUHOHYDQW

                                               Admissions
           15. $QDGPLVVLRQLVDVWDWHPHQWRUDORUGRFXPHQWDU\RUFRQWDLQHGLQHOHFWURQLFIRUP          $GPLVVLRQ
     ZKLFKVXJJHVWVDQ\LQIHUHQFHDVWRDQ\IDFWLQLVVXHRUUHOHYDQWIDFWDQGZKLFKLVPDGHE\          GHILQHG
     DQ\RIWKHSHUVRQVDQGXQGHUWKHFLUFXPVWDQFHVKHUHLQDIWHUPHQWLRQHG
            16. 1 6WDWHPHQWVPDGHE\DSDUW\WRWKHSURFHHGLQJRUE\DQDJHQWWRDQ\VXFK               $GPLVVLRQ E\
     SDUW\ZKRPWKH&RXUWUHJDUGVXQGHUWKHFLUFXPVWDQFHVRIWKHFDVHDVH[SUHVVO\RULPSOLHGO\        SDUW\ WR
                                                                                                          SURFHHGLQJ RU
     DXWKRULVHGE\KLPWRPDNHWKHPDUHDGPLVVLRQV                                                      KLV DJHQW
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                          2 6WDWHPHQWVPDGHE\²
                                i SDUWLHVWRVXLWVVXLQJRUVXHGLQDUHSUHVHQWDWLYHFKDUDFWHUDUHQRWDGPLVVLRQV
                         XQOHVVWKH\ZHUHPDGHZKLOHWKHSDUW\PDNLQJWKHPKHOGWKDWFKDUDFWHURU
                                ii a SHUVRQVZKRKDYHDQ\SURSULHWDU\RUSHFXQLDU\LQWHUHVWLQWKHVXEMHFW
                         PDWWHURIWKHSURFHHGLQJDQGZKRPDNHWKHVWDWHPHQWLQWKHLUFKDUDFWHURISHUVRQVVR
                         LQWHUHVWHGRU
                                b SHUVRQVIURPZKRPWKHSDUWLHVWRWKHVXLWKDYHGHULYHGWKHLULQWHUHVWLQWKH
                         VXEMHFWPDWWHURIWKHVXLW
                         DUHDGPLVVLRQVLIWKH\DUHPDGHGXULQJWKHFRQWLQXDQFHRIWKHLQWHUHVWRIWKHSHUVRQV
                         PDNLQJWKHVWDWHPHQWV
$GPLVVLRQV E\           17. 6WDWHPHQWVPDGHE\SHUVRQVZKRVHSRVLWLRQRUOLDELOLW\LWLVQHFHVVDU\WRSURYH
SHUVRQV ZKRVH     DVDJDLQVWDQ\SDUW\WRWKHVXLWDUHDGPLVVLRQVLIVXFKVWDWHPHQWVZRXOGEHUHOHYDQWDV
SRVLWLRQ PXVW
EH SURYHG DV
                   DJDLQVWVXFKSHUVRQVLQUHODWLRQWRVXFKSRVLWLRQRUOLDELOLW\LQDVXLWEURXJKWE\RUDJDLQVW
DJDLQVW SDUW\     WKHPDQGLIWKH\DUHPDGHZKLOVWWKHSHUVRQPDNLQJWKHPRFFXSLHVVXFKSRVLWLRQRULV
WR VXLW          VXEMHFWWRVXFKOLDELOLW\

                                                             Illustration.
                         $XQGHUWDNHVWRFROOHFWUHQWVIRU%%VXHV$IRUQRWFROOHFWLQJUHQWGXHIURP&WR%$
                   GHQLHVWKDWUHQWZDVGXHIURP&WR%$VWDWHPHQWE\&WKDWKHRZHG%UHQWLVDQDGPLVVLRQ
                   DQGLVDUHOHYDQWIDFWDVDJDLQVW$LI$GHQLHVWKDW&GLGRZHUHQWWR%
$GPLVVLRQV E\            18. 6WDWHPHQWVPDGHE\SHUVRQVWRZKRPDSDUW\WRWKHVXLWKDVH[SUHVVO\UHIHUUHG
SHUVRQV            IRULQIRUPDWLRQLQUHIHUHQFHWRDPDWWHULQGLVSXWHDUHDGPLVVLRQV
H[SUHVVO\
UHIHUUHG WR E\                                             Illustration.
SDUW\ WR VXLW
                         7KHTXHVWLRQLVZKHWKHUDKRUVHVROGE\$WR%LVVRXQG
                         $VD\VWR%²*RDQGDVN&&NQRZVDOODERXWLW& VVWDWHPHQWLVDQDGPLVVLRQ
3URRI RI               19. $GPLVVLRQVDUHUHOHYDQWDQGPD\EHSURYHGDVDJDLQVWWKHSHUVRQZKRPDNHV
DGPLVVLRQV         WKHPRUKLVUHSUHVHQWDWLYHLQLQWHUHVWEXWWKH\FDQQRWEHSURYHGE\RURQEHKDOIRIWKH
DJDLQVW SHUVRQV
                   SHUVRQZKRPDNHVWKHPRUE\KLVUHSUHVHQWDWLYHLQLQWHUHVWH[FHSWLQWKHIROORZLQJFDVHV
PDNLQJ WKHP
DQG E\ RU RQ    QDPHO\²
WKHLU EHKDOI
                                  1 DQDGPLVVLRQPD\EHSURYHGE\RURQEHKDOIRIWKHSHUVRQPDNLQJLWZKHQ
                         LWLVRIVXFKDQDWXUHWKDWLIWKHSHUVRQPDNLQJLWZHUHGHDGLWZRXOGEHUHOHYDQWDV
                         EHWZHHQWKLUGSHUVRQVXQGHUVHFWLRQ
                                2 DQDGPLVVLRQPD\EHSURYHGE\RURQEHKDOIRIWKHSHUVRQPDNLQJLWZKHQ
                         LWFRQVLVWVRIDVWDWHPHQWRIWKHH[LVWHQFHRIDQ\VWDWHRIPLQGRUERG\UHOHYDQWRULQ
                         LVVXHPDGHDWRUDERXWWKHWLPHZKHQVXFKVWDWHRIPLQGRUERG\H[LVWHGDQGLV
                         DFFRPSDQLHGE\FRQGXFWUHQGHULQJLWVIDOVHKRRGLPSUREDEOH
                                3 DQDGPLVVLRQPD\EHSURYHGE\RURQEHKDOIRIWKHSHUVRQPDNLQJLWLILWLV
                         UHOHYDQWRWKHUZLVHWKDQDVDQDGPLVVLRQ

                                                            Illustrations.
                          a 7KHTXHVWLRQEHWZHHQ$DQG%LVZKHWKHUDFHUWDLQGHHGLVRULVQRWIRUJHG$
                   DIILUPVWKDWLWLVJHQXLQH%WKDWLWLVIRUJHG$PD\SURYHDVWDWHPHQWE\%WKDWWKHGHHGLV
                   JHQXLQH DQG % PD\ SURYH D VWDWHPHQW E\$ WKDW GHHG LV IRUJHG EXW$ FDQQRW SURYH D
                   VWDWHPHQWE\KLPVHOIWKDWWKHGHHGLVJHQXLQHQRUFDQ%SURYHDVWDWHPHQWE\KLPVHOIWKDW
                   WKHGHHGLVIRUJHG
                          b $WKHFDSWDLQRIDVKLSLVWULHGIRUFDVWLQJKHUDZD\(YLGHQFHLVJLYHQWRVKRZ
                   WKDWWKHVKLSZDVWDNHQRXWRIKHUSURSHUFRXUVH$SURGXFHVDERRNNHSWE\KLPLQWKH
                   RUGLQDU\FRXUVHRIKLVEXVLQHVVVKRZLQJREVHUYDWLRQVDOOHJHGWRKDYHEHHQWDNHQE\KLP
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      IURPGD\WRGD\DQGLQGLFDWLQJWKDWWKHVKLSZDVQRWWDNHQRXWRIKHUSURSHUFRXUVH$PD\
      SURYHWKHVHVWDWHPHQWVEHFDXVHWKH\ZRXOGEHDGPLVVLEOHEHWZHHQWKLUGSDUWLHVLIKHZHUH
      GHDGXQGHUFODXVH b RIVHFWLRQ

            c $LVDFFXVHGRIDFULPHFRPPLWWHGE\KLPDW.RONDWD+HSURGXFHVDOHWWHUZULWWHQ
      E\KLPVHOIDQGGDWHGDW&KHQQDLRQWKDWGD\DQGEHDULQJWKH&KHQQDLSRVWPDUNRIWKDWGD\
      7KHVWDWHPHQWLQWKHGDWHRIWKHOHWWHULVDGPLVVLEOHEHFDXVHLI$ZHUHGHDGLWZRXOGEH
      DGPLVVLEOHXQGHUFODXVH b RIVHFWLRQ

             d $LVDFFXVHGRIUHFHLYLQJVWROHQJRRGVNQRZLQJWKHPWREHVWROHQ+HRIIHUVWR
      SURYHWKDWKHUHIXVHGWRVHOOWKHPEHORZWKHLUYDOXH$PD\SURYHWKHVHVWDWHPHQWVWKRXJK
      WKH\DUHDGPLVVLRQVEHFDXVHWKH\DUHH[SODQDWRU\RIFRQGXFWLQIOXHQFHGE\IDFWVLQLVVXH

             e $LVDFFXVHGRIIUDXGXOHQWO\KDYLQJLQKLVSRVVHVVLRQFRXQWHUIHLWFXUUHQF\ZKLFK
      KHNQHZWREHFRXQWHUIHLW+HRIIHUVWRSURYHWKDWKHDVNHGDVNLOIXOSHUVRQWRH[DPLQHWKH
      FXUUHQF\DVKHGRXEWHGZKHWKHULWZDVFRXQWHUIHLWRUQRWDQGWKDWSHUVRQGLGH[DPLQHLW
      DQGWROGKLPLWZDVJHQXLQH$PD\SURYHWKHVHIDFWV

             20. 2UDODGPLVVLRQVDVWRWKHFRQWHQWVRIDGRFXPHQWDUHQRWUHOHYDQWXQOHVVDQG               :KHQ RUDO
      XQWLOWKHSDUW\SURSRVLQJWRSURYHWKHPVKRZVWKDWKHLVHQWLWOHGWRJLYHVHFRQGDU\HYLGHQFH           DGPLVVLRQV DV
                                                                                                             WR FRQWHQWV RI
      RI WKH FRQWHQWV RI VXFK GRFXPHQW XQGHU WKH UXOHV KHUHLQDIWHU FRQWDLQHG RU XQOHVV WKH     GRFXPHQWV DUH
      JHQXLQHQHVVRIDGRFXPHQWSURGXFHGLVLQTXHVWLRQ                                                     UHOHYDQW

             21. ,QFLYLOFDVHVQRDGPLVVLRQLVUHOHYDQWLILWLVPDGHHLWKHUXSRQDQH[SUHVVFRQGLWLRQ     $GPLVVLRQV LQ
      WKDWHYLGHQFHRILWLVQRWWREHJLYHQRUXQGHUFLUFXPVWDQFHVIURPZKLFKWKH&RXUWFDQLQIHU          FLYLO FDVHV
                                                                                                             ZKHQ UHOHYDQW
      WKDWWKHSDUWLHVDJUHHGWRJHWKHUWKDWHYLGHQFHRILWVKRXOGQRWEHJLYHQ

            Explanation.²1RWKLQJLQWKLVVHFWLRQVKDOOEHWDNHQWRH[HPSWDQ\DGYRFDWHIURP
      JLYLQJ HYLGHQFH RI DQ\ PDWWHU RI ZKLFK KH PD\ EH FRPSHOOHG WR JLYH HYLGHQFH XQGHU
      VXEVHFWLRQV 1 DQG 2 RIVHFWLRQ

            22. $FRQIHVVLRQPDGHE\DQDFFXVHGSHUVRQLVLUUHOHYDQWLQDFULPLQDOSURFHHGLQJLI            &RQIHVVLRQ
      WKHPDNLQJRIWKHFRQIHVVLRQDSSHDUVWRWKH&RXUWWRKDYHEHHQFDXVHGE\DQ\LQGXFHPHQW               FDXVHGE\
                                                                                                             LQGXFHPHQW
      WKUHDW FRHUFLRQ RU SURPLVH KDYLQJ UHIHUHQFH WR WKH FKDUJH DJDLQVW WKH DFFXVHG SHUVRQ     WKUHDW
      SURFHHGLQJIURPDSHUVRQLQDXWKRULW\DQGVXIILFLHQWLQWKHRSLQLRQRIWKH&RXUWWRJLYHWKH         FRHUFLRQ RU
      DFFXVHG SHUVRQ JURXQGV ZKLFK ZRXOG DSSHDU WR KLP UHDVRQDEOH IRU VXSSRVLQJ WKDW E\          SURPLVH ZKHQ
                                                                                                             LUUHOHYDQW LQ
      PDNLQJLWKHZRXOGJDLQDQ\DGYDQWDJHRUDYRLGDQ\HYLORIDWHPSRUDOQDWXUHLQUHIHUHQFHWR           FULPLQDO
      WKHSURFHHGLQJVDJDLQVWKLP                                                                           SURFHHGLQJ

              3URYLGHG WKDW LI WKH FRQIHVVLRQ LV PDGH DIWHU WKH LPSUHVVLRQ FDXVHG E\ DQ\ VXFK
      LQGXFHPHQWWKUHDWFRHUFLRQRUSURPLVHKDVLQWKHRSLQLRQRIWKH&RXUWEHHQIXOO\UHPRYHG
      LWLVUHOHYDQW

             3URYLGHGIXUWKHUWKDWLIVXFKDFRQIHVVLRQLVRWKHUZLVHUHOHYDQWLWGRHVQRWEHFRPH
      LUUHOHYDQWPHUHO\EHFDXVHLWZDVPDGHXQGHUDSURPLVHRIVHFUHF\RULQFRQVHTXHQFHRID
      GHFHSWLRQSUDFWLVHGRQWKHDFFXVHGSHUVRQIRUWKHSXUSRVHRIREWDLQLQJLWRUZKHQKHZDV
      GUXQNRUEHFDXVHLWZDVPDGHLQDQVZHUWRTXHVWLRQVZKLFKKHQHHGQRWKDYHDQVZHUHG
      ZKDWHYHUPD\KDYHEHHQWKHIRUPRIWKRVHTXHVWLRQVRUEHFDXVHKHZDVQRWZDUQHGWKDWKH
      ZDVQRWERXQGWRPDNHVXFKFRQIHVVLRQDQGWKDWHYLGHQFHRILWPLJKWEHJLYHQDJDLQVWKLP

           23. 1 1RFRQIHVVLRQPDGHWRDSROLFHRIILFHUVKDOOEHSURYHGDVDJDLQVWDSHUVRQ                 &RQIHVVLRQ WR
      DFFXVHGRIDQ\RIIHQFH                                                                                SROLFH RIILFHU

             2 1RFRQIHVVLRQPDGHE\DQ\SHUVRQZKLOHKHLVLQWKHFXVWRG\RIDSROLFHRIILFHU
      XQOHVVLWLVPDGHLQWKHLPPHGLDWHSUHVHQFHRID0DJLVWUDWHVKDOOEHSURYHGDJDLQVWKLP
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                          3URYLGHGWKDWZKHQDQ\IDFWLVGHSRVHGWRDVGLVFRYHUHGLQFRQVHTXHQFHRILQIRUPDWLRQ
                    UHFHLYHGIURPDSHUVRQDFFXVHGRIDQ\RIIHQFHLQWKHFXVWRG\RIDSROLFHRIILFHUVRPXFK
                    RIVXFKLQIRUPDWLRQZKHWKHULWDPRXQWVWRDFRQIHVVLRQRUQRWDVUHODWHVGLVWLQFWO\WRWKH
                    IDFWGLVFRYHUHGPD\EHSURYHG
&RQVLGHUDWLRQ             24. :KHQPRUHSHUVRQVWKDQRQHDUHEHLQJWULHGMRLQWO\IRUWKHVDPHRIIHQFHDQGD
RI SURYHG          FRQIHVVLRQPDGHE\RQHRIVXFKSHUVRQVDIIHFWLQJKLPVHOIDQGVRPHRWKHURIVXFKSHUVRQV
FRQIHVVLRQ
DIIHFWLQJ
                    LVSURYHGWKH&RXUWPD\WDNHLQWRFRQVLGHUDWLRQVXFKFRQIHVVLRQDVDJDLQVWVXFKRWKHU
SHUVRQ PDNLQJ      SHUVRQDVZHOODVDJDLQVWWKHSHUVRQZKRPDNHVVXFKFRQIHVVLRQ
LW DQG RWKHUV
MRLQWO\ XQGHU           Explanation ,²2IIHQFH DV XVHG LQ WKLV VHFWLRQ LQFOXGHV WKH DEHWPHQW RI RU
WULDO IRU VDPH    DWWHPSWWRFRPPLWWKHRIIHQFH
RIIHQFH
                         Explanation,,²$WULDORIPRUHSHUVRQVWKDQRQHKHOGLQWKHDEVHQFHRIWKHDFFXVHG
                    ZKRKDVDEVFRQGHGRUZKRIDLOVWRFRPSO\ZLWKDSURFODPDWLRQLVVXHGXQGHUVHFWLRQRI
                    WKH%KDUDWL\D1DJDULN6XUDNVKD6DQKLWDVKDOOEHGHHPHGWREHDMRLQWWULDOIRUWKH
                    SXUSRVHRIWKLVVHFWLRQ

                                                             Illustrations.
                         a $DQG%DUHMRLQWO\WULHGIRUWKHPXUGHURI&,WLVSURYHGWKDW$VDLG²%DQG,
                    PXUGHUHG&7KH&RXUWPD\FRQVLGHUWKHHIIHFWRIWKLVFRQIHVVLRQDVDJDLQVW%
                          b $LVRQKLVWULDOIRUWKHPXUGHURI&7KHUHLVHYLGHQFHWRVKRZWKDW&ZDVPXUGHUHG
                    E\$DQG%DQGWKDW%VDLG²$DQG,PXUGHUHG&7KLVVWDWHPHQWPD\QRWEHWDNHQLQWR
                    FRQVLGHUDWLRQE\WKH&RXUWDJDLQVW$DV%LVQRWEHLQJMRLQWO\WULHG
$GPLVVLRQV                25. $GPLVVLRQVDUHQRWFRQFOXVLYHSURRIRIWKHPDWWHUVDGPLWWHGEXWWKH\PD\RSHUDWH
QRW FRQFOXVLYH     DVHVWRSSHOVXQGHUWKHSURYLVLRQVKHUHLQDIWHUFRQWDLQHG
SURRI EXW
PD\ HVWRS
                                    Statements by persons who cannot be called as witnesses
&DVHV LQ ZKLFK           26. 6WDWHPHQWVZULWWHQRUYHUEDORIUHOHYDQWIDFWVPDGHE\DSHUVRQZKRLVGHDGRU
VWDWHPHQW RI       ZKRFDQQRWEHIRXQGRUZKRKDVEHFRPHLQFDSDEOHRIJLYLQJHYLGHQFHRUZKRVHDWWHQGDQFH
UHOHYDQW IDFW
E\ SHUVRQ ZKR
                    FDQQRWEHSURFXUHGZLWKRXWDQDPRXQWRIGHOD\RUH[SHQVHZKLFKXQGHUWKHFLUFXPVWDQFHV
LVGHDGRU          RIWKHFDVHDSSHDUVWRWKH&RXUWXQUHDVRQDEOHDUHWKHPVHOYHVUHOHYDQWIDFWVLQWKHIROORZLQJ
FDQQRW EH          FDVHVQDPHO\²
IRXQG HWF LV
UHOHYDQW                        a ZKHQWKHVWDWHPHQWLVPDGHE\DSHUVRQDVWRWKHFDXVHRIKLVGHDWKRUDV
                          WRDQ\RIWKHFLUFXPVWDQFHVRIWKHWUDQVDFWLRQZKLFKUHVXOWHGLQKLVGHDWKLQFDVHVLQ
                          ZKLFK WKH FDXVH RI WKDW SHUVRQ V GHDWK FRPHV LQWR TXHVWLRQ 6XFK VWDWHPHQWV DUH
                          UHOHYDQWZKHWKHUWKHSHUVRQZKRPDGHWKHPZDVRUZDVQRWDWWKHWLPHZKHQWKH\
                          ZHUH PDGH XQGHU H[SHFWDWLRQ RI GHDWK DQG ZKDWHYHU PD\ EH WKH QDWXUH RI WKH
                          SURFHHGLQJLQZKLFKWKHFDXVHRIKLVGHDWKFRPHVLQWRTXHVWLRQ
                                 b ZKHQWKHVWDWHPHQWZDVPDGHE\VXFKSHUVRQLQWKHRUGLQDU\FRXUVHRI
                          EXVLQHVVDQGLQSDUWLFXODUZKHQLWFRQVLVWVRIDQ\HQWU\RUPHPRUDQGXPPDGHE\KLP
                          LQERRNVNHSWLQWKHRUGLQDU\FRXUVHRIEXVLQHVVRULQWKHGLVFKDUJHRISURIHVVLRQDO
                          GXW\RURIDQDFNQRZOHGJHPHQWZULWWHQRUVLJQHGE\KLPRIWKHUHFHLSWRIPRQH\
                          JRRGVVHFXULWLHVRUSURSHUW\RIDQ\NLQGRURIDGRFXPHQWXVHGLQFRPPHUFHZULWWHQ
                          RUVLJQHGE\KLPRURIWKHGDWHRIDOHWWHURURWKHUGRFXPHQWXVXDOO\GDWHGZULWWHQRU
                          VLJQHGE\KLP
                                 c ZKHQWKHVWDWHPHQWLVDJDLQVWWKHSHFXQLDU\RUSURSULHWDU\LQWHUHVWRIWKH
                          SHUVRQPDNLQJLWRUZKHQLIWUXHLWZRXOGH[SRVHKLPRUZRXOGKDYHH[SRVHGKLPWR
                          DFULPLQDOSURVHFXWLRQRUWRDVXLWIRUGDPDJHV
                                 d ZKHQWKHVWDWHPHQWJLYHVWKHRSLQLRQRIDQ\VXFKSHUVRQDVWRWKHH[LVWHQFH
                          RIDQ\SXEOLFULJKWRUFXVWRPRUPDWWHURISXEOLFRUJHQHUDOLQWHUHVWRIWKHH[LVWHQFHRI
                          ZKLFKLILWH[LVWHGKHZRXOGKDYHEHHQOLNHO\WREHDZDUHDQGZKHQVXFKVWDWHPHQW
                          ZDVPDGHEHIRUHDQ\FRQWURYHUV\DVWRVXFKULJKWFXVWRPRUPDWWHUKDGDULVHQ
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                  e ZKHQWKHVWDWHPHQWUHODWHVWRWKHH[LVWHQFHRIDQ\UHODWLRQVKLSE\EORRG
            PDUULDJHRUDGRSWLRQEHWZHHQSHUVRQVDVWRZKRVHUHODWLRQVKLSE\EORRGPDUULDJHRU
            DGRSWLRQ WKH SHUVRQ PDNLQJ WKH VWDWHPHQW KDG VSHFLDO PHDQV RI NQRZOHGJH DQG
            ZKHQWKHVWDWHPHQWZDVPDGHEHIRUHWKHTXHVWLRQLQGLVSXWHZDVUDLVHG
                   f ZKHQWKHVWDWHPHQWUHODWHVWRWKHH[LVWHQFHRIDQ\UHODWLRQVKLSE\EORRG
            PDUULDJHRUDGRSWLRQEHWZHHQSHUVRQVGHFHDVHGDQGLVPDGHLQDQ\ZLOORUGHHG
            UHODWLQJWRWKHDIIDLUVRIWKHIDPLO\WRZKLFKDQ\VXFKGHFHDVHGSHUVRQEHORQJHGRULQ
            DQ\IDPLO\SHGLJUHHRUXSRQDQ\WRPEVWRQHIDPLO\SRUWUDLWRURWKHUWKLQJRQZKLFK
            VXFKVWDWHPHQWVDUHXVXDOO\PDGHDQGZKHQVXFKVWDWHPHQWZDVPDGHEHIRUHWKH
            TXHVWLRQLQGLVSXWHZDVUDLVHG
                   g ZKHQWKHVWDWHPHQWLVFRQWDLQHGLQDQ\GHHGZLOORURWKHUGRFXPHQWZKLFK
            UHODWHVWRDQ\VXFKWUDQVDFWLRQDVLVVSHFLILHGLQFODXVH a RIVHFWLRQ
                   h ZKHQ WKH VWDWHPHQW ZDV PDGH E\ D QXPEHU RI SHUVRQV DQG H[SUHVVHG
            IHHOLQJVRULPSUHVVLRQVRQWKHLUSDUWUHOHYDQWWRWKHPDWWHULQTXHVWLRQ

                                              Illustrations.
             a 7KHTXHVWLRQLVZKHWKHU$ZDVPXUGHUHGE\%RU$GLHVRILQMXULHVUHFHLYHGLQD
      WUDQVDFWLRQLQWKHFRXUVHRIZKLFKVKHZDVUDSHG7KHTXHVWLRQLVZKHWKHUVKHZDVUDSHG
      E\%RUWKHTXHVWLRQLVZKHWKHU$ZDVNLOOHGE\%XQGHUVXFKFLUFXPVWDQFHVWKDWDVXLW
      ZRXOGOLHDJDLQVW%E\$ VZLGRZ6WDWHPHQWVPDGHE\$DVWRWKHFDXVHRIKLVRUKHUGHDWK
      UHIHUULQJUHVSHFWLYHO\WRWKHPXUGHUWKHUDSHDQGWKHDFWLRQDEOHZURQJXQGHUFRQVLGHUDWLRQ
      DUHUHOHYDQWIDFWV
            b 7KHTXHVWLRQLVDVWRWKHGDWHRI$ VELUWK$QHQWU\LQWKHGLDU\RIDGHFHDVHG
      VXUJHRQUHJXODUO\NHSWLQWKHFRXUVHRIEXVLQHVVVWDWLQJWKDWRQDJLYHQGD\KHDWWHQGHG
      $ VPRWKHUDQGGHOLYHUHGKHURIDVRQLVDUHOHYDQWIDFW
              c 7KHTXHVWLRQLVZKHWKHU$ZDVLQ1DJSXURQDJLYHQGD\$VWDWHPHQWLQWKHGLDU\
      RIDGHFHDVHGVROLFLWRUUHJXODUO\NHSWLQWKHFRXUVHRIEXVLQHVVWKDWRQDJLYHQGD\WKH
      VROLFLWRUDWWHQGHG$DWDSODFHPHQWLRQHGLQ1DJSXUIRUWKHSXUSRVHRIFRQIHUULQJZLWKKLP
      XSRQVSHFLILHGEXVLQHVVLVDUHOHYDQWIDFW
              d 7KHTXHVWLRQLVZKHWKHUDVKLSVDLOHGIURP0XPEDLKDUERXURQDJLYHQGD\$
      OHWWHUZULWWHQE\DGHFHDVHGPHPEHURIDPHUFKDQW VILUPE\ZKLFKVKHZDVFKDUWHUHGWRWKHLU
      FRUUHVSRQGHQWVLQ&KHQQDLWRZKRPWKHFDUJRZDVFRQVLJQHGVWDWLQJWKDWWKHVKLSVDLOHG
      RQDJLYHQGD\IURP0XPEDLSRUWLVDUHOHYDQWIDFW
             e 7KHTXHVWLRQLVZKHWKHUUHQWZDVSDLGWR$IRUFHUWDLQODQG$OHWWHUIURP$ V
      GHFHDVHGDJHQWWR$VD\LQJWKDWKHKDGUHFHLYHGWKHUHQWRQ$ VDFFRXQWDQGKHOGLWDW$ V
      RUGHUVLVDUHOHYDQWIDFW
             f 7KHTXHVWLRQLVZKHWKHU$DQG%ZHUHOHJDOO\PDUULHG7KHVWDWHPHQWRIDGHFHDVHG
      FOHUJ\PDQWKDWKHPDUULHGWKHPXQGHUVXFKFLUFXPVWDQFHVWKDWWKHFHOHEUDWLRQZRXOGEHD
      FULPHLVUHOHYDQW
             g 7KHTXHVWLRQLVZKHWKHU$DSHUVRQZKRFDQQRWEHIRXQGZURWHDOHWWHURQD
      FHUWDLQGD\7KHIDFWWKDWDOHWWHUZULWWHQE\KLPLVGDWHGRQWKDWGD\LVUHOHYDQW
             h 7KHTXHVWLRQLVZKDWZDVWKHFDXVHRIWKHZUHFNRIDVKLS$SURWHVWPDGHE\WKH
      FDSWDLQZKRVHDWWHQGDQFHFDQQRWEHSURFXUHGLVDUHOHYDQWIDFW
           i 7KHTXHVWLRQLVZKHWKHUDJLYHQURDGLVDSXEOLFZD\$VWDWHPHQWE\$DGHFHDVHG
      KHDGPDQRIWKHYLOODJHWKDWWKHURDGZDVSXEOLFLVDUHOHYDQWIDFW
             j 7KHTXHVWLRQLVZKDWZDVWKHSULFHRIJUDLQRQDFHUWDLQGD\LQDSDUWLFXODUPDUNHW
      $VWDWHPHQWRIWKHSULFHPDGHE\DGHFHDVHGEXVLQHVVSHUVRQLQWKHRUGLQDU\FRXUVHRIKLV
      EXVLQHVVLVDUHOHYDQWIDFW
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                          k 7KHTXHVWLRQLVZKHWKHU$ZKRLVGHDGZDVWKHIDWKHURI%$VWDWHPHQWE\$WKDW
                    %ZDVKLVVRQLVDUHOHYDQWIDFW
                           l 7KHTXHVWLRQLVZKDWZDVWKHGDWHRIWKHELUWKRI$$OHWWHUIURP$ VGHFHDVHG
                    IDWKHUWRDIULHQGDQQRXQFLQJWKHELUWKRI$RQDJLYHQGD\LVDUHOHYDQWIDFW
                          m 7KH TXHVWLRQ LV ZKHWKHU DQG ZKHQ$ DQG % ZHUH PDUULHG$Q HQWU\ LQ D
                    PHPRUDQGXPERRNE\&WKHGHFHDVHGIDWKHURI%RIKLVGDXJKWHU VPDUULDJHZLWK$RQD
                    JLYHQGDWHLVDUHOHYDQWIDFW
                           n $VXHV%IRUDOLEHOH[SUHVVHGLQDSDLQWHGFDULFDWXUHH[SRVHGLQDVKRSZLQGRZ
                    7KHTXHVWLRQLVDVWRWKHVLPLODULW\RIWKHFDULFDWXUHDQGLWVOLEHOORXVFKDUDFWHU7KHUHPDUNV
                    RIDFURZGRIVSHFWDWRUVRQWKHVHSRLQWVPD\EHSURYHG
5HOHYDQF\ RI              27. (YLGHQFH JLYHQ E\ D ZLWQHVV LQ D MXGLFLDO SURFHHGLQJ RU EHIRUH DQ\ SHUVRQ
FHUWDLQ             DXWKRULVHGE\ODZWRWDNHLWLVUHOHYDQWIRUWKHSXUSRVHRISURYLQJLQDVXEVHTXHQWMXGLFLDO
HYLGHQFH IRU
SURYLQJ LQ
                    SURFHHGLQJRULQDODWHUVWDJHRIWKHVDPHMXGLFLDOSURFHHGLQJWKHWUXWKRIWKHIDFWVZKLFK
VXEVHTXHQW          LWVWDWHVZKHQWKHZLWQHVVLVGHDGRUFDQQRWEHIRXQGRULVLQFDSDEOHRIJLYLQJHYLGHQFH
SURFHHGLQJ         RULVNHSWRXWRIWKHZD\E\WKHDGYHUVHSDUW\RULIKLVSUHVHQFHFDQQRWEHREWDLQHGZLWKRXW
WUXWK RI IDFWV    DQ DPRXQW RI GHOD\ RU H[SHQVH ZKLFK XQGHU WKH FLUFXPVWDQFHV RI WKH FDVH WKH &RXUW
WKHUHLQ VWDWHG
                    FRQVLGHUV XQUHDVRQDEOH
                          3URYLGHGWKDWWKHSURFHHGLQJZDVEHWZHHQWKHVDPHSDUWLHVRUWKHLUUHSUHVHQWDWLYHVLQ
                    LQWHUHVW WKDW WKH DGYHUVH SDUW\ LQ WKH ILUVW SURFHHGLQJ KDG WKH ULJKW DQG RSSRUWXQLW\ WR
                    FURVVH[DPLQHDQGWKHTXHVWLRQVLQLVVXHZHUHVXEVWDQWLDOO\WKHVDPHLQWKHILUVWDVLQWKH
                    VHFRQG SURFHHGLQJ
                          Explanation.²$FULPLQDOWULDORULQTXLU\VKDOOEHGHHPHGWREHDSURFHHGLQJEHWZHHQ
                    WKHSURVHFXWRUDQGWKHDFFXVHGZLWKLQWKHPHDQLQJRIWKLVVHFWLRQ

                                            Statements made under special circumstances

(QWULHV LQ               28. (QWULHVLQWKHERRNVRIDFFRXQWLQFOXGLQJWKRVHPDLQWDLQHGLQDQHOHFWURQLFIRUP
ERRNV RI           UHJXODUO\NHSWLQWKHFRXUVHRIEXVLQHVVDUHUHOHYDQWZKHQHYHUWKH\UHIHUWRDPDWWHULQWR
DFFRXQW ZKHQ
UHOHYDQW
                    ZKLFKWKH&RXUWKDVWRLQTXLUHEXWVXFKVWDWHPHQWVVKDOOQRWDORQHEHVXIILFLHQWHYLGHQFH
                    WRFKDUJHDQ\SHUVRQZLWKOLDELOLW\

                                                                Illustration.

                          $VXHV%IRURQHWKRXVDQGUXSHHVDQGVKRZVHQWULHVLQKLVDFFRXQWERRNVVKRZLQJ
                    %WREHLQGHEWHGWRKLPWRWKLVDPRXQW7KHHQWULHVDUHUHOHYDQWEXWDUHQRWVXIILFLHQW
                    ZLWKRXWRWKHUHYLGHQFHWRSURYHWKHGHEW

5HOHYDQF\ RI              29. $QHQWU\LQDQ\SXEOLFRURWKHURIILFLDOERRNUHJLVWHURUUHFRUGRUDQHOHFWURQLF
HQWU\ LQ SXEOLF   UHFRUGVWDWLQJDIDFWLQLVVXHRUUHOHYDQWIDFWDQGPDGHE\DSXEOLFVHUYDQWLQWKHGLVFKDUJH
UHFRUG RU DQ
HOHFWURQLF
                    RIKLVRIILFLDOGXW\RUE\DQ\RWKHUSHUVRQLQSHUIRUPDQFHRIDGXW\VSHFLDOO\HQMRLQHGE\
UHFRUG PDGH LQ    WKHODZRIWKHFRXQWU\LQZKLFKVXFKERRNUHJLVWHURUUHFRUGRUDQHOHFWURQLFUHFRUGLVNHSW
SHUIRUPDQFH         LVLWVHOIDUHOHYDQWIDFW
RI GXW\
5HOHYDQF\ RI            30. 6WDWHPHQWVRIIDFWVLQLVVXHRUUHOHYDQWIDFWVPDGHLQSXEOLVKHGPDSVRUFKDUWV
VWDWHPHQWV LQ      JHQHUDOO\RIIHUHGIRUSXEOLFVDOHRULQPDSVRUSODQVPDGHXQGHUWKHDXWKRULW\RIWKH&HQWUDO
PDSV FKDUWV
DQG SODQV
                    *RYHUQPHQWRUDQ\6WDWH*RYHUQPHQWDVWRPDWWHUVXVXDOO\UHSUHVHQWHGRUVWDWHGLQVXFK
                    PDSVFKDUWVRUSODQVDUHWKHPVHOYHVUHOHYDQWIDFWV
5HOHYDQF\ RI              31. :KHQWKH&RXUWKDVWRIRUPDQRSLQLRQDVWRWKHH[LVWHQFHRIDQ\IDFWRIDSXEOLF
VWDWHPHQW DV       QDWXUHDQ\VWDWHPHQWRILWPDGHLQDUHFLWDOFRQWDLQHGLQDQ\&HQWUDO$FWRU6WDWH$FWRULQ
WR IDFW RI
SXEOLF QDWXUH      D&HQWUDO*RYHUQPHQWRU6WDWH*RYHUQPHQWQRWLILFDWLRQDSSHDULQJLQWKHUHVSHFWLYH2IILFLDO
FRQWDLQHG LQ       *D]HWWHRULQDQ\SULQWHGSDSHURULQHOHFWURQLFRUGLJLWDOIRUPSXUSRUWLQJWREHVXFK*D]HWWH
FHUWDLQ$FWV RU
QRWLILFDWLRQV
                    LVDUHOHYDQWIDFW
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            32. :KHQWKH&RXUWKDVWRIRUPDQRSLQLRQDVWRDODZRIDQ\FRXQWU\DQ\VWDWHPHQW            5HOHYDQF\ RI
      RIVXFKODZFRQWDLQHGLQDERRNSXUSRUWLQJWREHSULQWHGRUSXEOLVKHGLQFOXGLQJLQHOHFWURQLF        VWDWHPHQWV DV
                                                                                                           WR DQ\ ODZ
      RUGLJLWDOIRUPXQGHUWKHDXWKRULW\RIWKH*RYHUQPHQWRIVXFKFRXQWU\DQGWRFRQWDLQDQ\             FRQWDLQHG LQ
      VXFKODZDQGDQ\UHSRUWRIDUXOLQJRIWKH&RXUWVRIVXFKFRXQWU\FRQWDLQHGLQDERRN               ODZ ERRNV
      LQFOXGLQJLQHOHFWURQLFRUGLJLWDOIRUPSXUSRUWLQJWREHDUHSRUWRIVXFKUXOLQJVLVUHOHYDQW      LQFOXGLQJ
                                                                                                           HOHFWURQLF RU
                                                                                                           GLJLWDO IRUP
                                How much of a statement is to be proved
             33. :KHQDQ\VWDWHPHQWRIZKLFKHYLGHQFHLVJLYHQIRUPVSDUWRIDORQJHUVWDWHPHQW           :KDW HYLGHQFH
      RURIDFRQYHUVDWLRQRUSDUWRIDQLVRODWHGGRFXPHQWRULVFRQWDLQHGLQDGRFXPHQWZKLFK            WR EH JLYHQ
                                                                                                           ZKHQ VWDWHPHQW
      IRUPVSDUWRIDERRNRULVFRQWDLQHGLQSDUWRIHOHFWURQLFUHFRUGRURIDFRQQHFWHGVHULHVRI
                                                                                                           IRUPV SDUW RI D
      OHWWHUV RU SDSHUV HYLGHQFH VKDOO EH JLYHQ RI VR PXFK DQG QR PRUH RI WKH VWDWHPHQW   FRQYHUVDWLRQ
      FRQYHUVDWLRQGRFXPHQWHOHFWURQLFUHFRUGERRNRUVHULHVRIOHWWHUVRUSDSHUVDVWKH&RXUW          GRFXPHQW
      FRQVLGHUVQHFHVVDU\LQWKDWSDUWLFXODUFDVHWRWKHIXOOXQGHUVWDQGLQJRIWKHQDWXUHDQGHIIHFW       HOHFWURQLF
                                                                                                           UHFRUG ERRN RU
      RIWKHVWDWHPHQWDQGRIWKHFLUFXPVWDQFHVXQGHUZKLFKLWZDVPDGH
                                                                                                           VHULHV RI OHWWHUV
                                                                                                           RU SDSHUV
                                   Judgments of Courts when relevant
            34. 7KHH[LVWHQFHRIDQ\MXGJPHQWRUGHURUGHFUHHZKLFKE\ODZSUHYHQWVDQ\&RXUW             3UHYLRXV
      IURPWDNLQJFRJQL]DQFHRIDVXLWRUKROGLQJDWULDOLVDUHOHYDQWIDFWZKHQWKHTXHVWLRQLV         MXGJPHQWV
                                                                                                           UHOHYDQW WR EDU
      ZKHWKHUVXFK&RXUWRXJKWWRWDNHFRJQL]DQFHRIVXFKVXLWRUWRKROGVXFKWULDO
                                                                                                           D VHFRQG VXLW
                                                                                                           RU WULDO

             35. 1 $ILQDOMXGJPHQWRUGHURUGHFUHHRIDFRPSHWHQW&RXUWRU7ULEXQDOLQWKH             5HOHYDQF\ RI
      H[HUFLVHRISUREDWHPDWULPRQLDODGPLUDOW\RULQVROYHQF\MXULVGLFWLRQZKLFKFRQIHUVXSRQ           FHUWDLQ
                                                                                                           MXGJPHQWV LQ
      RUWDNHVDZD\IURPDQ\SHUVRQDQ\OHJDOFKDUDFWHURUZKLFKGHFODUHVDQ\SHUVRQWREH                SUREDWH HWF
      HQWLWOHGWRDQ\VXFKFKDUDFWHURUWREHHQWLWOHGWRDQ\VSHFLILFWKLQJQRWDVDJDLQVWDQ\          MXULVGLFWLRQ
      VSHFLILHGSHUVRQEXWDEVROXWHO\LVUHOHYDQWZKHQWKHH[LVWHQFHRIDQ\VXFKOHJDOFKDUDFWHU
      RUWKHWLWOHRIDQ\VXFKSHUVRQWRDQ\VXFKWKLQJLVUHOHYDQW
             2 6XFKMXGJPHQWRUGHURUGHFUHHLVFRQFOXVLYHSURRIWKDW²
                   i DQ\OHJDOFKDUDFWHUZKLFKLWFRQIHUVDFFUXHGDWWKHWLPHZKHQVXFKMXGJPHQW
            RUGHURUGHFUHHFDPHLQWRRSHUDWLRQ
                  ii DQ\OHJDOFKDUDFWHUWRZKLFKLWGHFODUHVDQ\VXFKSHUVRQWREHHQWLWOHG
            DFFUXHGWRWKDWSHUVRQDWWKHWLPHZKHQVXFKMXGJPHQWRUGHURUGHFUHHGHFODUHVLWWR
            KDYHDFFUXHGWRWKDWSHUVRQ
                   iii DQ\OHJDOFKDUDFWHUZKLFKLWWDNHVDZD\IURPDQ\VXFKSHUVRQFHDVHGDWWKH
            WLPHIURPZKLFKVXFKMXGJPHQWRUGHURUGHFUHHGHFODUHGWKDWLWKDGFHDVHGRUVKRXOG
            FHDVH DQG
                    iv DQ\WKLQJWRZKLFKLWGHFODUHVDQ\SHUVRQWREHVRHQWLWOHGZDVWKHSURSHUW\
            RIWKDWSHUVRQDWWKHWLPHIURPZKLFKVXFKMXGJPHQWRUGHURUGHFUHHGHFODUHVWKDWLW
            KDGEHHQRUVKRXOGEHKLVSURSHUW\
            36. -XGJPHQWVRUGHUVRUGHFUHHVRWKHUWKDQWKRVHPHQWLRQHGLQVHFWLRQDUHUHOHYDQW         5HOHYDQF\ DQG
      LIWKH\UHODWHWRPDWWHUVRIDSXEOLFQDWXUHUHOHYDQWWRWKHHQTXLU\EXWVXFKMXGJPHQWV            HIIHFW RI
                                                                                                           MXGJPHQWV
      RUGHUVRUGHFUHHVDUHQRWFRQFOXVLYHSURRIRIWKDWZKLFKWKH\VWDWH                                 RUGHUV RU
                                                                                                           GHFUHHV RWKHU
                                                                                                           WKDQ WKRVH
                                                                                                           PHQWLRQHG LQ
                                                                                                           VHFWLRQ 
                                                Illustration.

            $VXHV%IRUWUHVSDVVRQKLVODQG%DOOHJHVWKHH[LVWHQFHRIDSXEOLFULJKWRIZD\RYHU
      WKHODQGZKLFK$GHQLHV7KHH[LVWHQFHRIDGHFUHHLQIDYRXURIWKHGHIHQGDQWLQDVXLWE\
      $DJDLQVW&IRUDWUHVSDVVRQWKHVDPHODQGLQZKLFK&DOOHJHGWKHH[LVWHQFHRIWKHVDPH
      ULJKWRIZD\LVUHOHYDQWEXWLWLVQRWFRQFOXVLYHSURRIWKDWWKHULJKWRIZD\H[LVWV
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-XGJPHQWV                37. -XGJPHQWVRURUGHUVRUGHFUHHVRWKHUWKDQWKRVHPHQWLRQHGLQVHFWLRQV
HWF RWKHU        DQGDUHLUUHOHYDQWXQOHVVWKHH[LVWHQFHRIVXFKMXGJPHQWRUGHURUGHFUHHLVDIDFWLQ
WKDQ WKRVH
PHQWLRQHG LQ
                    LVVXHRULVUHOHYDQWXQGHUVRPHRWKHUSURYLVLRQRIWKLV$GKLQL\DP
VHFWLRQV  
DQG  ZKHQ                                                  Illustrations.
UHOHYDQW

                             a $DQG%VHSDUDWHO\VXH&IRUDOLEHOZKLFKUHIOHFWVXSRQHDFKRIWKHP&LQHDFK
                    FDVHVD\VWKDWWKHPDWWHUDOOHJHGWREHOLEHOORXVLVWUXHDQGWKHFLUFXPVWDQFHVDUHVXFKWKDW
                    LWLVSUREDEO\WUXHLQHDFKFDVHRULQQHLWKHU$REWDLQVDGHFUHHDJDLQVW&IRUGDPDJHVRQWKH
                    JURXQGWKDW&IDLOHGWRPDNHRXWKLVMXVWLILFDWLRQ7KHIDFWLVLUUHOHYDQWDVEHWZHHQ%DQG&

                            b $SURVHFXWHV%IRUVWHDOLQJDFRZIURPKLP%LVFRQYLFWHG$DIWHUZDUGVVXHV&
                    IRU WKH FRZ ZKLFK % KDG VROG WR KLP EHIRUH KLV FRQYLFWLRQ$V EHWZHHQ$ DQG & WKH
                    MXGJPHQWDJDLQVW%LVLUUHOHYDQW

                           c $KDVREWDLQHGDGHFUHHIRUWKHSRVVHVVLRQRIODQGDJDLQVW%&% VVRQPXUGHUV
                    $LQFRQVHTXHQFH7KHH[LVWHQFHRIWKHMXGJPHQWLVUHOHYDQWDVVKRZLQJPRWLYHIRUDFULPH

                          d $LVFKDUJHGZLWKWKHIWDQGZLWKKDYLQJEHHQSUHYLRXVO\FRQYLFWHGRIWKHIW7KH
                    SUHYLRXVFRQYLFWLRQLVUHOHYDQWDVDIDFWLQLVVXH

                           e $LVWULHGIRUWKHPXUGHURI%7KHIDFWWKDW%SURVHFXWHG$IRUOLEHODQGWKDW$ZDV
                    FRQYLFWHGDQGVHQWHQFHGLVUHOHYDQWXQGHUVHFWLRQDVVKRZLQJWKHPRWLYHIRUWKHIDFWLQ
                    LVVXH

)UDXG RU                 38. $Q\SDUW\WRDVXLWRURWKHUSURFHHGLQJPD\VKRZWKDWDQ\MXGJPHQWRUGHURU
FROOXVLRQ LQ       GHFUHHZKLFKLVUHOHYDQWXQGHUVHFWLRQRUDQGZKLFKKDVEHHQSURYHGE\WKH
REWDLQLQJ
MXGJPHQW RU
                    DGYHUVHSDUW\ZDVGHOLYHUHGE\D&RXUWQRWFRPSHWHQWWRGHOLYHULWRUZDVREWDLQHGE\
LQFRPSHWHQF\        IUDXGRUFROOXVLRQ
RI &RXUW PD\
EH SURYHG                                    Opinions of third persons when relevant

2SLQLRQV RI              39. 1 :KHQWKH&RXUWKDVWRIRUPDQRSLQLRQXSRQDSRLQWRIIRUHLJQODZRURI
H[SHUWV            VFLHQFHRUDUWRUDQ\RWKHUILHOGRUDVWRLGHQWLW\RIKDQGZULWLQJRUILQJHULPSUHVVLRQVWKH
                    RSLQLRQVXSRQWKDWSRLQWRISHUVRQVVSHFLDOO\VNLOOHGLQVXFKIRUHLJQODZVFLHQFHRUDUWRU
                    DQ\ RWKHU ILHOG RU LQ TXHVWLRQV DV WR LGHQWLW\ RI KDQGZULWLQJ RU ILQJHU LPSUHVVLRQV DUH
                    UHOHYDQWIDFWVDQGVXFKSHUVRQVDUHFDOOHGH[SHUWV

                                                               Illustrations.

                            a 7KHTXHVWLRQLVZKHWKHUWKHGHDWKRI$ZDVFDXVHGE\SRLVRQ7KHRSLQLRQVRI
                    H[SHUWVDVWRWKHV\PSWRPVSURGXFHGE\WKHSRLVRQE\ZKLFK$LVVXSSRVHGWRKDYHGLHG
                    DUHUHOHYDQW

                           b 7KHTXHVWLRQLVZKHWKHU$DWWKHWLPHRIGRLQJDFHUWDLQDFWZDVE\UHDVRQRI
                    XQVRXQGQHVVRIPLQGLQFDSDEOHRINQRZLQJWKHQDWXUHRIWKHDFWRUWKDWKHZDVGRLQJZKDW
                    ZDVHLWKHUZURQJRUFRQWUDU\WRODZ7KHRSLQLRQVRIH[SHUWVXSRQWKHTXHVWLRQZKHWKHUWKH
                    V\PSWRPV H[KLELWHG E\ $ FRPPRQO\ VKRZ XQVRXQGQHVV RI PLQG DQG ZKHWKHU VXFK
                    XQVRXQGQHVVRIPLQGXVXDOO\UHQGHUVSHUVRQVLQFDSDEOHRINQRZLQJWKHQDWXUHRIWKHDFWV
                    ZKLFKWKH\GRRURINQRZLQJWKDWZKDWWKH\GRLVHLWKHUZURQJRUFRQWUDU\WRODZDUH
                    UHOHYDQW

                           c 7KHTXHVWLRQLVZKHWKHUDFHUWDLQGRFXPHQWZDVZULWWHQE\$$QRWKHUGRFXPHQW
                    LVSURGXFHGZKLFKLVSURYHGRUDGPLWWHGWRKDYHEHHQZULWWHQE\$7KHRSLQLRQVRIH[SHUWV
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                RQWKHTXHVWLRQZKHWKHUWKHWZRGRFXPHQWVZHUHZULWWHQE\WKHVDPHSHUVRQRUE\GLIIHUHQW
                SHUVRQVDUHUHOHYDQW
                        2 :KHQLQDSURFHHGLQJWKHFRXUWKDVWRIRUPDQRSLQLRQRQDQ\PDWWHUUHODWLQJWR
                DQ\LQIRUPDWLRQWUDQVPLWWHGRUVWRUHGLQDQ\FRPSXWHUUHVRXUFHRUDQ\RWKHUHOHFWURQLFRU
                GLJLWDOIRUPWKHRSLQLRQRIWKH([DPLQHURI(OHFWURQLF(YLGHQFHUHIHUUHGWRLQVHFWLRQ$RI
 RI    WKH,QIRUPDWLRQ7HFKQRORJ\$FWLVDUHOHYDQWIDFW
                       Explanation.²)RUWKHSXUSRVHVRIWKLVVXEVHFWLRQDQ([DPLQHURI(OHFWURQLF(YLGHQFH
                VKDOOEHDQH[SHUW
                      40. )DFWVQRWRWKHUZLVHUHOHYDQWDUHUHOHYDQWLIWKH\VXSSRUWRUDUHLQFRQVLVWHQW            )DFWV EHDULQJ
                ZLWKWKHRSLQLRQVRIH[SHUWVZKHQVXFKRSLQLRQVDUHUHOHYDQW                                       XSRQ RSLQLRQV
                                                                                                                     RI H[SHUWV
                                                         Illustrations.
                       a 7KHTXHVWLRQLVZKHWKHU$ZDVSRLVRQHGE\DFHUWDLQSRLVRQ7KHIDFWWKDWRWKHU
                SHUVRQVZKRZHUHSRLVRQHGE\WKDWSRLVRQH[KLELWHGFHUWDLQV\PSWRPVZKLFKH[SHUWV
                DIILUPRUGHQ\WREHWKHV\PSWRPVRIWKDWSRLVRQLVUHOHYDQW
                      b 7KH TXHVWLRQ LV ZKHWKHU DQ REVWUXFWLRQ WR D KDUERXU LV FDXVHG E\ D FHUWDLQ
                VHDZDOO7KHIDFWWKDWRWKHUKDUERXUVVLPLODUO\VLWXDWHGLQRWKHUUHVSHFWVEXWZKHUHWKHUH
                ZHUHQRVXFKVHDZDOOVEHJDQWREHREVWUXFWHGDWDERXWWKHVDPHWLPHLVUHOHYDQW
                      41. 1 :KHQWKH&RXUWKDVWRIRUPDQRSLQLRQDVWRWKHSHUVRQE\ZKRPDQ\GRFXPHQW            2SLQLRQ DV WR
                ZDVZULWWHQRUVLJQHGWKHRSLQLRQRIDQ\SHUVRQDFTXDLQWHGZLWKWKHKDQGZULWLQJRIWKH              KDQGZULWLQJ
                                                                                                                     DQG VLJQDWXUH
                SHUVRQE\ZKRPLWLVVXSSRVHGWREHZULWWHQRUVLJQHGWKDWLWZDVRUZDVQRWZULWWHQRU              ZKHQ UHOHYDQW
                VLJQHGE\WKDWSHUVRQLVDUHOHYDQWIDFW
                      Explanation.²$SHUVRQLVVDLGWREHDFTXDLQWHGZLWKWKHKDQGZULWLQJRIDQRWKHU
                SHUVRQZKHQKHKDVVHHQWKDWSHUVRQZULWHRUZKHQKHKDVUHFHLYHGGRFXPHQWVSXUSRUWLQJ
                WREHZULWWHQE\WKDWSHUVRQLQDQVZHUWRGRFXPHQWVZULWWHQE\KLPVHOIRUXQGHUKLVDXWKRULW\
                DQG DGGUHVVHG WR WKDW SHUVRQ RU ZKHQ LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV GRFXPHQWV
                SXUSRUWLQJWREHZULWWHQE\WKDWSHUVRQKDYHEHHQKDELWXDOO\VXEPLWWHGWRKLP

                                                          Illustration.
                       7KHTXHVWLRQLVZKHWKHUDJLYHQOHWWHULVLQWKHKDQGZULWLQJRI$DPHUFKDQWLQ
                ,WDQDJDU%LVDPHUFKDQWLQ%HQJDOXUXZKRKDVZULWWHQOHWWHUVDGGUHVVHGWR$DQGUHFHLYHG
                OHWWHUVSXUSRUWLQJWREHZULWWHQE\KLP&LV% VFOHUNZKRVHGXW\LWZDVWRH[DPLQHDQGILOH
                % VFRUUHVSRQGHQFH'LV% VEURNHUWRZKRP%KDELWXDOO\VXEPLWWHGWKHOHWWHUVSXUSRUWLQJ
                WREHZULWWHQE\$IRUWKHSXUSRVHRIDGYLVLQJKLPWKHUHRQ7KHRSLQLRQVRI%&DQG'RQ
                WKHTXHVWLRQZKHWKHUWKHOHWWHULVLQWKHKDQGZULWLQJRI$DUHUHOHYDQWWKRXJKQHLWKHU%&
                QRU'HYHUVDZ$ZULWH
                       2 :KHQ WKH &RXUW KDV WR IRUP DQ RSLQLRQ DV WR WKH HOHFWURQLF VLJQDWXUH RI DQ\
                SHUVRQWKHRSLQLRQRIWKH&HUWLI\LQJ$XWKRULW\ZKLFKKDVLVVXHGWKH(OHFWURQLF6LJQDWXUH
                &HUWLILFDWHLVDUHOHYDQWIDFW
                       42. :KHQWKH&RXUWKDVWRIRUPDQRSLQLRQDVWRWKHH[LVWHQFHRIDQ\JHQHUDOFXVWRP           2SLQLRQ DV WR
                RUULJKWWKHRSLQLRQVDVWRWKHH[LVWHQFHRIVXFKFXVWRPRUULJKWRISHUVRQVZKRZRXOGEH         H[LVWHQFH RI
                                                                                                                     JHQHUDO FXVWRP
                OLNHO\WRNQRZRILWVH[LVWHQFHLILWH[LVWHGDUHUHOHYDQW
                                                                                                                     RU ULJKW ZKHQ
                    Explanation.²7KHH[SUHVVLRQJHQHUDOFXVWRPRUULJKWLQFOXGHVFXVWRPVRUULJKWV                 UHOHYDQW
                FRPPRQWRDQ\FRQVLGHUDEOHFODVVRISHUVRQV

                                                          Illustration.
                      7KHULJKWRIWKHYLOODJHUVRIDSDUWLFXODUYLOODJHWRXVHWKHZDWHURIDSDUWLFXODUZHOOLV
                DJHQHUDOULJKWZLWKLQWKHPHDQLQJRIWKLVVHFWLRQ
                      43. :KHQWKH&RXUWKDVWRIRUPDQRSLQLRQDVWR²                                               2SLQLRQ DV WR
                                                                                                                     XVDJHV WHQHWV
                             i WKHXVDJHVDQGWHQHWVRIDQ\ERG\RIPHQRUIDPLO\                                   HWF ZKHQ
                                                                                                                     UHOHYDQW
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                               ii WKH FRQVWLWXWLRQ DQG JRYHUQDQFH RI DQ\ UHOLJLRXV RU FKDULWDEOH
                         IRXQGDWLRQRU

                                iii WKHPHDQLQJRIZRUGVRUWHUPVXVHGLQSDUWLFXODUGLVWULFWVRUE\SDUWLFXODU
                         FODVVHVRISHRSOH

                   WKHRSLQLRQVRISHUVRQVKDYLQJVSHFLDOPHDQVRINQRZOHGJHWKHUHRQDUHUHOHYDQWIDFWV
2SLQLRQ RQ              44. :KHQWKH&RXUWKDVWRIRUPDQRSLQLRQDVWRWKHUHODWLRQVKLSRIRQHSHUVRQWR
UHODWLRQVKLS
                   DQRWKHUWKHRSLQLRQH[SUHVVHGE\FRQGXFWDVWRWKHH[LVWHQFHRIVXFKUHODWLRQVKLSRIDQ\
ZKHQ UHOHYDQW
                   SHUVRQZKRDVDPHPEHURIWKHIDPLO\RURWKHUZLVHKDVVSHFLDOPHDQVRINQRZOHGJHRQWKH
                   VXEMHFWLVDUHOHYDQWIDFW

                        3URYLGHGWKDWVXFKRSLQLRQVKDOOQRWEHVXIILFLHQWWRSURYHDPDUULDJHLQSURFHHGLQJV
                   XQGHUWKH'LYRUFH$FWRULQSURVHFXWLRQXQGHUVHFWLRQVDQGRIWKH%KDUDWL\D            RI 
                   1\D\D6DQKLWD

                                                           Illustrations.

                          a 7KHTXHVWLRQLVZKHWKHU$DQG%ZHUHPDUULHG7KHIDFWWKDWWKH\ZHUHXVXDOO\
                   UHFHLYHGDQGWUHDWHGE\WKHLUIULHQGVDVKXVEDQGDQGZLIHLVUHOHYDQW

                          b 7KHTXHVWLRQLVZKHWKHU$ZDVWKHOHJLWLPDWHVRQRI%7KHIDFWWKDW$ZDVDOZD\V
                   WUHDWHGDVVXFKE\PHPEHUVRIWKHIDPLO\LVUHOHYDQW

*URXQGV RI              45. :KHQHYHUWKHRSLQLRQRIDQ\OLYLQJSHUVRQLVUHOHYDQWWKHJURXQGVRQZKLFK
RSLQLRQ ZKHQ     VXFKRSLQLRQLVEDVHGDUHDOVRUHOHYDQW
UHOHYDQW
                                                           Illustration.
                        $QH[SHUWPD\JLYHDQDFFRXQWRIH[SHULPHQWVSHUIRUPHGE\KLPIRUWKHSXUSRVHRI
                   IRUPLQJKLVRSLQLRQ

                                                    Character when relevant
,Q FLYLO FDVHV         46. ,QFLYLOFDVHVWKHIDFWWKDWWKHFKDUDFWHURIDQ\SHUVRQFRQFHUQHGLVVXFKDVWR
FKDUDFWHU WR      UHQGHUSUREDEOHRULPSUREDEOHDQ\FRQGXFWLPSXWHGWRKLPLVLUUHOHYDQWH[FHSWLQVRIDUDV
SURYH FRQGXFW
LPSXWHG           VXFKFKDUDFWHUDSSHDUVIURPIDFWVRWKHUZLVHUHOHYDQW
LUUHOHYDQW

,Q FULPLQDO             47. ,QFULPLQDOSURFHHGLQJVWKHIDFWWKDWWKHSHUVRQDFFXVHGLVRIDJRRGFKDUDFWHULV
FDVHV SUHYLRXV    UHOHYDQW
JRRG FKDUDFWHU
UHOHYDQW

(YLGHQFH RI             48. ,Q D SURVHFXWLRQ IRU DQ RIIHQFH XQGHU VHFWLRQ  VHFWLRQ  VHFWLRQ 
FKDUDFWHU RU      VHFWLRQVHFWLRQVHFWLRQVHFWLRQVHFWLRQVHFWLRQVHFWLRQVHFWLRQ
SUHYLRXV VH[XDO
H[SHULHQFH QRW    VHFWLRQRUVHFWLRQRIWKH%KDUDWL\D1\D\D6DQKLWDRUIRUDWWHPSWWRFRPPLWDQ\
UHOHYDQW LQ       VXFKRIIHQFHZKHUHWKHTXHVWLRQRIFRQVHQWLVLQLVVXHHYLGHQFHRIWKHFKDUDFWHURIWKH
FHUWDLQ FDVHV    YLFWLPRURIVXFKSHUVRQ VSUHYLRXVVH[XDOH[SHULHQFHZLWKDQ\SHUVRQVKDOOQRWEHUHOHYDQW
                   RQWKHLVVXHRIVXFKFRQVHQWRUWKHTXDOLW\RIFRQVHQW

3UHYLRXV EDG            49. ,QFULPLQDOSURFHHGLQJVWKHIDFWWKDWWKHDFFXVHGKDVDEDGFKDUDFWHULVLUUHOHYDQW
FKDUDFWHU QRW     XQOHVVHYLGHQFHKDVEHHQJLYHQWKDWKHKDVDJRRGFKDUDFWHULQZKLFKFDVHLWEHFRPHV
UHOHYDQW
H[FHSW LQ UHSO\
                   UHOHYDQW

                        Explanation²7KLVVHFWLRQGRHVQRWDSSO\WRFDVHVLQZKLFKWKHEDGFKDUDFWHURI
                   DQ\SHUVRQLVLWVHOIDIDFWLQLVVXH

                         Explanation²$SUHYLRXVFRQYLFWLRQLVUHOHYDQWDVHYLGHQFHRIEDGFKDUDFWHU
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          50. ,QFLYLOFDVHVWKHIDFWWKDWWKHFKDUDFWHURIDQ\SHUVRQLVVXFKDVWRDIIHFWWKH           &KDUDFWHU DV
      DPRXQWRIGDPDJHVZKLFKKHRXJKWWRUHFHLYHLVUHOHYDQW                                            DIIHFWLQJ
                                                                                                           GDPDJHV
            Explanation.²,Q WKLV VHFWLRQ DQG VHFWLRQV   DQG  WKH ZRUG FKDUDFWHU
      LQFOXGHVERWKUHSXWDWLRQDQGGLVSRVLWLRQEXWH[FHSWDVSURYLGHGLQVHFWLRQHYLGHQFH
      PD\EHJLYHQRQO\RIJHQHUDOUHSXWDWLRQDQGJHQHUDOGLVSRVLWLRQDQGQRWRISDUWLFXODUDFWV
      E\ZKLFKUHSXWDWLRQRUGLVSRVLWLRQKDVEHHQVKRZQ

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                                                 213522)

                                               &+$37(5,,,
                                    )$&76:+,&+1(('127%(3529('
            51. 1RIDFWRIZKLFKWKH&RXUWZLOOWDNHMXGLFLDOQRWLFHQHHGEHSURYHG                       )DFW MXGLFLDOO\
                                                                                                           QRWLFHDEOH
                                                                                                           QHHG QRW EH
                                                                                                           SURYHG

            52. 1 7KH&RXUWVKDOOWDNHMXGLFLDOQRWLFHRIWKHIROORZLQJIDFWVQDPHO\²                  )DFWV RI ZKLFK
                                                                                                           &RXUW VKDOO
                  a DOOODZVLQIRUFHLQWKHWHUULWRU\RI,QGLDLQFOXGLQJODZVKDYLQJH[WUDWHUULWRULDO   WDNH MXGLFLDO
            RSHUDWLRQ                                                                                     QRWLFH

                   b LQWHUQDWLRQDOWUHDW\DJUHHPHQWRUFRQYHQWLRQZLWKFRXQWU\RUFRXQWULHVE\
            ,QGLDRUGHFLVLRQVPDGHE\,QGLDDWLQWHUQDWLRQDODVVRFLDWLRQVRURWKHUERGLHV
                   c WKHFRXUVHRISURFHHGLQJRIWKH&RQVWLWXHQW$VVHPEO\RI,QGLDRI3DUOLDPHQW
            RI,QGLDDQGRIWKH6WDWH/HJLVODWXUHV
                   d WKHVHDOVRIDOO&RXUWVDQG7ULEXQDOV
                   e WKHVHDOVRI&RXUWVRI$GPLUDOW\DQG0DULWLPH-XULVGLFWLRQ1RWDULHV3XEOLF
            DQGDOOVHDOVZKLFKDQ\SHUVRQLVDXWKRULVHGWRXVHE\WKH&RQVWLWXWLRQRUE\DQ$FW
            RI3DUOLDPHQWRU6WDWH/HJLVODWXUHVRU5HJXODWLRQVKDYLQJWKHIRUFHRIODZLQ,QGLD
                    f WKHDFFHVVLRQWRRIILFHQDPHVWLWOHVIXQFWLRQVDQGVLJQDWXUHVRIWKHSHUVRQV
            ILOOLQJIRUWKHWLPHEHLQJDQ\SXEOLFRIILFHLQDQ\6WDWHLIWKHIDFWRIWKHLUDSSRLQWPHQW
            WRVXFKRIILFHLVQRWLILHGLQDQ\2IILFLDO*D]HWWH
                   g WKHH[LVWHQFHWLWOHDQGQDWLRQDOIODJRIHYHU\FRXQWU\RUVRYHUHLJQUHFRJQLVHG
            E\WKH*RYHUQPHQWRI,QGLD
                   h WKHGLYLVLRQVRIWLPHWKHJHRJUDSKLFDOGLYLVLRQVRIWKHZRUOGDQGSXEOLF
            IHVWLYDOVIDVWVDQGKROLGD\VQRWLILHGLQWKH2IILFLDO*D]HWWH
                   i WKHWHUULWRU\RI,QGLD
                 j WKHFRPPHQFHPHQWFRQWLQXDQFHDQGWHUPLQDWLRQRIKRVWLOLWLHVEHWZHHQWKH
            *RYHUQPHQWRI,QGLDDQGDQ\RWKHUFRXQWU\RUERG\RISHUVRQV
                   k WKHQDPHVRIWKHPHPEHUVDQGRIILFHUVRIWKH&RXUWDQGRIWKHLUGHSXWLHVDQG
            VXERUGLQDWHRIILFHUVDQGDVVLVWDQWVDQGDOVRRIDOORIILFHUVDFWLQJLQH[HFXWLRQRILWV
            SURFHVV DQG RI DGYRFDWHV DQG RWKHU SHUVRQV DXWKRULVHG E\ ODZ WR DSSHDU RU DFW
            EHIRUHLW
                   l WKHUXOHRIWKHURDGRQODQGRUDWVHD
              2 ,QWKHFDVHVUHIHUUHGWRLQVXEVHFWLRQ 1 DQGDOVRRQDOOPDWWHUVRISXEOLFKLVWRU\
      OLWHUDWXUHVFLHQFHRUDUWWKH&RXUWPD\UHVRUWIRULWVDLGWRDSSURSULDWHERRNVRUGRFXPHQWV
      RIUHIHUHQFHDQGLIWKH&RXUWLVFDOOHGXSRQE\DQ\SHUVRQWRWDNHMXGLFLDOQRWLFHRIDQ\IDFW
      LWPD\UHIXVHWRGRVRXQOHVVDQGXQWLOVXFKSHUVRQSURGXFHVDQ\VXFKERRNRUGRFXPHQW
      DVLWPD\FRQVLGHUQHFHVVDU\WRHQDEOHLWWRGRVR
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)DFWV DGPLWWHG          53. 1RIDFWQHHGVWREHSURYHGLQDQ\SURFHHGLQJZKLFKWKHSDUWLHVWKHUHWRRUWKHLU
QHHG QRW EH      DJHQWVDJUHHWRDGPLWDWWKHKHDULQJRUZKLFKEHIRUHWKHKHDULQJWKH\DJUHHWRDGPLWE\
SURYHG
                   DQ\ZULWLQJXQGHUWKHLUKDQGVRUZKLFKE\DQ\UXOHRISOHDGLQJLQIRUFHDWWKHWLPHWKH\DUH
                   GHHPHGWRKDYHDGPLWWHGE\WKHLUSOHDGLQJV
                        3URYLGHGWKDWWKH&RXUWPD\LQLWVGLVFUHWLRQUHTXLUHWKHIDFWVDGPLWWHGWREHSURYHG
                   RWKHUZLVHWKDQE\VXFKDGPLVVLRQV

                                                              &+$37(5,9
                                                            2)25$/(9,'(1&(
3URRI RI IDFWV         54. $OOIDFWVH[FHSWWKHFRQWHQWVRIGRFXPHQWVPD\EHSURYHGE\RUDOHYLGHQFH
E\ RUDO
HYLGHQFH

2UDO HYLGHQFH           55. 2UDOHYLGHQFHVKDOOLQDOOFDVHVZKDWHYHUEHGLUHFWLILWUHIHUVWR²
WR EH GLUHFW
                                   i DIDFWZKLFKFRXOGEHVHHQLWPXVWEHWKHHYLGHQFHRIDZLWQHVVZKRVD\VKH
                         VDZLW
                               ii DIDFWZKLFKFRXOGEHKHDUGLWPXVWEHWKHHYLGHQFHRIDZLWQHVVZKRVD\V
                         KHKHDUGLW
                                iii DIDFWZKLFKFRXOGEHSHUFHLYHGE\DQ\RWKHUVHQVHRULQDQ\RWKHUPDQQHU
                         LWPXVWEHWKHHYLGHQFHRIDZLWQHVVZKRVD\VKHSHUFHLYHGLWE\WKDWVHQVHRULQWKDW
                         PDQQHU
                               iv DQRSLQLRQRUWRWKHJURXQGVRQZKLFKWKDWRSLQLRQLVKHOGLWPXVWEHWKH
                         HYLGHQFHRIWKHSHUVRQZKRKROGVWKDWRSLQLRQRQWKRVHJURXQGV
                          3URYLGHGWKDWWKHRSLQLRQVRIH[SHUWVH[SUHVVHGLQDQ\WUHDWLVHFRPPRQO\RIIHUHGIRU
                   VDOHDQGWKHJURXQGVRQZKLFKVXFKRSLQLRQVDUHKHOGPD\EHSURYHGE\WKHSURGXFWLRQ
                   RIVXFKWUHDWLVHVLIWKHDXWKRULVGHDGRUFDQQRWEHIRXQGRUKDVEHFRPHLQFDSDEOHRIJLYLQJ
                   HYLGHQFHRUFDQQRWEHFDOOHGDVDZLWQHVVZLWKRXWDQDPRXQWRIGHOD\RUH[SHQVHZKLFKWKH
                   &RXUWUHJDUGVDVXQUHDVRQDEOH
                        3URYLGHGIXUWKHUWKDWLIRUDOHYLGHQFHUHIHUVWRWKHH[LVWHQFHRUFRQGLWLRQRIDQ\
                   PDWHULDOWKLQJRWKHUWKDQDGRFXPHQWWKH&RXUWPD\LILWWKLQNVILWUHTXLUHWKHSURGXFWLRQRI
                   VXFKPDWHULDOWKLQJIRULWVLQVSHFWLRQ

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3URRI RI               56. 7KHFRQWHQWVRIGRFXPHQWVPD\EHSURYHGHLWKHUE\SULPDU\RUE\VHFRQGDU\
FRQWHQWV RI       HYLGHQFH
GRFXPHQWV

3ULPDU\                  57. 3ULPDU\HYLGHQFHPHDQVWKHGRFXPHQWLWVHOISURGXFHGIRUWKHLQVSHFWLRQRIWKH
HYLGHQFH          &RXUW
                        Explanation ²:KHUHDGRFXPHQWLVH[HFXWHGLQVHYHUDOSDUWVHDFKSDUWLVSULPDU\
                   HYLGHQFHRIWKHGRFXPHQW
                         Explanation ²:KHUH D GRFXPHQW LV H[HFXWHG LQ FRXQWHUSDUW HDFK FRXQWHUSDUW
                   EHLQJH[HFXWHGE\RQHRUVRPHRIWKHSDUWLHVRQO\HDFKFRXQWHUSDUWLVSULPDU\HYLGHQFHDV
                   DJDLQVWWKHSDUWLHVH[HFXWLQJLW

                         Explanation ²:KHUHDQXPEHURIGRFXPHQWVDUHDOOPDGHE\RQHXQLIRUPSURFHVV
                   DVLQWKHFDVHRISULQWLQJOLWKRJUDSK\RUSKRWRJUDSK\HDFKLVSULPDU\HYLGHQFHRIWKH
                   FRQWHQWV RI WKH UHVW EXW ZKHUH WKH\ DUH DOO FRSLHV RI D FRPPRQ RULJLQDO WKH\ DUH QRW
                   SULPDU\HYLGHQFHRIWKHFRQWHQWVRIWKHRULJLQDO
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            Explanation²:KHUHDQHOHFWURQLFRUGLJLWDOUHFRUGLVFUHDWHGRUVWRUHGDQGVXFK
      VWRUDJHRFFXUVVLPXOWDQHRXVO\RUVHTXHQWLDOO\LQPXOWLSOHILOHVHDFKVXFKILOHLVSULPDU\
      HYLGHQFH
            Explanation ²:KHUH DQ HOHFWURQLF RU GLJLWDO UHFRUG LV SURGXFHG IURP SURSHU
      FXVWRG\VXFKHOHFWURQLFDQGGLJLWDOUHFRUGLVSULPDU\HYLGHQFHXQOHVVLWLVGLVSXWHG
            Explanation ²:KHUH D YLGHR UHFRUGLQJ LV VLPXOWDQHRXVO\ VWRUHG LQ HOHFWURQLF
      IRUPDQGWUDQVPLWWHGRUEURDGFDVWRUWUDQVIHUUHGWRDQRWKHUHDFKRIWKHVWRUHGUHFRUGLQJVLV
      SULPDU\HYLGHQFH
           Explanation²:KHUHDQHOHFWURQLFRUGLJLWDOUHFRUGLVVWRUHGLQPXOWLSOHVWRUDJH
      VSDFHVLQDFRPSXWHUUHVRXUFHHDFKVXFKDXWRPDWHGVWRUDJHLQFOXGLQJWHPSRUDU\ILOHVLV
      SULPDU\HYLGHQFH

                                               Illustration.
            $SHUVRQLVVKRZQWRKDYHEHHQLQSRVVHVVLRQRIDQXPEHURISODFDUGVDOOSULQWHGDW
      RQHWLPHIURPRQHRULJLQDO$Q\RQHRIWKHSODFDUGVLVSULPDU\HYLGHQFHRIWKHFRQWHQWVRI
      DQ\RWKHUEXWQRRQHRIWKHPLVSULPDU\HYLGHQFHRIWKHFRQWHQWVRIWKHRULJLQDO
            58. 6HFRQGDU\HYLGHQFHLQFOXGHV²                                                            6HFRQGDU\
                                                                                                        HYLGHQFH
                    i FHUWLILHGFRSLHVJLYHQXQGHUWKHSURYLVLRQVKHUHLQDIWHUFRQWDLQHG
                  ii FRSLHVPDGHIURPWKHRULJLQDOE\PHFKDQLFDOSURFHVVHVZKLFKLQWKHPVHOYHV
            HQVXUHWKHDFFXUDF\RIWKHFRS\DQGFRSLHVFRPSDUHGZLWKVXFKFRSLHV
                    iii FRSLHVPDGHIURPRUFRPSDUHGZLWKWKHRULJLQDO

                    iv FRXQWHUSDUWV RI GRFXPHQWV DV DJDLQVW WKH SDUWLHV ZKR GLG QRW H[HFXWH
            WKHP

                  v RUDODFFRXQWVRIWKHFRQWHQWVRIDGRFXPHQWJLYHQE\VRPHSHUVRQZKRKDV
            KLPVHOIVHHQLW
                    vi RUDODGPLVVLRQV
                    vii ZULWWHQDGPLVVLRQV

                   viii HYLGHQFHRIDSHUVRQZKRKDVH[DPLQHGDGRFXPHQWWKHRULJLQDORIZKLFK
            FRQVLVWVRIQXPHURXVDFFRXQWVRURWKHUGRFXPHQWVZKLFKFDQQRWFRQYHQLHQWO\EH
            H[DPLQHGLQ&RXUWDQGZKRLVVNLOOHGLQWKHH[DPLQDWLRQRIVXFKGRFXPHQWV

                                              Illustrations.
            a $SKRWRJUDSKRIDQRULJLQDOLVVHFRQGDU\HYLGHQFHRILWVFRQWHQWVWKRXJKWKH
      WZRKDYHQRWEHHQFRPSDUHGLILWLVSURYHGWKDWWKHWKLQJSKRWRJUDSKHGZDVWKHRULJLQDO
            b $FRS\FRPSDUHGZLWKDFRS\RIDOHWWHUPDGHE\DFRS\LQJPDFKLQHLVVHFRQGDU\
      HYLGHQFHRIWKHFRQWHQWVRIWKHOHWWHULILWLVVKRZQWKDWWKHFRS\PDGHE\WKHFRS\LQJ
      PDFKLQHZDVPDGHIURPWKHRULJLQDO
             c $FRS\WUDQVFULEHGIURPDFRS\EXWDIWHUZDUGVFRPSDUHGZLWKWKHRULJLQDOLV
      VHFRQGDU\ HYLGHQFH EXW WKH FRS\ QRW VR FRPSDUHG LV QRW VHFRQGDU\ HYLGHQFH RI WKH
      RULJLQDODOWKRXJKWKHFRS\IURPZKLFKLWZDVWUDQVFULEHGZDVFRPSDUHGZLWKWKHRULJLQDO
             d 1HLWKHUDQRUDODFFRXQWRIDFRS\FRPSDUHGZLWKWKHRULJLQDOQRUDQRUDODFFRXQW
      RIDSKRWRJUDSKRUPDFKLQHFRS\RIWKHRULJLQDOLVVHFRQGDU\HYLGHQFHRIWKHRULJLQDO
           59. 'RFXPHQWVVKDOOEHSURYHGE\SULPDU\HYLGHQFHH[FHSWLQWKHFDVHVKHUHLQDIWHU            3URRI RI
      PHQWLRQHG                                                                                        GRFXPHQWV E\
                                                                                                        SULPDU\
                                                                                                        HYLGHQFH
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&DVHV LQ ZKLFK        60. 6HFRQGDU\HYLGHQFHPD\EHJLYHQRIWKHH[LVWHQFHFRQGLWLRQRUFRQWHQWVRID
VHFRQGDU\          GRFXPHQWLQWKHIROORZLQJFDVHVQDPHO\²
HYLGHQFH
UHODWLQJ WR                    a ZKHQWKHRULJLQDOLVVKRZQRUDSSHDUVWREHLQWKHSRVVHVVLRQRUSRZHU²
GRFXPHQWV PD\
EH JLYHQ                             i RIWKHSHUVRQDJDLQVWZKRPWKHGRFXPHQWLVVRXJKWWREHSURYHGRU
                                       ii RIDQ\SHUVRQRXWRIUHDFKRIRUQRWVXEMHFWWRWKHSURFHVVRIWKH
                                &RXUWRU
                                       iii RIDQ\SHUVRQOHJDOO\ERXQGWRSURGXFHLW
                         DQGZKHQDIWHUWKHQRWLFHPHQWLRQHGLQVHFWLRQVXFKSHUVRQGRHVQRWSURGXFHLW
                                 b ZKHQWKHH[LVWHQFHFRQGLWLRQRUFRQWHQWVRIWKHRULJLQDOKDYHEHHQSURYHG
                         WR EH DGPLWWHG LQ ZULWLQJ E\ WKH SHUVRQ DJDLQVW ZKRP LW LV SURYHG RU E\ KLV
                         UHSUHVHQWDWLYHLQLQWHUHVW
                                c ZKHQWKHRULJLQDOKDVEHHQGHVWUR\HGRUORVWRUZKHQWKHSDUW\RIIHULQJ
                         HYLGHQFHRILWVFRQWHQWVFDQQRWIRUDQ\RWKHUUHDVRQQRWDULVLQJIURPKLVRZQGHIDXOW
                         RUQHJOHFWSURGXFHLWLQUHDVRQDEOHWLPH
                                d ZKHQWKHRULJLQDOLVRIVXFKDQDWXUHDVQRWWREHHDVLO\PRYDEOH
                                e ZKHQWKHRULJLQDOLVDSXEOLFGRFXPHQWZLWKLQWKHPHDQLQJRIVHFWLRQ
                               f ZKHQWKHRULJLQDOLVDGRFXPHQWRIZKLFKDFHUWLILHGFRS\LVSHUPLWWHGE\WKLV
                         $GKLQL\DPRUE\DQ\RWKHUODZLQIRUFHLQ,QGLDWREHJLYHQLQHYLGHQFH
                                 g ZKHQWKHRULJLQDOVFRQVLVWRIQXPHURXVDFFRXQWVRURWKHUGRFXPHQWVZKLFK
                         FDQQRWFRQYHQLHQWO\EHH[DPLQHGLQ&RXUWDQGWKHIDFWWREHSURYHGLVWKHJHQHUDO
                         UHVXOWRIWKHZKROHFROOHFWLRQ
                         Explanation.²)RUWKHSXUSRVHVRI²
                              i FODXVHV a  c  DQG d  DQ\ VHFRQGDU\ HYLGHQFH RI WKH FRQWHQWV RI WKH
                         GRFXPHQWLVDGPLVVLEOH
                                ii FODXVH b WKHZULWWHQDGPLVVLRQLVDGPLVVLEOH
                               iii FODXVH e RU f DFHUWLILHGFRS\RIWKHGRFXPHQWEXWQRRWKHUNLQGRI
                         VHFRQGDU\HYLGHQFHLVDGPLVVLEOH
                               iv FODXVH g HYLGHQFHPD\EHJLYHQDVWRWKHJHQHUDOUHVXOWRIWKHGRFXPHQWV
                         E\DQ\SHUVRQZKRKDVH[DPLQHGWKHPDQGZKRLVVNLOOHGLQWKHH[DPLQDWLRQRIVXFK
                         GRFXPHQW
(OHFWURQLF RU           61. 1RWKLQJLQWKLV$GKLQL\DPVKDOODSSO\WRGHQ\WKHDGPLVVLELOLW\RIDQHOHFWURQLF
GLJLWDO UHFRUG   RUGLJLWDOUHFRUGLQWKHHYLGHQFHRQWKHJURXQGWKDWLWLVDQHOHFWURQLFRUGLJLWDOUHFRUGDQG
                   VXFKUHFRUGVKDOOVXEMHFWWRVHFWLRQKDYHWKHVDPHOHJDOHIIHFWYDOLGLW\DQGHQIRUFHDELOLW\
                   DVRWKHUGRFXPHQW
6SHFLDO                  62. 7KH FRQWHQWV RI HOHFWURQLF UHFRUGV PD\ EH SURYHG LQ DFFRUGDQFH ZLWK WKH
SURYLVLRQV DV WR SURYLVLRQVRIVHFWLRQ
HYLGHQFH
UHODWLQJ WR
HOHFWURQLF
UHFRUG

$GPLVVLELOLW\            63. 1  1RWZLWKVWDQGLQJ DQ\WKLQJ FRQWDLQHG LQ WKLV$GKLQL\DP DQ\ LQIRUPDWLRQ
RI HOHFWURQLF     FRQWDLQHGLQDQHOHFWURQLFUHFRUGZKLFKLVSULQWHGRQSDSHUVWRUHGUHFRUGHGRUFRSLHGLQ
UHFRUGV
                   RSWLFDORUPDJQHWLFPHGLDRUVHPLFRQGXFWRUPHPRU\ZKLFKLVSURGXFHGE\DFRPSXWHURU
                   DQ\FRPPXQLFDWLRQGHYLFHRURWKHUZLVHVWRUHGUHFRUGHGRUFRSLHGLQDQ\HOHFWURQLFIRUP
                    KHUHLQDIWHUUHIHUUHGWRDVWKHFRPSXWHURXWSXW VKDOOEHGHHPHGWREHDOVRDGRFXPHQWLI
                   WKHFRQGLWLRQVPHQWLRQHGLQWKLVVHFWLRQDUHVDWLVILHGLQUHODWLRQWRWKHLQIRUPDWLRQDQG
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      FRPSXWHULQTXHVWLRQDQGVKDOOEHDGPLVVLEOHLQDQ\SURFHHGLQJVZLWKRXWIXUWKHUSURRIRU
      SURGXFWLRQRIWKHRULJLQDODVHYLGHQFHRUDQ\FRQWHQWVRIWKHRULJLQDORURIDQ\IDFWVWDWHG
      WKHUHLQRIZKLFKGLUHFWHYLGHQFHZRXOGEHDGPLVVLEOH
              2 7KHFRQGLWLRQVUHIHUUHGWRLQVXEVHFWLRQ 1 LQUHVSHFWRIDFRPSXWHURXWSXWVKDOO
      EHWKHIROORZLQJQDPHO\²
                    a  WKH FRPSXWHU RXWSXW FRQWDLQLQJ WKH LQIRUPDWLRQ ZDV SURGXFHG E\ WKH
            FRPSXWHURUFRPPXQLFDWLRQGHYLFHGXULQJWKHSHULRGRYHUZKLFKWKHFRPSXWHURU
            FRPPXQLFDWLRQ GHYLFH ZDV XVHG UHJXODUO\ WR FUHDWH VWRUH RU SURFHVV LQIRUPDWLRQ
            IRU WKH SXUSRVHV RI DQ\ DFWLYLW\ UHJXODUO\ FDUULHG RQ RYHU WKDW SHULRG E\ WKH
            SHUVRQ KDYLQJ ODZIXO FRQWURO RYHU WKH XVH RI WKH FRPSXWHU RU FRPPXQLFDWLRQ
            GHYLFH
                     b  GXULQJWKHVDLGSHULRGLQIRUPDWLRQRIWKHNLQGFRQWDLQHGLQWKHHOHFWURQLF
             UHFRUGRURIWKHNLQGIURPZKLFKWKHLQIRUPDWLRQVRFRQWDLQHGLVGHULYHGZDVUHJXODUO\
             IHG LQWR WKH FRPSXWHU RU FRPPXQLFDWLRQ GHYLFH  LQ WKH RUGLQDU\ FRXUVH RI WKH VDLG
             DFWLYLWLHV
                     c  WKURXJKRXW WKH PDWHULDO SDUW RI WKH VDLG SHULRG WKH FRPSXWHU RU
             FRPPXQLFDWLRQ GHYLFH ZDV RSHUDWLQJ SURSHUO\ RU LI QRW WKHQ LQ UHVSHFW RI DQ\
             SHULRGLQZKLFKLWZDVQRWRSHUDWLQJSURSHUO\RUZDVRXWRIRSHUDWLRQGXULQJWKDW
             SDUW RI WKH SHULRG ZDV QRW VXFK DV WR DIIHFW WKH HOHFWURQLF UHFRUG RU WKH
             DFFXUDF\ RI LWVFRQWHQWV DQG
                    d  WKH LQIRUPDWLRQ FRQWDLQHG LQ WKH HOHFWURQLF UHFRUG UHSURGXFHV RU LV
             GHULYHGIURPVXFKLQIRUPDWLRQIHGLQWRWKHFRPSXWHURUFRPPXQLFDWLRQGHYLFHLQWKH
             RUGLQDU\FRXUVHRIWKHVDLGDFWLYLWLHV
              3 :KHUHRYHUDQ\SHULRGWKHIXQFWLRQRIFUHDWLQJVWRULQJRUSURFHVVLQJLQIRUPDWLRQ
      IRU WKH SXUSRVHV RI DQ\ DFWLYLW\ UHJXODUO\ FDUULHG RQ RYHU WKDW SHULRG DV PHQWLRQHG LQ
      FODXVH a RIVXEVHFWLRQ 2 ZDVUHJXODUO\SHUIRUPHGE\PHDQVRIRQHRUPRUHFRPSXWHUVRU
      FRPPXQLFDWLRQGHYLFHZKHWKHU²
                    a LQVWDQGDORQHPRGHRU
                    b RQDFRPSXWHUV\VWHPRU
                    c RQDFRPSXWHUQHWZRUNRU
                    d RQDFRPSXWHUUHVRXUFHHQDEOLQJLQIRUPDWLRQFUHDWLRQRUSURYLGLQJLQIRUPDWLRQ
             SURFHVVLQJDQGVWRUDJHRU
                    e WKURXJKDQLQWHUPHGLDU\
      DOOWKHFRPSXWHUVRUFRPPXQLFDWLRQGHYLFHVXVHGIRUWKDWSXUSRVHGXULQJWKDWSHULRGVKDOO
      EHWUHDWHGIRUWKHSXUSRVHVRIWKLVVHFWLRQDVFRQVWLWXWLQJDVLQJOHFRPSXWHURUFRPPXQLFDWLRQ
      GHYLFH DQG UHIHUHQFHV LQ WKLV VHFWLRQ WR D FRPSXWHU RU FRPPXQLFDWLRQ GHYLFH VKDOO EH
      FRQVWUXHGDFFRUGLQJO\
              4  ,QDQ\SURFHHGLQJZKHUHLWLVGHVLUHGWRJLYHDVWDWHPHQWLQHYLGHQFHE\YLUWXHRI
      WKLVVHFWLRQDFHUWLILFDWHGRLQJDQ\RIWKHIROORZLQJWKLQJVVKDOOEHVXEPLWWHGDORQJZLWKWKH
      HOHFWURQLFUHFRUGDWHDFKLQVWDQFHZKHUHLWLVEHLQJVXEPLWWHGIRUDGPLVVLRQQDPHO\²
                     a LGHQWLI\LQJWKHHOHFWURQLFUHFRUGFRQWDLQLQJWKHVWDWHPHQWDQGGHVFULELQJ
             WKHPDQQHULQZKLFKLWZDVSURGXFHG
                     b JLYLQJVXFKSDUWLFXODUVRIDQ\GHYLFHLQYROYHGLQWKHSURGXFWLRQRIWKDW
             HOHFWURQLFUHFRUGDVPD\EHDSSURSULDWHIRUWKHSXUSRVHRIVKRZLQJWKDWWKHHOHFWURQLF
             UHFRUGZDVSURGXFHGE\DFRPSXWHURUDFRPPXQLFDWLRQGHYLFHUHIHUUHGWRLQFODXVHV a 
             WR e RIVXEVHFWLRQ 3 
                     c  GHDOLQJ ZLWK DQ\ RI WKH PDWWHUV WR ZKLFK WKH FRQGLWLRQV PHQWLRQHG LQ
             VXEVHFWLRQ 2 UHODWH
      DQG SXUSRUWLQJ WR EH VLJQHG E\ D SHUVRQ LQ FKDUJH RI WKH FRPSXWHU RU FRPPXQLFDWLRQ
      GHYLFHRUWKHPDQDJHPHQWRIWKHUHOHYDQWDFWLYLWLHV ZKLFKHYHULVDSSURSULDWH DQGDQH[SHUW
      VKDOO EH HYLGHQFH RI DQ\ PDWWHU VWDWHG LQ WKH FHUWLILFDWH DQG IRU WKH SXUSRVHV RI WKLV
      VXEVHFWLRQLWVKDOOEHVXIILFLHQWIRUDPDWWHUWREHVWDWHGWRWKHEHVWRIWKHNQRZOHGJHDQG
      EHOLHIRIWKHSHUVRQVWDWLQJLWLQWKHFHUWLILFDWHVSHFLILHGLQWKH6FKHGXOH
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                           5 )RUWKHSXUSRVHVRIWKLVVHFWLRQ²
                                 a LQIRUPDWLRQVKDOOEHWDNHQWREHVXSSOLHGWRDFRPSXWHURUFRPPXQLFDWLRQ
                          GHYLFHLILWLVVXSSOLHGWKHUHWRLQDQ\DSSURSULDWHIRUPDQGZKHWKHULWLVVRVXSSOLHG
                          GLUHFWO\ RU ZLWK RU ZLWKRXW KXPDQ LQWHUYHQWLRQ  E\ PHDQV RI DQ\ DSSURSULDWH
                          HTXLSPHQW
                                b DFRPSXWHURXWSXWVKDOOEHWDNHQWRKDYHEHHQSURGXFHGE\DFRPSXWHURU
                          FRPPXQLFDWLRQGHYLFHZKHWKHULWZDVSURGXFHGE\LWGLUHFWO\RU ZLWKRUZLWKRXW
                          KXPDQLQWHUYHQWLRQ E\PHDQVRIDQ\DSSURSULDWHHTXLSPHQWRUE\RWKHUHOHFWURQLF
                          PHDQVDVUHIHUUHGWRLQFODXVHV a WR e RIVXEVHFWLRQ 3 
5XOHV DV WR             64. 6HFRQGDU\HYLGHQFHRIWKHFRQWHQWVRIWKHGRFXPHQWVUHIHUUHGWRLQFODXVH a RI
QRWLFH WR          VHFWLRQVKDOOQRWEHJLYHQXQOHVVWKHSDUW\SURSRVLQJWRJLYHVXFKVHFRQGDU\HYLGHQFH
SURGXFH
                    KDVSUHYLRXVO\JLYHQWRWKHSDUW\LQZKRVHSRVVHVVLRQRUSRZHUWKHGRFXPHQWLVRUWRKLV
                    DGYRFDWHRUUHSUHVHQWDWLYHVXFKQRWLFHWRSURGXFHLWDVLVSUHVFULEHGE\ODZDQGLIQR
                    QRWLFHLVSUHVFULEHGE\ODZWKHQVXFKQRWLFHDVWKH&RXUWFRQVLGHUVUHDVRQDEOHXQGHUWKH
                    FLUFXPVWDQFHVRIWKHFDVH
                          3URYLGHGWKDWVXFKQRWLFHVKDOOQRWEHUHTXLUHGLQRUGHUWRUHQGHUVHFRQGDU\HYLGHQFH
                    DGPLVVLEOHLQDQ\RIWKHIROORZLQJFDVHVRULQDQ\RWKHUFDVHLQZKLFKWKH&RXUWWKLQNVILW
                    WRGLVSHQVHZLWKLW²
                                 a ZKHQWKHGRFXPHQWWREHSURYHGLVLWVHOIDQRWLFH
                                b ZKHQIURPWKHQDWXUHRIWKHFDVHWKHDGYHUVHSDUW\PXVWNQRZWKDWKHZLOO
                          EHUHTXLUHGWRSURGXFHLW
                                 c ZKHQLWDSSHDUVRULVSURYHGWKDWWKHDGYHUVHSDUW\KDVREWDLQHGSRVVHVVLRQ
                          RIWKHRULJLQDOE\IUDXGRUIRUFH
                                 d ZKHQWKHDGYHUVHSDUW\RUKLVDJHQWKDVWKHRULJLQDOLQ&RXUW
                                 e ZKHQWKHDGYHUVHSDUW\RUKLVDJHQWKDVDGPLWWHGWKHORVVRIWKHGRFXPHQW
                                 f ZKHQWKHSHUVRQLQSRVVHVVLRQRIWKHGRFXPHQWLVRXWRIUHDFKRIRUQRW
                          VXEMHFWWRWKHSURFHVVRIWKH&RXUW
3URRI RI                 65. ,IDGRFXPHQWLVDOOHJHGWREHVLJQHGRUWRKDYHEHHQZULWWHQZKROO\RULQSDUWE\
VLJQDWXUH DQG      DQ\SHUVRQWKHVLJQDWXUHRUWKHKDQGZULWLQJRIVRPXFKRIWKHGRFXPHQWDVLVDOOHJHGWREH
KDQGZULWLQJ RI
SHUVRQ DOOHJHG
                    LQWKDWSHUVRQ VKDQGZULWLQJPXVWEHSURYHGWREHLQKLVKDQGZULWLQJ
WR KDYH VLJQHG
RU ZULWWHQ
GRFXPHQW
SURGXFHG

3URRI DV WR             66. ([FHSWLQWKHFDVHRIDVHFXUHHOHFWURQLFVLJQDWXUHLIWKHHOHFWURQLFVLJQDWXUHRI
HOHFWURQLF          DQ\VXEVFULEHULVDOOHJHGWRKDYHEHHQDIIL[HGWRDQHOHFWURQLFUHFRUGWKHIDFWWKDWVXFK
VLJQDWXUH
                    HOHFWURQLFVLJQDWXUHLVWKHHOHFWURQLFVLJQDWXUHRIWKHVXEVFULEHUPXVWEHSURYHG
3URRI RI                  67. ,IDGRFXPHQWLVUHTXLUHGE\ODZWREHDWWHVWHGLWVKDOOQRWEHXVHGDVHYLGHQFH
H[HFXWLRQ RI       XQWLORQHDWWHVWLQJZLWQHVVDWOHDVWKDVEHHQFDOOHGIRUWKHSXUSRVHRISURYLQJLWVH[HFXWLRQ
GRFXPHQW
UHTXLUHGE\ODZ
                    LIWKHUHEHDQDWWHVWLQJZLWQHVVDOLYHDQGVXEMHFWWRWKHSURFHVVRIWKH&RXUWDQGFDSDEOHRI
WR EH DWWHVWHG   JLYLQJHYLGHQFH
                          3URYLGHGWKDWLWVKDOOQRWEHQHFHVVDU\WRFDOODQDWWHVWLQJZLWQHVVLQSURRIRIWKH
                    H[HFXWLRQRIDQ\GRFXPHQWQRWEHLQJDZLOOZKLFKKDVEHHQUHJLVWHUHGLQDFFRUGDQFHZLWK
                    WKHSURYLVLRQVRIWKH,QGLDQ5HJLVWUDWLRQ$FWXQOHVVLWVH[HFXWLRQE\WKHSHUVRQE\          RI 
                    ZKRPLWSXUSRUWVWRKDYHEHHQH[HFXWHGLVVSHFLILFDOO\GHQLHG
3URRI ZKHUH              68. ,IQRVXFKDWWHVWLQJZLWQHVVFDQEHIRXQGLWPXVWEHSURYHGWKDWWKHDWWHVWDWLRQ
QR DWWHVWLQJ       RIRQHDWWHVWLQJZLWQHVVDWOHDVWLVLQKLVKDQGZULWLQJDQGWKDWWKHVLJQDWXUHRIWKHSHUVRQ
ZLWQHVV IRXQG
                    H[HFXWLQJWKHGRFXPHQWLVLQWKHKDQGZULWLQJRIWKDWSHUVRQ
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             69. 7KHDGPLVVLRQRIDSDUW\WRDQDWWHVWHGGRFXPHQWRILWVH[HFXWLRQE\KLPVHOI               $GPLVVLRQ RI
      VKDOOEHVXIILFLHQWSURRIRILWVH[HFXWLRQDVDJDLQVWKLPWKRXJKLWEHDGRFXPHQWUHTXLUHGE\        H[HFXWLRQ E\
                                                                                                            SDUW\ WR
      ODZWREHDWWHVWHG                                                                                   DWWHVWHG
                                                                                                            GRFXPHQW

             70. ,IWKHDWWHVWLQJZLWQHVVGHQLHVRUGRHVQRWUHFROOHFWWKHH[HFXWLRQRIWKHGRFXPHQW       3URRI ZKHQ
      LWVH[HFXWLRQPD\EHSURYHGE\RWKHUHYLGHQFH                                                        DWWHVWLQJ
                                                                                                            ZLWQHVV GHQLHV
                                                                                                            H[HFXWLRQ

            71. $QDWWHVWHGGRFXPHQWQRWUHTXLUHGE\ODZWREHDWWHVWHGPD\EHSURYHGDVLILW              3URRI RI
      ZDV XQDWWHVWHG                                                                                      GRFXPHQW QRW
                                                                                                            UHTXLUHGE\ODZ
                                                                                                            WR EH DWWHVWHG

            72. 1 ,QRUGHUWRDVFHUWDLQZKHWKHUDVLJQDWXUHZULWLQJRUVHDOLVWKDWRIWKHSHUVRQ         &RPSDULVRQ
      E\ZKRPLWSXUSRUWVWRKDYHEHHQZULWWHQRUPDGHDQ\VLJQDWXUHZULWLQJRUVHDODGPLWWHG            RI VLJQDWXUH
                                                                                                            ZULWLQJ RU VHDO
      RUSURYHGWRWKHVDWLVIDFWLRQRIWKH&RXUWWRKDYHEHHQZULWWHQRUPDGHE\WKDWSHUVRQPD\            ZLWK RWKHUV
      EHFRPSDUHGZLWKWKHRQHZKLFKLVWREHSURYHGDOWKRXJKWKDWVLJQDWXUHZULWLQJRUVHDOKDV          DGPLWWHG RU
      QRWEHHQSURGXFHGRUSURYHGIRUDQ\RWKHUSXUSRVH                                                    SURYHG

            2 7KH&RXUWPD\GLUHFWDQ\SHUVRQSUHVHQWLQ&RXUWWRZULWHDQ\ZRUGVRUILJXUHVIRU
      WKHSXUSRVHRIHQDEOLQJWKH&RXUWWRFRPSDUHWKHZRUGVRUILJXUHVVRZULWWHQZLWKDQ\
      ZRUGVRUILJXUHVDOOHJHGWRKDYHEHHQZULWWHQE\VXFKSHUVRQ
             3 7KLVVHFWLRQDSSOLHVDOVRZLWKDQ\QHFHVVDU\PRGLILFDWLRQVWRILQJHULPSUHVVLRQV
           73. ,QRUGHUWRDVFHUWDLQZKHWKHUDGLJLWDOVLJQDWXUHLVWKDWRIWKHSHUVRQE\ZKRPLW           3URRI DV WR
      SXUSRUWVWRKDYHEHHQDIIL[HGWKH&RXUWPD\GLUHFW²                                                  YHULILFDWLRQ RI
                                                                                                            GLJLWDO
                                                                                                            VLJQDWXUH
                   a WKDWSHUVRQRUWKH&RQWUROOHURUWKH&HUWLI\LQJ$XWKRULW\WRSURGXFHWKH
            'LJLWDO6LJQDWXUH&HUWLILFDWH
                   b DQ\ RWKHU SHUVRQ WR DSSO\ WKH SXEOLF NH\ OLVWHG LQ WKH 'LJLWDO 6LJQDWXUH
            &HUWLILFDWHDQGYHULI\WKHGLJLWDOVLJQDWXUHSXUSRUWHGWRKDYHEHHQDIIL[HGE\WKDW
            SHUVRQ

                                             Public documents
            74. 1 7KHIROORZLQJGRFXPHQWVDUHSXEOLFGRFXPHQWV²                                           3XEOLF DQG
                                                                                                            SULYDWH
                   a GRFXPHQWVIRUPLQJWKHDFWVRUUHFRUGVRIWKHDFWV²                                    GRFXPHQWV

                          i RIWKHVRYHUHLJQDXWKRULW\
                          ii RIRIILFLDOERGLHVDQGWULEXQDOVDQG

                          iii RISXEOLFRIILFHUVOHJLVODWLYHMXGLFLDODQGH[HFXWLYHRI,QGLDRURID
                   IRUHLJQFRXQWU\
                   b SXEOLFUHFRUGVNHSWLQDQ\6WDWHRU8QLRQWHUULWRU\RISULYDWHGRFXPHQWV
             2 $OO RWKHU GRFXPHQWV H[FHSW WKH GRFXPHQWV UHIHUUHG WR LQ VXEVHFWLRQ 1  DUH
      SULYDWH

             75. (YHU\SXEOLFRIILFHUKDYLQJWKHFXVWRG\RIDSXEOLFGRFXPHQWZKLFKDQ\SHUVRQ             &HUWLILHG
      KDVDULJKWWRLQVSHFWVKDOOJLYHWKDWSHUVRQRQGHPDQGDFRS\RILWRQSD\PHQWRIWKHOHJDO         FRSLHV RI
                                                                                                            SXEOLF
      IHHVWKHUHIRUWRJHWKHUZLWKDFHUWLILFDWHZULWWHQDWWKHIRRWRIVXFKFRS\WKDWLWLVDWUXHFRS\    GRFXPHQWV
      RIVXFKGRFXPHQWRUSDUWWKHUHRIDVWKHFDVHPD\EHDQGVXFKFHUWLILFDWHVKDOOEHGDWHGDQG
      VXEVFULEHGE\VXFKRIILFHUZLWKKLVQDPHDQGKLVRIILFLDOWLWOHDQGVKDOOEHVHDOHGZKHQHYHU
      VXFKRIILFHULVDXWKRULVHGE\ODZWRPDNHXVHRIDVHDODQGVXFKFRSLHVVRFHUWLILHGVKDOOEH
      FDOOHGFHUWLILHGFRSLHV
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                         Explanation.²$Q\RIILFHUZKRE\WKHRUGLQDU\FRXUVHRIRIILFLDOGXW\LVDXWKRULVHG
                   WRGHOLYHUVXFKFRSLHVVKDOOEHGHHPHGWRKDYHWKHFXVWRG\RIVXFKGRFXPHQWVZLWKLQWKH
                   PHDQLQJRIWKLVVHFWLRQ
3URRI RI               76. 6XFKFHUWLILHGFRSLHVPD\EHSURGXFHGLQSURRIRIWKHFRQWHQWVRIWKHSXEOLF
GRFXPHQWV E\      GRFXPHQWVRUSDUWVRIWKHSXEOLFGRFXPHQWVRIZKLFKWKH\SXUSRUWWREHFRSLHV
SURGXFWLRQ RI
FHUWLILHG
FRSLHV
3URRI RI RWKHU         77. 7KHIROORZLQJSXEOLFGRFXPHQWVPD\EHSURYHGDVIROORZV²
RIILFLDO
GRFXPHQWV                     a $FWVRUGHUVRUQRWLILFDWLRQVRIWKH&HQWUDO*RYHUQPHQWLQDQ\RILWV0LQLVWULHV
                         DQG 'HSDUWPHQWV RU RI DQ\ 6WDWH *RYHUQPHQW RU DQ\ 'HSDUWPHQW RI DQ\ 6WDWH
                         *RYHUQPHQWRU8QLRQWHUULWRU\$GPLQLVWUDWLRQ²
                                     i E\ WKH UHFRUGV RI WKH 'HSDUWPHQWV FHUWLILHG E\ WKH KHDG RI WKRVH
                               'HSDUWPHQWVUHVSHFWLYHO\RU
                                    ii E\ DQ\ GRFXPHQW SXUSRUWLQJ WR EH SULQWHG E\ RUGHU RI DQ\ VXFK
                               *RYHUQPHQW
                                b WKHSURFHHGLQJVRI3DUOLDPHQWRUD6WDWH/HJLVODWXUHE\WKHMRXUQDOVRIWKRVH
                         ERGLHVUHVSHFWLYHO\RUE\SXEOLVKHG$FWVRUDEVWUDFWVRUE\FRSLHVSXUSRUWLQJWREH
                         SULQWHGE\RUGHURIWKH*RYHUQPHQWFRQFHUQHG
                               c SURFODPDWLRQVRUGHUVRU5HJXODWLRQVLVVXHGE\WKH3UHVLGHQWRI,QGLDRUWKH
                         *RYHUQRURID6WDWHRUWKH$GPLQLVWUDWRURU/LHXWHQDQW*RYHUQRURID8QLRQWHUULWRU\
                         E\FRSLHVRUH[WUDFWVFRQWDLQHGLQWKH2IILFLDO*D]HWWH
                               d WKH$FWVRIWKH([HFXWLYHRUWKHSURFHHGLQJVRIWKH/HJLVODWXUHRIDIRUHLJQ
                         FRXQWU\E\MRXUQDOVSXEOLVKHGE\WKHLUDXWKRULW\RUFRPPRQO\UHFHLYHGLQWKDWFRXQWU\
                         DVVXFKRUE\DFRS\FHUWLILHGXQGHUWKHVHDORIWKHFRXQWU\RUVRYHUHLJQRUE\D
                         UHFRJQLWLRQWKHUHRILQDQ\&HQWUDO$FW
                               e WKHSURFHHGLQJVRIDPXQLFLSDORUORFDOERG\LQD6WDWHE\DFRS\RIVXFK
                         SURFHHGLQJVFHUWLILHGE\WKHOHJDONHHSHUWKHUHRIRUE\DSULQWHGERRNSXUSRUWLQJWR
                         EHSXEOLVKHGE\WKHDXWKRULW\RIVXFKERG\
                                 f SXEOLFGRFXPHQWVRIDQ\RWKHUFODVVLQDIRUHLJQFRXQWU\E\WKHRULJLQDORU
                         E\DFRS\FHUWLILHGE\WKHOHJDONHHSHUWKHUHRIZLWKDFHUWLILFDWHXQGHUWKHVHDORID
                         1RWDU\ 3XEOLF RU RI DQ ,QGLDQ &RQVXO RU GLSORPDWLF DJHQW WKDW WKH FRS\ LV GXO\
                         FHUWLILHGE\WKHRIILFHUKDYLQJWKHOHJDOFXVWRG\RIWKHRULJLQDODQGXSRQSURRIRIWKH
                         FKDUDFWHURIWKHGRFXPHQWDFFRUGLQJWRWKHODZRIWKHIRUHLJQFRXQWU\

                                                   Presumptions as to documents
3UHVXPSWLRQ               78. 1 7KH&RXUWVKDOOSUHVXPHWREHJHQXLQHHYHU\GRFXPHQWSXUSRUWLQJWREHD
DV WR             FHUWLILFDWHFHUWLILHGFRS\RURWKHUGRFXPHQWZKLFKLVE\ODZGHFODUHGWREHDGPLVVLEOHDV
JHQXLQHQHVV RI
FHUWLILHG
                   HYLGHQFHRIDQ\SDUWLFXODUIDFWDQGZKLFKSXUSRUWVWREHGXO\FHUWLILHGE\DQ\RIILFHURIWKH
FRSLHV            &HQWUDO*RYHUQPHQWRURID6WDWH*RYHUQPHQW
                          3URYLGHGWKDWVXFKGRFXPHQWLVVXEVWDQWLDOO\LQWKHIRUPDQGSXUSRUWVWREHH[HFXWHG
                   LQWKHPDQQHUGLUHFWHGE\ODZLQWKDWEHKDOI
                         2 7KH &RXUW VKDOO DOVR SUHVXPH WKDW DQ\ RIILFHU E\ ZKRP DQ\ VXFK GRFXPHQW
                   SXUSRUWVWREHVLJQHGRUFHUWLILHGKHOGZKHQKHVLJQHGLWWKHRIILFLDOFKDUDFWHUZKLFKKH
                   FODLPVLQVXFKSDSHU
3UHVXPSWLRQ DV          79. :KHQHYHUDQ\GRFXPHQWLVSURGXFHGEHIRUHDQ\&RXUWSXUSRUWLQJWREHDUHFRUG
WR GRFXPHQWV      RUPHPRUDQGXPRIWKHHYLGHQFHRURIDQ\SDUWRIWKHHYLGHQFHJLYHQE\DZLWQHVVLQD
SURGXFHG DV
UHFRUG RI
                   MXGLFLDOSURFHHGLQJRUEHIRUHDQ\RIILFHUDXWKRULVHGE\ODZWRWDNHVXFKHYLGHQFHRUWREHD
HYLGHQFH HWF    VWDWHPHQWRUFRQIHVVLRQE\DQ\SULVRQHURUDFFXVHGSHUVRQWDNHQLQDFFRUGDQFHZLWKODZ
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      DQGSXUSRUWLQJWREHVLJQHGE\DQ\-XGJHRU0DJLVWUDWHRUE\DQ\VXFKRIILFHUDVDIRUHVDLG
      WKH&RXUWVKDOOSUHVXPHWKDW²
                   i WKHGRFXPHQWLVJHQXLQH
                   ii DQ\VWDWHPHQWVDVWRWKHFLUFXPVWDQFHVXQGHUZKLFKLWZDVWDNHQSXUSRUWLQJ
            WREHPDGHE\WKHSHUVRQVLJQLQJLWDUHWUXHDQG
                   iii VXFKHYLGHQFHVWDWHPHQWRUFRQIHVVLRQZDVGXO\WDNHQ
            80. 7KH&RXUWVKDOOSUHVXPHWKHJHQXLQHQHVVRIHYHU\GRFXPHQWSXUSRUWLQJWREH                  3UHVXPSWLRQ
      WKH2IILFLDO*D]HWWHRUWREHDQHZVSDSHURUMRXUQDODQGRIHYHU\GRFXPHQWSXUSRUWLQJWREH         DV WR *D]HWWHV
                                                                                                            QHZVSDSHUV
      D GRFXPHQW GLUHFWHG E\ DQ\ ODZ WR EH NHSW E\ DQ\ SHUVRQ LI VXFK GRFXPHQW LV NHSW     DQG RWKHU
      VXEVWDQWLDOO\LQWKHIRUPUHTXLUHGE\ODZDQGLVSURGXFHGIURPSURSHUFXVWRG\                        GRFXPHQWV

             Explanation.²)RUWKHSXUSRVHVRIWKLVVHFWLRQDQGVHFWLRQGRFXPHQWLVVDLGWR
      EHLQSURSHUFXVWRG\LILWLVLQWKHSODFHLQZKLFKDQGORRNHGDIWHUE\WKHSHUVRQZLWKZKRP
      VXFKGRFXPHQWLVUHTXLUHGWREHNHSWEXWQRFXVWRG\LVLPSURSHULILWLVSURYHGWRKDYHKDG
      DOHJLWLPDWHRULJLQRULIWKHFLUFXPVWDQFHVRIWKHSDUWLFXODUFDVHDUHVXFKDVWRUHQGHUWKDW
      RULJLQSUREDEOH
             81. 7KH&RXUWVKDOOSUHVXPHWKHJHQXLQHQHVVRIHYHU\HOHFWURQLFRUGLJLWDOUHFRUG              3UHVXPSWLRQ
      SXUSRUWLQJWREHWKH2IILFLDO*D]HWWHRUSXUSRUWLQJWREHHOHFWURQLFRUGLJLWDOUHFRUGGLUHFWHG      DV WR *D]HWWHV
                                                                                                            LQ HOHFWURQLF
      E\DQ\ODZWREHNHSWE\DQ\SHUVRQLIVXFKHOHFWURQLFRUGLJLWDOUHFRUGLVNHSWVXEVWDQWLDOO\       RU GLJLWDO
      LQWKHIRUPUHTXLUHGE\ODZDQGLVSURGXFHGIURPSURSHUFXVWRG\                                      UHFRUG
             Explanation.²)RUWKHSXUSRVHVRIWKLVVHFWLRQDQGVHFWLRQHOHFWURQLFUHFRUGVDUH
      VDLGWREHLQSURSHUFXVWRG\LIWKH\DUHLQWKHSODFHLQZKLFKDQGORRNHGDIWHUE\WKHSHUVRQ
      ZLWKZKRPVXFKGRFXPHQWLVUHTXLUHGWREHNHSWEXWQRFXVWRG\LVLPSURSHULILWLVSURYHG
      WRKDYHKDGDOHJLWLPDWHRULJLQRUWKHFLUFXPVWDQFHVRIWKHSDUWLFXODUFDVHDUHVXFKDVWR
      UHQGHUWKDWRULJLQSUREDEOH
            82. 7KH&RXUWVKDOOSUHVXPHWKDWPDSVRUSODQVSXUSRUWLQJWREHPDGHE\WKHDXWKRULW\           3UHVXPSWLRQ
      RIWKH&HQWUDO*RYHUQPHQWRUDQ\6WDWH*RYHUQPHQWZHUHVRPDGHDQGDUHDFFXUDWHEXW                 DV WR PDSV RU
                                                                                                            SODQV PDGH E\
      PDSVRUSODQVPDGHIRUWKHSXUSRVHVRIDQ\FDXVHPXVWEHSURYHGWREHDFFXUDWH                       DXWKRULW\ RI
                                                                                                            *RYHUQPHQW
            83. 7KH&RXUWVKDOOSUHVXPHWKHJHQXLQHQHVVRIHYHU\ERRNSXUSRUWLQJWREHSULQWHG             3UHVXPSWLRQ DV
      RUSXEOLVKHGXQGHUWKHDXWKRULW\RIWKH*RYHUQPHQWRIDQ\FRXQWU\DQGWRFRQWDLQDQ\RI              WR FROOHFWLRQV
                                                                                                            RIODZVDQG
      WKHODZVRIWKDWFRXQWU\DQGRIHYHU\ERRNSXUSRUWLQJWRFRQWDLQUHSRUWVRIGHFLVLRQVRIWKH         UHSRUWV RI
      &RXUWVRIVXFKFRXQWU\                                                                               GHFLVLRQV

            84. 7KH &RXUW VKDOO SUHVXPH WKDW HYHU\ GRFXPHQW SXUSRUWLQJ WR EH D                    3UHVXPSWLRQ
      SRZHURIDWWRUQH\DQGWRKDYHEHHQH[HFXWHGEHIRUHDQGDXWKHQWLFDWHGE\D1RWDU\3XEOLF           DV WR SRZHUV
                                                                                                            RIDWWRUQH\
      RUDQ\&RXUW-XGJH0DJLVWUDWH,QGLDQ&RQVXORU9LFH&RQVXORUUHSUHVHQWDWLYHRIWKH
      &HQWUDO*RYHUQPHQWZDVVRH[HFXWHGDQGDXWKHQWLFDWHG
            85. 7KH&RXUWVKDOOSUHVXPHWKDWHYHU\HOHFWURQLFUHFRUGSXUSRUWLQJWREHDQDJUHHPHQW          3UHVXPSWLRQ DV
      FRQWDLQLQJWKHHOHFWURQLFRUGLJLWDOVLJQDWXUHRIWKHSDUWLHVZDVVRFRQFOXGHGE\DIIL[LQJWKH        WR HOHFWURQLF
                                                                                                            DJUHHPHQWV
      HOHFWURQLFRUGLJLWDOVLJQDWXUHRIWKHSDUWLHV
            86. 1 ,QDQ\SURFHHGLQJLQYROYLQJDVHFXUHHOHFWURQLFUHFRUGWKH&RXUWVKDOOSUHVXPH         3UHVXPSWLRQ
      XQOHVVFRQWUDU\LVSURYHGWKDWWKHVHFXUHHOHFWURQLFUHFRUGKDVQRWEHHQDOWHUHGVLQFHWKH           DV WR
                                                                                                            HOHFWURQLF
      VSHFLILFSRLQWRIWLPHWRZKLFKWKHVHFXUHVWDWXVUHODWHV                                            UHFRUGV DQG
             2 ,QDQ\SURFHHGLQJLQYROYLQJVHFXUHHOHFWURQLFVLJQDWXUHWKH&RXUWVKDOOSUHVXPH           HOHFWURQLF
                                                                                                            VLJQDWXUHV
      XQOHVVWKHFRQWUDU\LVSURYHGWKDW²
                   a WKHVHFXUHHOHFWURQLFVLJQDWXUHLVDIIL[HGE\VXEVFULEHUZLWKWKHLQWHQWLRQRI
            VLJQLQJRUDSSURYLQJWKHHOHFWURQLFUHFRUG
                   b H[FHSWLQWKHFDVHRIDVHFXUHHOHFWURQLFUHFRUGRUDVHFXUHHOHFWURQLFVLJQDWXUH
            QRWKLQJ LQ WKLV VHFWLRQ VKDOO FUHDWH DQ\ SUHVXPSWLRQ UHODWLQJ WR DXWKHQWLFLW\ DQG
            LQWHJULW\RIWKHHOHFWURQLFUHFRUGRUDQ\HOHFWURQLFVLJQDWXUH
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3UHVXPSWLRQ DV           87. 7KH&RXUWVKDOOSUHVXPHXQOHVVFRQWUDU\LVSURYHGWKDWWKHLQIRUPDWLRQOLVWHGLQ
WR (OHFWURQLF      DQ(OHFWURQLF6LJQDWXUH&HUWLILFDWHLVFRUUHFWH[FHSWIRULQIRUPDWLRQVSHFLILHGDVVXEVFULEHU
6LJQDWXUH
&HUWLILFDWHV       LQIRUPDWLRQZKLFKKDVQRWEHHQYHULILHGLIWKHFHUWLILFDWHZDVDFFHSWHGE\WKHVXEVFULEHU

3UHVXPSWLRQ                88. 1 7KH&RXUWPD\SUHVXPHWKDWDQ\GRFXPHQWSXUSRUWLQJWREHDFHUWLILHGFRS\RI
DV WR FHUWLILHG
                    DQ\MXGLFLDOUHFRUGRIDQ\FRXQWU\EH\RQG,QGLDLVJHQXLQHDQGDFFXUDWHLIWKHGRFXPHQW
FRSLHV RI
IRUHLJQ MXGLFLDO   SXUSRUWVWREHFHUWLILHGLQDQ\PDQQHUZKLFKLVFHUWLILHGE\DQ\UHSUHVHQWDWLYHRIWKH&HQWUDO
UHFRUGV            *RYHUQPHQWLQRUIRUVXFKFRXQWU\WREHWKHPDQQHUFRPPRQO\LQXVHLQWKDWFRXQWU\IRUWKH
                    FHUWLILFDWLRQRIFRSLHVRIMXGLFLDOUHFRUGV
                            2 $QRIILFHUZKRZLWKUHVSHFWWRDQ\WHUULWRU\RUSODFHRXWVLGH,QGLDLVD3ROLWLFDO
                    $JHQWWKHUHIRUDVGHILQHGLQFODXVH 43 RIVHFWLRQRIWKH*HQHUDO&ODXVHV$FWVKDOO    RI 
                    IRUWKHSXUSRVHVRIWKLVVHFWLRQEHGHHPHGWREHDUHSUHVHQWDWLYHRIWKH&HQWUDO*RYHUQPHQW
                    LQDQGIRUWKHFRXQWU\FRPSULVLQJWKDWWHUULWRU\RUSODFH
3UHVXPSWLRQ               89. 7KH&RXUWPD\SUHVXPHWKDWDQ\ERRNWRZKLFKLWPD\UHIHUIRULQIRUPDWLRQRQ
DV WR ERRNV      PDWWHUVRISXEOLFRUJHQHUDOLQWHUHVWDQGWKDWDQ\SXEOLVKHGPDSRUFKDUWWKHVWDWHPHQWVRI
PDSV DQG
FKDUWV             ZKLFKDUHUHOHYDQWIDFWVDQGZKLFKLVSURGXFHGIRULWVLQVSHFWLRQZDVZULWWHQDQGSXEOLVKHG
                    E\WKHSHUVRQDQGDWWKHWLPHDQGSODFHE\ZKRPRUDWZKLFKLWSXUSRUWVWRKDYHEHHQ
                    ZULWWHQRUSXEOLVKHG
3UHVXPSWLRQ               90. 7KH&RXUWPD\SUHVXPHWKDWDQHOHFWURQLFPHVVDJHIRUZDUGHGE\WKHRULJLQDWRU
DV WR              WKURXJKDQHOHFWURQLFPDLOVHUYHUWRWKHDGGUHVVHHWRZKRPWKHPHVVDJHSXUSRUWVWREH
HOHFWURQLF
PHVVDJHV           DGGUHVVHGFRUUHVSRQGVZLWKWKHPHVVDJHDVIHGLQWRKLVFRPSXWHUIRUWUDQVPLVVLRQEXWWKH
                    &RXUWVKDOOQRWPDNHDQ\SUHVXPSWLRQDVWRWKHSHUVRQE\ZKRPVXFKPHVVDJHZDVVHQW

3UHVXPSWLRQ DV           91. 7KH&RXUWVKDOOSUHVXPHWKDWHYHU\GRFXPHQWFDOOHGIRUDQGQRWSURGXFHGDIWHU
WR GXH
                    QRWLFHWRSURGXFHZDVDWWHVWHGVWDPSHGDQGH[HFXWHGLQWKHPDQQHUUHTXLUHGE\ODZ
H[HFXWLRQ HWF
RI GRFXPHQWV
QRW SURGXFHG
3UHVXPSWLRQ               92. :KHUHDQ\GRFXPHQWSXUSRUWLQJRUSURYHGWREHWKLUW\\HDUVROGLVSURGXFHG
DV WR
                    IURPDQ\FXVWRG\ZKLFKWKH&RXUWLQWKHSDUWLFXODUFDVHFRQVLGHUVSURSHUWKH&RXUWPD\
GRFXPHQWV
WKLUW\ \HDUV       SUHVXPHWKDWWKHVLJQDWXUHDQGHYHU\RWKHUSDUWRIVXFKGRFXPHQWZKLFKSXUSRUWVWREHLQ
ROG                WKHKDQGZULWLQJRIDQ\SDUWLFXODUSHUVRQLVLQWKDWSHUVRQ VKDQGZULWLQJDQGLQWKHFDVHRI
                    DGRFXPHQWH[HFXWHGRUDWWHVWHGWKDWLWZDVGXO\H[HFXWHGDQGDWWHVWHGE\WKHSHUVRQVE\
                    ZKRPLWSXUSRUWVWREHH[HFXWHGDQGDWWHVWHG

                          Explanation.²7KHExplanationWRVHFWLRQVKDOODOVRDSSO\WRWKLVVHFWLRQ

                                                            Illustrations.
                           a $KDVEHHQLQSRVVHVVLRQRIODQGHGSURSHUW\IRUDORQJWLPH+HSURGXFHVIURP
                    KLVFXVWRG\GHHGVUHODWLQJWRWKHODQGVKRZLQJKLVWLWOHVWRLW7KHFXVWRG\VKDOOEHSURSHU
                          b $SURGXFHVGHHGVUHODWLQJWRODQGHGSURSHUW\RIZKLFKKHLVWKHPRUWJDJHH7KH
                    PRUWJDJRULVLQSRVVHVVLRQ7KHFXVWRG\VKDOOEHSURSHU
                          c $DFRQQHFWLRQRI%SURGXFHVGHHGVUHODWLQJWRODQGVLQ% VSRVVHVVLRQZKLFK
                    ZHUHGHSRVLWHGZLWKKLPE\%IRUVDIHFXVWRG\7KHFXVWRG\VKDOOEHSURSHU
3UHVXPSWLRQ               93. :KHUHDQ\HOHFWURQLFUHFRUGSXUSRUWLQJRUSURYHGWREHILYH\HDUVROGLVSURGXFHG
DV WR              IURPDQ\FXVWRG\ZKLFKWKH&RXUWLQWKHSDUWLFXODUFDVHFRQVLGHUVSURSHUWKH&RXUWPD\
HOHFWURQLF
UHFRUGV ILYH       SUHVXPHWKDWWKHHOHFWURQLFVLJQDWXUHZKLFKSXUSRUWVWREHWKHHOHFWURQLFVLJQDWXUHRIDQ\
\HDUV ROG         SDUWLFXODUSHUVRQZDVVRDIIL[HGE\KLPRUDQ\SHUVRQDXWKRULVHGE\KLPLQWKLVEHKDOI
                          Explanation.²7KHExplanationWRVHFWLRQVKDOODOVRDSSO\WRWKLVVHFWLRQ
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                                                &+$37(59,
                     2)7+((;&/86,212)25$/(9,'(1&(%<'2&80(17$5<(9,'(1&(
            94. :KHQWKHWHUPVRIDFRQWUDFWRURIDJUDQWRURIDQ\RWKHUGLVSRVLWLRQRISURSHUW\         (YLGHQFH RI
      KDYH EHHQ UHGXFHG WR WKH IRUP RI D GRFXPHQW DQG LQ DOO FDVHV LQ ZKLFK DQ\ PDWWHU LV   WHUPV RI
                                                                                                              FRQWUDFWV
      UHTXLUHGE\ODZWREHUHGXFHGWRWKHIRUPRIDGRFXPHQWQRHYLGHQFHVKDOOEHJLYHQLQSURRI            JUDQWV DQG
      RIWKHWHUPVRIVXFKFRQWUDFWJUDQWRURWKHUGLVSRVLWLRQRISURSHUW\RURIVXFKPDWWHU               RWKHU
      H[FHSWWKHGRFXPHQWLWVHOIRUVHFRQGDU\HYLGHQFHRILWVFRQWHQWVLQFDVHVLQZKLFKVHFRQGDU\           GLVSRVLWLRQV RI
      HYLGHQFHLVDGPLVVLEOHXQGHUWKHSURYLVLRQVKHUHLQEHIRUHFRQWDLQHG                                     SURSHUW\
                                                                                                              UHGXFHG WR IRUP
            Exception ²:KHQDSXEOLFRIILFHULVUHTXLUHGE\ODZWREHDSSRLQWHGLQZULWLQJ                 RI GRFXPHQW
      DQGZKHQLWLVVKRZQWKDWDQ\SDUWLFXODUSHUVRQKDVDFWHGDVVXFKRIILFHUWKHZULWLQJE\
      ZKLFKKHLVDSSRLQWHGQHHGQRWEHSURYHG
            Exception²:LOOVDGPLWWHGWRSUREDWHLQ,QGLDPD\EHSURYHGE\WKHSUREDWH
            Explanation ²7KLVVHFWLRQDSSOLHVHTXDOO\WRFDVHVLQZKLFKWKHFRQWUDFWVJUDQWV
      RUGLVSRVLWLRQVRISURSHUW\UHIHUUHGWRDUHFRQWDLQHGLQRQHGRFXPHQWDQGWRFDVHVLQZKLFK
      WKH\DUHFRQWDLQHGLQPRUHGRFXPHQWVWKDQRQH
             Explanation²:KHUHWKHUHDUHPRUHRULJLQDOVWKDQRQHRQHRULJLQDORQO\QHHGEH
      SURYHG
             Explanation²7KHVWDWHPHQWLQDQ\GRFXPHQWZKDWHYHURIDIDFWRWKHUWKDQWKH
      IDFWVUHIHUUHGWRLQWKLVVHFWLRQVKDOOQRWSUHFOXGHWKHDGPLVVLRQRIRUDOHYLGHQFHDVWRWKH
      VDPHIDFW

                                                Illustrations.
            a ,IDFRQWUDFWEHFRQWDLQHGLQVHYHUDOOHWWHUVDOOWKHOHWWHUVLQZKLFKLWLVFRQWDLQHG
      PXVWEHSURYHG
            b ,IDFRQWUDFWLVFRQWDLQHGLQDELOORIH[FKDQJHWKHELOORIH[FKDQJHPXVWEH
      SURYHG
             c ,IDELOORIH[FKDQJHLVGUDZQLQDVHWRIWKUHHRQHRQO\QHHGEHSURYHG
             d $FRQWUDFWVLQZULWLQJZLWK%IRUWKHGHOLYHU\RILQGLJRXSRQFHUWDLQWHUPV7KH
      FRQWUDFWPHQWLRQVWKHIDFWWKDW%KDGSDLG$WKHSULFHRIRWKHULQGLJRFRQWUDFWHGIRUYHUEDOO\
      RQDQRWKHURFFDVLRQ2UDOHYLGHQFHLVRIIHUHGWKDWQRSD\PHQWZDVPDGHIRUWKHRWKHU
      LQGLJR7KHHYLGHQFHLVDGPLVVLEOH
             e $JLYHV%DUHFHLSWIRUPRQH\SDLGE\%2UDOHYLGHQFHLVRIIHUHGRIWKHSD\PHQW
      7KHHYLGHQFHLVDGPLVVLEOH
            95. :KHQWKHWHUPVRIDQ\VXFKFRQWUDFWJUDQWRURWKHUGLVSRVLWLRQRISURSHUW\RU               ([FOXVLRQ RI
      DQ\PDWWHUUHTXLUHGE\ODZWREHUHGXFHGWRWKHIRUPRIDGRFXPHQWKDYHEHHQSURYHG                    HYLGHQFH RI
                                                                                                              RUDO
      DFFRUGLQJWRVHFWLRQQRHYLGHQFHRIDQ\RUDODJUHHPHQWRUVWDWHPHQWVKDOOEHDGPLWWHG              DJUHHPHQW
      DVEHWZHHQWKHSDUWLHVWRDQ\VXFKLQVWUXPHQWRUWKHLUUHSUHVHQWDWLYHVLQLQWHUHVWIRUWKH
      SXUSRVHRIFRQWUDGLFWLQJYDU\LQJDGGLQJWRRUVXEWUDFWLQJIURPLWVWHUPV
            3URYLGHG WKDW DQ\ IDFW PD\ EH SURYHG ZKLFK ZRXOG LQYDOLGDWH DQ\ GRFXPHQW RU
      ZKLFK ZRXOG HQWLWOH DQ\ SHUVRQ WR DQ\ GHFUHH RU RUGHU UHODWLQJ WKHUHWR VXFK DV IUDXG
      LQWLPLGDWLRQLOOHJDOLW\ZDQWRIGXHH[HFXWLRQZDQWRIFDSDFLW\LQDQ\FRQWUDFWLQJSDUW\
      ZDQWRUIDLOXUHRIFRQVLGHUDWLRQRUPLVWDNHLQIDFWRUODZ
            3URYLGHGIXUWKHUWKDWWKHH[LVWHQFHRIDQ\VHSDUDWHRUDODJUHHPHQWDVWRDQ\PDWWHURQ
      ZKLFKDGRFXPHQWLVVLOHQWDQGZKLFKLVQRWLQFRQVLVWHQWZLWKLWVWHUPVPD\EHSURYHG,Q
      FRQVLGHULQJZKHWKHURUQRWWKLVSURYLVRDSSOLHVWKH&RXUWVKDOOKDYHUHJDUGWRWKHGHJUHH
      RIIRUPDOLW\RIWKHGRFXPHQW
            3URYLGHGDOVRWKDWWKHH[LVWHQFHRIDQ\VHSDUDWHRUDODJUHHPHQWFRQVWLWXWLQJDFRQGLWLRQ
      SUHFHGHQWWRWKHDWWDFKLQJRIDQ\REOLJDWLRQXQGHUDQ\VXFKFRQWUDFWJUDQWRUGLVSRVLWLRQ
      RISURSHUW\PD\EHSURYHG
            3URYLGHGDOVRWKDWWKHH[LVWHQFHRIDQ\GLVWLQFWVXEVHTXHQWRUDODJUHHPHQWWRUHVFLQG
      RUPRGLI\DQ\VXFKFRQWUDFWJUDQWRUGLVSRVLWLRQRISURSHUW\PD\EHSURYHGH[FHSWLQ
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                FDVHVLQZKLFKVXFKFRQWUDFWJUDQWRUGLVSRVLWLRQRISURSHUW\LVE\ODZUHTXLUHGWREHLQ
                ZULWLQJRUKDVEHHQUHJLVWHUHGDFFRUGLQJWRWKHODZLQIRUFHIRUWKHWLPHEHLQJDVWRWKH
                UHJLVWUDWLRQRIGRFXPHQWV
                      3URYLGHGDOVRWKDWDQ\XVDJHRUFXVWRPE\ZKLFKLQFLGHQWVQRWH[SUHVVO\PHQWLRQHG
                LQDQ\FRQWUDFWDUHXVXDOO\DQQH[HGWRFRQWUDFWVRIWKDWGHVFULSWLRQPD\EHSURYHG
                     3URYLGHG DOVR WKDW WKH DQQH[LQJ RI VXFK LQFLGHQW ZRXOG QRW EH UHSXJQDQW WR RU
                LQFRQVLVWHQWZLWKWKHH[SUHVVWHUPVRIWKHFRQWUDFW
                      3URYLGHGDOVRWKDWDQ\IDFWPD\EHSURYHGZKLFKVKRZVLQZKDWPDQQHUWKHODQJXDJH
                RIDGRFXPHQWLVUHODWHGWRH[LVWLQJIDFWV

                                                        Illustrations.
                       a $ SROLF\ RI LQVXUDQFH LV HIIHFWHG RQ JRRGV LQ VKLSV IURP .RONDWD WR
                9LVDNKDSDWQDP7KHJRRGVDUHVKLSSHGLQDSDUWLFXODUVKLSZKLFKLVORVW7KHIDFWWKDW
                SDUWLFXODUVKLSZDVRUDOO\H[FHSWHGIURPWKHSROLF\FDQQRWEHSURYHG
                       b $ DJUHHV DEVROXWHO\ LQ ZULWLQJ WR SD\ % RQH WKRXVDQG UXSHHV RQ WKH
                VW0DUFK7KHIDFWWKDWDWWKHVDPHWLPHDQRUDODJUHHPHQWZDVPDGHWKDWWKHPRQH\
                VKRXOGQRWEHSDLGWLOOWKHVW0DUFKFDQQRWEHSURYHG
                       c $QHVWDWHFDOOHGWKH5DPSXUWHDHVWDWHLVVROGE\DGHHGZKLFKFRQWDLQVDPDS
                RIWKHSURSHUW\VROG7KHIDFWWKDWODQGQRWLQFOXGHGLQWKHPDSKDGDOZD\VEHHQUHJDUGHG
                DVSDUWRIWKHHVWDWHDQGZDVPHDQWWRSDVVE\WKHGHHGFDQQRWEHSURYHG
                       d $HQWHUVLQWRDZULWWHQFRQWUDFWZLWK%WRZRUNFHUWDLQPLQHVWKHSURSHUW\RI%
                XSRQFHUWDLQWHUPV$ZDVLQGXFHGWRGRVRE\DPLVUHSUHVHQWDWLRQRI% VDVWRWKHLUYDOXH
                7KLVIDFWPD\EHSURYHG
                       e $LQVWLWXWHVDVXLWDJDLQVW%IRUWKHVSHFLILFSHUIRUPDQFHRIDFRQWUDFWDQGDOVR
                SUD\VWKDWWKHFRQWUDFWPD\EHUHIRUPHGDVWRRQHRILWVSURYLVLRQVDVWKDWSURYLVLRQZDV
                LQVHUWHGLQLWE\PLVWDNH$PD\SURYHWKDWVXFKDPLVWDNHZDVPDGHDVZRXOGE\ODZHQWLWOH
                KLPWRKDYHWKHFRQWUDFWUHIRUPHG
                       f $RUGHUVJRRGVRI%E\DOHWWHULQZKLFKQRWKLQJLVVDLGDVWRWKHWLPHRISD\PHQW
                DQGDFFHSWVWKHJRRGVRQGHOLYHU\%VXHV$IRUWKHSULFH$PD\VKRZWKDWWKHJRRGVZHUH
                VXSSOLHGRQFUHGLWIRUDWHUPVWLOOXQH[SLUHG
                       g $VHOOV%DKRUVHDQGYHUEDOO\ZDUUDQWVKLPVRXQG$JLYHV%DSDSHULQWKHVH
                ZRUGV²%RXJKWRI$DKRUVHIRUWKLUW\WKRXVDQGUXSHHV%PD\SURYHWKHYHUEDOZDUUDQW\
                       h $KLUHVORGJLQJVRI%DQGJLYHV%DFDUGRQZKLFKLVZULWWHQ²5RRPVWHQ
                WKRXVDQG UXSHHV D PRQWK $ PD\ SURYH D YHUEDO DJUHHPHQW WKDW WKHVH WHUPV ZHUH WR
                LQFOXGHSDUWLDOERDUG$KLUHVORGJLQJRI%IRUD\HDUDQGDUHJXODUO\VWDPSHGDJUHHPHQW
                GUDZQXSE\DQDGYRFDWHLVPDGHEHWZHHQWKHP,WLVVLOHQWRQWKHVXEMHFWRIERDUG$PD\
                QRWSURYHWKDWERDUGZDVLQFOXGHGLQWKHWHUPYHUEDOO\
                       i $DSSOLHVWR%IRUDGHEWGXHWR$E\VHQGLQJDUHFHLSWIRUWKHPRQH\%NHHSVWKH
                UHFHLSWDQGGRHVQRWVHQGWKHPRQH\,QDVXLWIRUWKHDPRXQW$PD\SURYHWKLV
                      j $DQG%PDNHDFRQWUDFWLQZULWLQJWRWDNHHIIHFWXSRQWKHKDSSHQLQJRIDFHUWDLQ
                FRQWLQJHQF\7KHZULWLQJLVOHIWZLWK%ZKRVXHV$XSRQLW$PD\VKRZWKHFLUFXPVWDQFHV
                XQGHUZKLFKLWZDVGHOLYHUHG
([FOXVLRQ RI        96. :KHQWKHODQJXDJHXVHGLQDGRFXPHQWLVRQLWVIDFHDPELJXRXVRUGHIHFWLYH
HYLGHQFH WR    HYLGHQFHPD\QRWEHJLYHQRIIDFWVZKLFKZRXOGVKRZLWVPHDQLQJRUVXSSO\LWVGHIHFWV
H[SODLQ RU
DPHQG
DPELJXRXV
GRFXPHQW                                               Illustrations.
                      a $DJUHHVLQZULWLQJWRVHOODKRUVHWR%IRURQHODNKUXSHHVRURQHODNKILIW\
                WKRXVDQGUXSHHV(YLGHQFHFDQQRWEHJLYHQWRVKRZZKLFKSULFHZDVWREHJLYHQ
                      b $GHHGFRQWDLQVEODQNV(YLGHQFHFDQQRWEHJLYHQRIIDFWVZKLFKZRXOGVKRZ
                KRZWKH\ZHUHPHDQWWREHILOOHG
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                       97. :KHQODQJXDJHXVHGLQDGRFXPHQWLVSODLQLQLWVHOIDQGZKHQLWDSSOLHVDFFXUDWHO\          ([FOXVLRQ RI
                WRH[LVWLQJIDFWVHYLGHQFHPD\QRWEHJLYHQWRVKRZWKDWLWZDVQRWPHDQWWRDSSO\WRVXFK             HYLGHQFH
                                                                                                                        DJDLQVW
                IDFWV                                                                                                  DSSOLFDWLRQ RI
                                                                                                                        GRFXPHQW WR
                                                           Illustration.                                                H[LVWLQJ IDFWV
                       $VHOOVWR%E\GHHGP\HVWDWHDW5DPSXUFRQWDLQLQJRQHKXQGUHGbighas$KDVDQ
                HVWDWHDW5DPSXUFRQWDLQLQJRQHKXQGUHGbighas(YLGHQFHPD\QRWEHJLYHQRIWKHIDFW
                WKDWWKHHVWDWHPHDQWWREHVROGZDVRQHVLWXDWHGDWDGLIIHUHQWSODFHDQGRIDGLIIHUHQWVL]H
                      98. :KHQODQJXDJHXVHGLQDGRFXPHQWLVSODLQLQLWVHOIEXWLVXQPHDQLQJLQUHIHUHQFH            (YLGHQFH DV WR
                WRH[LVWLQJIDFWVHYLGHQFHPD\EHJLYHQWRVKRZWKDWLWZDVXVHGLQDSHFXOLDUVHQVH                  GRFXPHQW
                                                                                                                        XQPHDQLQJ LQ
                                                           Illustration.                                                UHIHUHQFH WR
                                                                                                                        H[LVWLQJ IDFWV
                     $ VHOOV WR % E\ GHHG P\ KRXVH LQ .RONDWD$ KDG QR KRXVH LQ .RONDWD EXW LW
                DSSHDUV WKDW KH KDG D KRXVH DW +RZUDK RI ZKLFK % KDG EHHQ LQ SRVVHVVLRQ VLQFH WKH
                H[HFXWLRQ RI WKH GHHG 7KHVH IDFWV PD\ EH SURYHG WR VKRZ WKDW WKH GHHG UHODWHG WR WKH
                KRXVHDW+RZUDK
                      99. :KHQWKHIDFWVDUHVXFKWKDWWKHODQJXDJHXVHGPLJKWKDYHEHHQPHDQWWRDSSO\                 (YLGHQFH DV WR
                WRDQ\RQHDQGFRXOGQRWKDYHEHHQPHDQWWRDSSO\WRPRUHWKDQRQHRIVHYHUDOSHUVRQVRU              DSSOLFDWLRQ RI
                                                                                                                        ODQJXDJH ZKLFK
                WKLQJVHYLGHQFHPD\EHJLYHQRIIDFWVZKLFKVKRZZKLFKRIWKRVHSHUVRQVRUWKLQJVLWZDV               FDQ DSSO\ WR
                LQWHQGHGWRDSSO\WR                                                                                   RQH RQO\ RI
                                                                                                                        VHYHUDO SHUVRQV
                                                           Illustrations.
                       a $DJUHHVWRVHOOWR%IRURQHWKRXVDQGUXSHHVP\ZKLWHKRUVH$KDVWZRZKLWH
                KRUVHV(YLGHQFHPD\EHJLYHQRIIDFWVZKLFKVKRZZKLFKRIWKHPZDVPHDQW
                      b $DJUHHVWRDFFRPSDQ\%WR5DPJDUK(YLGHQFHPD\EHJLYHQRIIDFWVVKRZLQJ
                ZKHWKHU5DPJDUKLQ5DMDVWKDQRU5DPJDUKLQ8WWDUDNKDQGZDVPHDQW
                     100. :KHQWKHODQJXDJHXVHGDSSOLHVSDUWO\WRRQHVHWRIH[LVWLQJIDFWVDQGSDUWO\WR             (YLGHQFH DV WR
                DQRWKHUVHWRIH[LVWLQJIDFWVEXWWKHZKROHRILWGRHVQRWDSSO\FRUUHFWO\WRHLWKHUHYLGHQFH         DSSOLFDWLRQ RI
                                                                                                                        ODQJXDJH WR RQH
                PD\EHJLYHQWRVKRZWRZKLFKRIWKHWZRLWZDVPHDQWWRDSSO\                                         RI WZR VHWV RI
                                                                                                                        IDFWV WR
                                                           Illustration.                                                QHLWKHU RI
                      $DJUHHVWRVHOOWR%P\ODQGDW;LQWKHRFFXSDWLRQRI<$KDVODQGDW;EXWQRW            ZKLFK WKH
                                                                                                                        ZKROH FRUUHFWO\
                LQWKHRFFXSDWLRQRI<DQGKHKDVODQGLQWKHRFFXSDWLRQRI<EXWLWLVQRWDW;(YLGHQFH             DSSOLHV
                PD\EHJLYHQRIIDFWVVKRZLQJZKLFKKHPHDQWWRVHOO
                       101. (YLGHQFH PD\ EH JLYHQ WR VKRZ WKH PHDQLQJ RI LOOHJLEOH RU QRW FRPPRQO\          (YLGHQFH DV WR
                LQWHOOLJLEOHFKDUDFWHUVRIIRUHLJQREVROHWHWHFKQLFDOORFDODQGUHJLRQDOH[SUHVVLRQVRI            PHDQLQJ RI
                                                                                                                        LOOHJLEOH
                DEEUHYLDWLRQVDQGRIZRUGVXVHGLQDSHFXOLDUVHQVH                                                    FKDUDFWHUV
                                                                                                                        HWF
                                                           Illustration.
                     $VFXOSWRUDJUHHVWRVHOOWR%DOOP\PRGV$KDVERWKPRGHOVDQGPRGHOOLQJWRROV
                (YLGHQFHPD\EHJLYHQWRVKRZZKLFKKHPHDQWWRVHOO
                      102. 3HUVRQVZKRDUHQRWSDUWLHVWRDGRFXPHQWRUWKHLUUHSUHVHQWDWLYHVLQLQWHUHVW             :KR PD\
                PD\JLYHHYLGHQFHRIDQ\IDFWVWHQGLQJWRVKRZDFRQWHPSRUDQHRXVDJUHHPHQWYDU\LQJWKH                  JLYH HYLGHQFH
                                                                                                                        RI DJUHHPHQW
                WHUPVRIWKHGRFXPHQW                                                                                  YDU\LQJ WHUPV
                                                                                                                        RI GRFXPHQW
                                                           Illustration.
                      $DQG%PDNHDFRQWUDFWLQZULWLQJWKDW%VKDOOVHOO$FHUWDLQFRWWRQWREHSDLGIRURQ
                GHOLYHU\$WWKHVDPHWLPHWKH\PDNHDQRUDODJUHHPHQWWKDWWKUHHPRQWKV¶FUHGLWVKDOOEH
                JLYHQWR$7KLVFRXOGQRWEHVKRZQDVEHWZHHQ$DQG%EXWLWPLJKWEHVKRZQE\&LILW
                DIIHFWHGKLVLQWHUHVWV
                      103. 1RWKLQJLQWKLV&KDSWHUVKDOOEHWDNHQWRDIIHFWDQ\RIWKHSURYLVLRQVRIWKH                6DYLQJ RI
 RI    ,QGLDQ6XFFHVVLRQ$FWDVWRWKHFRQVWUXFWLRQRIZLOOV                                           SURYLVLRQV RI
                                                                                                                        ,QGLDQ
                                                                                                                        6XFFHVVLRQ$FW
                                                                                                                        UHODWLQJ WR
                                                                                                                        ZLOOV
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                                                                 3$57,9
                                                  352'8&7,21$1'())(&72)(9,'(1&(
                                                              &+$37(59,,
                                                         2)7+(%85'(12)3522)
%XUGHQ RI                104. :KRHYHUGHVLUHVDQ\&RXUWWRJLYHMXGJPHQWDVWRDQ\OHJDOULJKWRUOLDELOLW\
SURRI              GHSHQGHQWRQWKHH[LVWHQFHRIIDFWVZKLFKKHDVVHUWVPXVWSURYHWKDWWKRVHIDFWVH[LVWDQG
                    ZKHQDSHUVRQLVERXQGWRSURYHWKHH[LVWHQFHRIDQ\IDFWLWLVVDLGWKDWWKHEXUGHQRISURRI
                    OLHVRQWKDWSHUVRQ

                                                               Illustrations.
                          a $GHVLUHVD&RXUWWRJLYHMXGJPHQWWKDW%VKDOOEHSXQLVKHGIRUDFULPHZKLFK$
                    VD\V%KDVFRPPLWWHG$PXVWSURYHWKDW%KDVFRPPLWWHGWKHFULPH
                           b $ GHVLUHV D &RXUW WR JLYH MXGJPHQW WKDW KH LV HQWLWOHG WR FHUWDLQ ODQG LQ WKH
                    SRVVHVVLRQRI%E\UHDVRQRIIDFWVZKLFKKHDVVHUWVDQGZKLFK%GHQLHVWREHWUXH$PXVW
                    SURYHWKHH[LVWHQFHRIWKRVHIDFWV
2Q ZKRP                  105. 7KHEXUGHQRISURRILQDVXLWRUSURFHHGLQJOLHVRQWKDWSHUVRQZKRZRXOGIDLOLI
EXUGHQ RI          QRHYLGHQFHDWDOOZHUHJLYHQRQHLWKHUVLGH
SURRI OLHV
                                                               Illustrations.
                           a $VXHV%IRUODQGRIZKLFK%LVLQSRVVHVVLRQDQGZKLFKDV$DVVHUWVZDVOHIWWR
                    $E\WKHZLOORI&% VIDWKHU,IQRHYLGHQFHZHUHJLYHQRQHLWKHUVLGH%ZRXOGEHHQWLWOHGWR
                    UHWDLQKLVSRVVHVVLRQ7KHUHIRUHWKHEXUGHQRISURRILVRQ$
                           b $VXHV%IRUPRQH\GXHRQDERQG7KHH[HFXWLRQRIWKHERQGLVDGPLWWHGEXW%
                    VD\VWKDWLWZDVREWDLQHGE\IUDXGZKLFK$GHQLHV,IQRHYLGHQFHZHUHJLYHQRQHLWKHUVLGH
                    $ZRXOGVXFFHHGDVWKHERQGLVQRWGLVSXWHGDQGWKHIUDXGLVQRWSURYHG7KHUHIRUHWKH
                    EXUGHQRISURRILVRQ%
%XUGHQ RI                 106. 7KHEXUGHQRISURRIDVWRDQ\SDUWLFXODUIDFWOLHVRQWKDWSHUVRQZKRZLVKHVWKH
SURRI DV WR       &RXUWWREHOLHYHLQLWVH[LVWHQFHXQOHVVLWLVSURYLGHGE\DQ\ODZWKDWWKHSURRIRIWKDWIDFW
SDUWLFXODU IDFW
                    VKDOOOLHRQDQ\SDUWLFXODUSHUVRQ

                                                               Illustration.
                          $SURVHFXWHV%IRUWKHIWDQGZLVKHVWKH&RXUWWREHOLHYHWKDW%DGPLWWHGWKHWKHIWWR
                    &$PXVWSURYHWKHDGPLVVLRQ%ZLVKHVWKH&RXUWWREHOLHYHWKDWDWWKHWLPHLQTXHVWLRQ
                    KHZDVHOVHZKHUH+HPXVWSURYHLW
%XUGHQ RI               107. 7KHEXUGHQRISURYLQJDQ\IDFWQHFHVVDU\WREHSURYHGLQRUGHUWRHQDEOHDQ\
SURYLQJ IDFW       SHUVRQ WR JLYH HYLGHQFH RI DQ\ RWKHU IDFW LV RQ WKH SHUVRQ ZKR ZLVKHV WR JLYH VXFK
WR EH SURYHG
WR PDNH            HYLGHQFH
HYLGHQFH
DGPLVVLEOH                                                    Illustrations.
                           a $ZLVKHVWRSURYHDG\LQJGHFODUDWLRQE\%$PXVWSURYH% VGHDWK
                          b $ZLVKHVWRSURYHE\VHFRQGDU\HYLGHQFHWKHFRQWHQWVRIDORVWGRFXPHQW$
                    PXVWSURYHWKDWWKHGRFXPHQWKDVEHHQORVW
%XUGHQ RI                108. :KHQDSHUVRQLVDFFXVHGRIDQ\RIIHQFHWKHEXUGHQRISURYLQJWKHH[LVWHQFHRI
SURYLQJ WKDW       FLUFXPVWDQFHVEULQJLQJWKHFDVHZLWKLQDQ\RIWKH*HQHUDO([FHSWLRQVLQWKH%KDUDWL\D
FDVH RI DFFXVHG
FRPHV ZLWKLQ       1\D\D6DQKLWDRUZLWKLQDQ\VSHFLDOH[FHSWLRQRUSURYLVRFRQWDLQHGLQDQ\RWKHUSDUW
H[FHSWLRQV         RIWKHVDLG6DQKLWDRULQDQ\ODZGHILQLQJWKHRIIHQFHLVXSRQKLPDQGWKH&RXUWVKDOO
                    SUHVXPHWKHDEVHQFHRIVXFKFLUFXPVWDQFHV
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                                               Illustrations.
            a $DFFXVHGRIPXUGHUDOOHJHVWKDWE\UHDVRQRIXQVRXQGQHVVRIPLQGKHGLGQRW
      NQRZWKHQDWXUHRIWKHDFW7KHEXUGHQRISURRILVRQ$
            b $DFFXVHGRIPXUGHUDOOHJHVWKDWE\JUDYHDQGVXGGHQSURYRFDWLRQKHZDV
      GHSULYHGRIWKHSRZHURIVHOIFRQWURO7KHEXUGHQRISURRILVRQ$
             c 6HFWLRQRIWKH%KDUDWL\D1\D\D6DQKLWDSURYLGHVWKDWZKRHYHUH[FHSWLQ
      WKHFDVHSURYLGHGIRUE\VXEVHFWLRQ 2 RIVHFWLRQYROXQWDULO\FDXVHVJULHYRXVKXUW
      VKDOOEHVXEMHFWWRFHUWDLQSXQLVKPHQWV$LVFKDUJHGZLWKYROXQWDULO\FDXVLQJJULHYRXVKXUW
      XQGHU VHFWLRQ  7KH EXUGHQ RI SURYLQJ WKH FLUFXPVWDQFHV EULQJLQJ WKH FDVH XQGHU
      VXEVHFWLRQ 2 RIVHFWLRQOLHVRQ$
            109. :KHQDQ\IDFWLVHVSHFLDOO\ZLWKLQWKHNQRZOHGJHRIDQ\SHUVRQWKHEXUGHQRI             %XUGHQ RI
      SURYLQJWKDWIDFWLVXSRQKLP                                                                       SURYLQJ IDFW
                                                                                                           HVSHFLDOO\
                                                                                                           ZLWKLQ
                                               Illustrations.                                              NQRZOHGJH
             a :KHQDSHUVRQGRHVDQDFWZLWKVRPHLQWHQWLRQRWKHUWKDQWKDWZKLFKWKHFKDUDFWHU
      DQGFLUFXPVWDQFHVRIWKHDFWVXJJHVWWKHEXUGHQRISURYLQJWKDWLQWHQWLRQLVXSRQKLP
             b $LVFKDUJHGZLWKWUDYHOOLQJRQDUDLOZD\ZLWKRXWDWLFNHW7KHEXUGHQRISURYLQJ
      WKDWKHKDGDWLFNHWLVRQKLP
            110. :KHQWKHTXHVWLRQLVZKHWKHUDPDQLVDOLYHRUGHDGDQGLWLVVKRZQWKDWKHZDV          %XUGHQ RI
      DOLYHZLWKLQWKLUW\\HDUVWKHEXUGHQRISURYLQJWKDWKHLVGHDGLVRQWKHSHUVRQZKRDIILUPV        SURYLQJ GHDWK
                                                                                                           RI SHUVRQ
      LW
                                                                                                           NQRZQ WR
                                                                                                           KDYH EHHQ
                                                                                                           DOLYH ZLWKLQ
                                                                                                           WKLUW\ \HDUV

            111.:KHQWKHTXHVWLRQLVZKHWKHUDPDQLVDOLYHRUGHDGDQGLWLVSURYHGWKDWKHKDV         %XUGHQ RI
      QRWEHHQKHDUGRIIRUVHYHQ\HDUVE\WKRVHZKRZRXOGQDWXUDOO\KDYHKHDUGRIKLPLIKHKDG           SURYLQJ WKDW
                                                                                                           SHUVRQ LV DOLYH
      EHHQDOLYHWKHEXUGHQRISURYLQJWKDWKHLVDOLYHLVVKLIWHGWRWKHSHUVRQZKRDIILUPVLW          ZKR KDV QRW
                                                                                                           EHHQ KHDUG RI
                                                                                                           IRU VHYHQ
                                                                                                           \HDUV

             112. :KHQ WKH TXHVWLRQ LV ZKHWKHU SHUVRQV DUH SDUWQHUV ODQGORUG DQG WHQDQW RU    %XUGHQ RI
      SULQFLSDODQGDJHQWDQGLWKDVEHHQVKRZQWKDWWKH\KDYHEHHQDFWLQJDVVXFKWKHEXUGHQ            SURRI DV WR
                                                                                                           UHODWLRQVKLS LQ
      RI SURYLQJ WKDW WKH\ GR QRW VWDQG RU KDYH FHDVHG WR VWDQG WR HDFK RWKHU LQ WKRVH   WKH FDVHV RI
      UHODWLRQVKLSVUHVSHFWLYHO\LVRQWKHSHUVRQZKRDIILUPVLW                                         SDUWQHUV
                                                                                                           ODQGORUG DQG
                                                                                                           WHQDQW
                                                                                                           SULQFLSDO DQG
                                                                                                           DJHQW

           113. :KHQWKHTXHVWLRQLVZKHWKHUDQ\SHUVRQLVRZQHURIDQ\WKLQJRIZKLFKKHLV                %XUGHQ RI
      VKRZQWREHLQSRVVHVVLRQWKHEXUGHQRISURYLQJWKDWKHLVQRWWKHRZQHULVRQWKHSHUVRQ           SURRI DV WR
                                                                                                           RZQHUVKLS
      ZKRDIILUPVWKDWKHLVQRWWKHRZQHU
            114. :KHUHWKHUHLVDTXHVWLRQDVWRWKHJRRGIDLWKRIDWUDQVDFWLRQEHWZHHQSDUWLHV          3URRI RI JRRG
      RQHRIZKRPVWDQGVWRWKHRWKHULQDSRVLWLRQRIDFWLYHFRQILGHQFHWKHEXUGHQRISURYLQJ            IDLWK LQ
                                                                                                           WUDQVDFWLRQV
      WKHJRRGIDLWKRIWKHWUDQVDFWLRQLVRQWKHSDUW\ZKRLVLQDSRVLWLRQRIDFWLYHFRQILGHQFH         ZKHUH RQH
                                                                                                           SDUW\ LV LQ
                                               Illustrations.                                              UHODWLRQ RI
                                                                                                           DFWLYH
             a 7KHJRRGIDLWKRIDVDOHE\DFOLHQWWRDQDGYRFDWHLVLQTXHVWLRQLQDVXLWEURXJKW        FRQILGHQFH
      E\WKHFOLHQW7KHEXUGHQRISURYLQJWKHJRRGIDLWKRIWKHWUDQVDFWLRQLVRQWKHDGYRFDWH
            b 7KHJRRGIDLWKRIDVDOHE\DVRQMXVWFRPHRIDJHWRDIDWKHULVLQTXHVWLRQLQDVXLW
      EURXJKWE\WKHVRQ7KHEXUGHQRISURYLQJWKHJRRGIDLWKRIWKHWUDQVDFWLRQLVRQWKHIDWKHU
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3UHVXPSWLRQ              115. 1 :KHUHDSHUVRQLVDFFXVHGRIKDYLQJFRPPLWWHGDQ\RIIHQFHVSHFLILHGLQ
DV WR FHUWDLQ    VXEVHFWLRQ 2 LQ²
RIIHQFHV
                                a DQ\DUHDGHFODUHGWREHDGLVWXUEHGDUHDXQGHUDQ\HQDFWPHQWIRUWKHWLPH
                         EHLQJLQIRUFHPDNLQJSURYLVLRQIRUWKHVXSSUHVVLRQRIGLVRUGHUDQGUHVWRUDWLRQDQG
                         PDLQWHQDQFHRISXEOLFRUGHURU
                                b DQ\DUHDLQZKLFKWKHUHKDVEHHQRYHUDSHULRGRIPRUHWKDQRQHPRQWK
                         H[WHQVLYHGLVWXUEDQFHRIWKHSXEOLFSHDFH
                   DQGLWLVVKRZQWKDWVXFKSHUVRQKDGEHHQDWDSODFHLQVXFKDUHDDWDWLPHZKHQILUHDUPVRU
                   H[SORVLYHVZHUHXVHGDWRUIURPWKDWSODFHWRDWWDFNRUUHVLVWWKHPHPEHUVRIDQ\DUPHG
                   IRUFHVRUWKHIRUFHVFKDUJHGZLWKWKHPDLQWHQDQFHRISXEOLFRUGHUDFWLQJLQWKHGLVFKDUJHRI
                   WKHLU GXWLHV LW VKDOO EH SUHVXPHG XQOHVV WKH FRQWUDU\ LV VKRZQ WKDW VXFK SHUVRQ KDG
                   FRPPLWWHGVXFKRIIHQFH
                          2 7KHRIIHQFHVUHIHUUHGWRLQVXEVHFWLRQ 1 DUHWKHIROORZLQJQDPHO\²
                               a DQRIIHQFHXQGHUVHFWLRQVHFWLRQVHFWLRQRUVHFWLRQRIWKH
                         %KDUDWL\D1\D\D6DQKLWD
                                b FULPLQDOFRQVSLUDF\RUDWWHPSWWRFRPPLWRUDEHWPHQWRIDQRIIHQFHXQGHU
                         VHFWLRQRUVHFWLRQRIWKH%KDUDWL\D1\D\D6DQKLWD
%LUWK GXULQJ            116. 7KHIDFWWKDWDQ\SHUVRQZDVERUQGXULQJWKHFRQWLQXDQFHRIDYDOLGPDUULDJH
PDUULDJH          EHWZHHQKLVPRWKHUDQGDQ\PDQRUZLWKLQWZRKXQGUHGDQGHLJKW\GD\VDIWHULWVGLVVROXWLRQ
FRQFOXVLYH
                   WKHPRWKHUUHPDLQLQJXQPDUULHGVKDOOEHFRQFOXVLYHSURRIWKDWKHLVWKHOHJLWLPDWHFKLOGRI
SURRI RI
OHJLWLPDF\        WKDWPDQXQOHVVLWFDQEHVKRZQWKDWWKHSDUWLHVWRWKHPDUULDJHKDGQRDFFHVVWRHDFKRWKHU
                   DWDQ\WLPHZKHQKHFRXOGKDYHEHHQEHJRWWHQ
3UHVXPSWLRQ              117. :KHQWKHTXHVWLRQLVZKHWKHUWKHFRPPLVVLRQRIVXLFLGHE\DZRPDQKDGEHHQ
DV WR DEHWPHQW   DEHWWHG E\ KHU KXVEDQG RU DQ\ UHODWLYH RI KHU KXVEDQG DQG LW LV VKRZQ WKDW VKH KDG
RIVXLFLGHE\D
                   FRPPLWWHGVXLFLGHZLWKLQDSHULRGRIVHYHQ\HDUVIURPWKHGDWHRIKHUPDUULDJHDQGWKDWKHU
PDUULHG
ZRPDQ             KXVEDQG RU VXFK UHODWLYH RI KHU KXVEDQG KDG VXEMHFWHG KHU WR FUXHOW\ WKH &RXUW PD\
                   SUHVXPHKDYLQJUHJDUGWRDOOWKHRWKHUFLUFXPVWDQFHVRIWKHFDVHWKDWVXFKVXLFLGHKDG
                   EHHQDEHWWHGE\KHUKXVEDQGRUE\VXFKUHODWLYHRIKHUKXVEDQG
                          Explanation.²)RUWKHSXUSRVHVRIWKLVVHFWLRQFUXHOW\VKDOOKDYHWKHVDPHPHDQLQJ
                   DVLQVHFWLRQRIWKH%KDUDWL\D1\D\D6DQKLWD
3UHVXPSWLRQ              118. :KHQWKHTXHVWLRQLVZKHWKHUDSHUVRQKDVFRPPLWWHGWKHGRZU\GHDWKRID
DV WR GRZU\      ZRPDQDQGLWLVVKRZQWKDWVRRQEHIRUHKHUGHDWKVXFKZRPDQKDGEHHQVXEMHFWHGE\
GHDWK
                   VXFKSHUVRQWRFUXHOW\RUKDUDVVPHQWIRURULQFRQQHFWLRQZLWKDQ\GHPDQGIRUGRZU\WKH
                   &RXUWVKDOOSUHVXPHWKDWVXFKSHUVRQKDGFDXVHGWKHGRZU\GHDWK
                        Explanation.²)RUWKHSXUSRVHVRIWKLVVHFWLRQGRZU\GHDWKVKDOOKDYHWKHVDPH
                   PHDQLQJDVLQVHFWLRQRIWKH%KDUDWL\D1\D\D6DQKLWD
&RXUW PD\               119. 1 7KH&RXUWPD\SUHVXPHWKHH[LVWHQFHRIDQ\IDFWZKLFKLWWKLQNVOLNHO\WRKDYH
SUHVXPH            KDSSHQHGUHJDUGEHLQJKDGWRWKHFRPPRQFRXUVHRIQDWXUDOHYHQWVKXPDQFRQGXFWDQG
H[LVWHQFH RI      SXEOLFDQGSULYDWHEXVLQHVVLQWKHLUUHODWLRQWRWKHIDFWVRIWKHSDUWLFXODUFDVH
FHUWDLQ IDFWV

                                                             Illustrations.
                         7KH&RXUWPD\SUHVXPHWKDW²

                                a DPDQZKRLVLQSRVVHVVLRQRIVWROHQJRRGVVRRQDIWHUWKHWKHIWLVHLWKHUWKH
                         WKLHIRUKDVUHFHLYHGWKHJRRGVNQRZLQJWKHPWREHVWROHQXQOHVVKHFDQDFFRXQWIRU
                         KLV SRVVHVVLRQ
                                b DQDFFRPSOLFHLVXQZRUWK\RIFUHGLWXQOHVVKHLVFRUURERUDWHGLQPDWHULDO
                         SDUWLFXODUV
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                  c DELOORIH[FKDQJHDFFHSWHGRUHQGRUVHGZDVDFFHSWHGRUHQGRUVHGIRUJRRG
            FRQVLGHUDWLRQ
                    d DWKLQJRUVWDWHRIWKLQJVZKLFKKDVEHHQVKRZQWREHLQH[LVWHQFHZLWKLQD
            SHULRGVKRUWHUWKDQWKDWZLWKLQZKLFKVXFKWKLQJVRUVWDWHRIWKLQJVXVXDOO\FHDVHWR
            H[LVWLVVWLOOLQH[LVWHQFH
                    e MXGLFLDODQGRIILFLDODFWVKDYHEHHQUHJXODUO\SHUIRUPHG
                  f WKHFRPPRQFRXUVHRIEXVLQHVVKDVEHHQIROORZHGLQSDUWLFXODUFDVHV
                  g HYLGHQFH ZKLFK FRXOG EH DQG LV QRW SURGXFHG ZRXOG LI SURGXFHG EH
            XQIDYRXUDEOHWRWKHSHUVRQZKRZLWKKROGVLW
                   h LIDPDQUHIXVHVWRDQVZHUDTXHVWLRQZKLFKKHLVQRWFRPSHOOHGWRDQVZHU
            E\ODZWKHDQVZHULIJLYHQZRXOGEHXQIDYRXUDEOHWRKLP
                   i ZKHQDGRFXPHQWFUHDWLQJDQREOLJDWLRQLVLQWKHKDQGVRIWKHREOLJRUWKH
            REOLJDWLRQKDVEHHQGLVFKDUJHG
            2 7KH&RXUWVKDOODOVRKDYHUHJDUGWRVXFKIDFWVDVWKHIROORZLQJLQFRQVLGHULQJ
      ZKHWKHUVXFKPD[LPVGRRUGRQRWDSSO\WRWKHSDUWLFXODUFDVHEHIRUHLW²
                  i DVWRIllustration a ²DVKRSNHHSHUKDVLQKLVELOODPDUNHGUXSHHVRRQDIWHU
           LWZDVVWROHQDQGFDQQRWDFFRXQWIRULWVSRVVHVVLRQVSHFLILFDOO\EXWLVFRQWLQXDOO\
           UHFHLYLQJUXSHHVLQWKHFRXUVHRIKLVEXVLQHVV
                   ii DV WR Illustration b ²$ D SHUVRQ RI WKH KLJKHVW FKDUDFWHU LV WULHG IRU
            FDXVLQJDPDQ VGHDWKE\DQDFWRIQHJOLJHQFHLQDUUDQJLQJFHUWDLQPDFKLQHU\%D
            SHUVRQRIHTXDOO\JRRGFKDUDFWHUZKRDOVRWRRNSDUWLQWKHDUUDQJHPHQWGHVFULEHV
            SUHFLVHO\ZKDWZDVGRQHDQGDGPLWVDQGH[SODLQVWKHFRPPRQFDUHOHVVQHVVRI$DQG
            KLPVHOI
                   iii DVWRIllustration b —DFULPHLVFRPPLWWHGE\VHYHUDOSHUVRQV$%DQG&
            WKUHHRIWKHFULPLQDOVDUHFDSWXUHGRQWKHVSRWDQGNHSWDSDUWIURPHDFKRWKHU(DFK
            JLYHVDQDFFRXQWRIWKHFULPHLPSOLFDWLQJ'DQGWKHDFFRXQWVFRUURERUDWHHDFKRWKHU
            LQVXFKDPDQQHUDVWRUHQGHUSUHYLRXVFRQFHUWKLJKO\LPSUREDEOH
                   iv DVWR Illustration c —$WKHGUDZHURIDELOORIH[FKDQJHZDVDPDQRI
            EXVLQHVV%WKHDFFHSWRUZDVD\RXQJDQGLJQRUDQWSHUVRQFRPSOHWHO\XQGHU$ V
            LQIOXHQFH
                   v DVWRIllustration d —LWLVSURYHGWKDWDULYHUUDQLQDFHUWDLQFRXUVHILYH
            \HDUVDJREXWLWLVNQRZQWKDWWKHUHKDYHEHHQIORRGVVLQFHWKDWWLPHZKLFKPLJKW
            FKDQJHLWVFRXUVH
                   vi DVWR Illustration e —DMXGLFLDODFWWKHUHJXODULW\RIZKLFKLVLQTXHVWLRQ
            ZDVSHUIRUPHGXQGHUH[FHSWLRQDOFLUFXPVWDQFHV
                   vii DVWRIllustration f —WKHTXHVWLRQLVZKHWKHUDOHWWHUZDVUHFHLYHG,WLV
            VKRZQ WR KDYH EHHQ SRVWHG EXW WKH XVXDO FRXUVH RI WKH SRVW ZDV LQWHUUXSWHG E\
            GLVWXUEDQFHV
                    viii DVWR Illustration g —DPDQUHIXVHVWRSURGXFHDGRFXPHQWZKLFKZRXOG
            EHDURQDFRQWUDFWRIVPDOOLPSRUWDQFHRQZKLFKKHLVVXHGEXWZKLFKPLJKWDOVR
            LQMXUHWKHIHHOLQJVDQGUHSXWDWLRQRIKLVIDPLO\
                    ix DVWRIllustration h —DPDQUHIXVHVWRDQVZHUDTXHVWLRQZKLFKKHLVQRW
            FRPSHOOHGE\ODZWRDQVZHUEXWWKHDQVZHUWRLWPLJKWFDXVHORVVWRKLPLQPDWWHUV
            XQFRQQHFWHGZLWKWKHPDWWHULQUHODWLRQWRZKLFKLWLVDVNHG
                   x DV WR Illustration i —D ERQG LV LQ SRVVHVVLRQ RI WKH REOLJRU EXW WKH
           FLUFXPVWDQFHVRIWKHFDVHDUHVXFKWKDWKHPD\KDYHVWROHQLW
           120. ,QDSURVHFXWLRQIRUUDSHXQGHUVXEVHFWLRQ 2 RIVHFWLRQRIWKH%KDUDWL\D             3UHVXPSWLRQ
      1\D\D6DQKLWD ZKHUHVH[XDOLQWHUFRXUVHE\WKHDFFXVHGLVSURYHGDQGWKHTXHVWLRQ             DV WR DEVHQFH
                                                                                                           RI FRQVHQW LQ
      LVZKHWKHULWZDVZLWKRXWWKHFRQVHQWRIWKHZRPDQDOOHJHGWRKDYHEHHQUDSHGDQGVXFK               FHUWDLQ
      ZRPDQVWDWHVLQKHUHYLGHQFHEHIRUHWKH&RXUWWKDWVKHGLGQRWFRQVHQWWKH&RXUWVKDOO              SURVHFXWLRQ
      SUHVXPHWKDWVKHGLGQRWFRQVHQW                                                                    IRU UDSH
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                       Explanation.²,Q WKLV VHFWLRQ VH[XDO LQWHUFRXUVH VKDOO PHDQ DQ\ RI WKH DFWV
                  PHQWLRQHGLQVHFWLRQRIWKH%KDUDWL\D1\D\D6DQKLWD
                                                          &+$37(59,,,

                                                              (67233(/

(VWRSSHO               121. :KHQRQHSHUVRQKDVE\KLVGHFODUDWLRQDFWRURPLVVLRQLQWHQWLRQDOO\FDXVHG
                  RUSHUPLWWHGDQRWKHUSHUVRQWREHOLHYHDWKLQJWREHWUXHDQGWRDFWXSRQVXFKEHOLHIQHLWKHU
                  KHQRUKLVUHSUHVHQWDWLYHVKDOOEHDOORZHGLQDQ\VXLWRUSURFHHGLQJEHWZHHQKLPVHOIDQG
                  VXFKSHUVRQRUKLVUHSUHVHQWDWLYHWRGHQ\WKHWUXWKRIWKDWWKLQJ

                                                            Illustration.

                        $LQWHQWLRQDOO\DQGIDOVHO\OHDGV%WREHOLHYHWKDWFHUWDLQODQGEHORQJVWR$DQG
                  WKHUHE\LQGXFHV%WREX\DQGSD\IRULW7KHODQGDIWHUZDUGVEHFRPHVWKHSURSHUW\RI$
                  DQG$VHHNVWRVHWDVLGHWKHVDOHRQWKHJURXQGWKDWDWWKHWLPHRIWKHVDOHKHKDGQRWLWOH
                  +HPXVWQRWEHDOORZHGWRSURYHKLVZDQWRIWLWOH

(VWRSSHO RI            122. 1RWHQDQWRILPPRYDEOHSURSHUW\RUSHUVRQFODLPLQJWKURXJKVXFKWHQDQWVKDOO
WHQDQW DQG RI   GXULQJWKHFRQWLQXDQFHRIWKHWHQDQF\RUDQ\WLPHWKHUHDIWHUEHSHUPLWWHGWRGHQ\WKDWWKH
OLFHQVHH RI
SHUVRQ LQ        ODQGORUGRIVXFKWHQDQWKDGDWWKHEHJLQQLQJRIWKHWHQDQF\DWLWOHWRVXFKLPPRYDEOH
SRVVHVVLRQ       SURSHUW\DQGQRSHUVRQZKRFDPHXSRQDQ\LPPRYDEOHSURSHUW\E\WKHOLFHQFHRIWKH
                  SHUVRQLQSRVVHVVLRQWKHUHRIVKDOOEHSHUPLWWHGWRGHQ\WKDWVXFKSHUVRQKDGDWLWOHWRVXFK
                  SRVVHVVLRQDWWKHWLPHZKHQVXFKOLFHQFHZDVJLYHQ

(VWRSSHO RI            123. 1RDFFHSWRURIDELOORIH[FKDQJHVKDOOEHSHUPLWWHGWRGHQ\WKDWWKHGUDZHUKDG
DFFHSWRU RI      DXWKRULW\WRGUDZVXFKELOORUWRHQGRUVHLWQRUVKDOODQ\EDLOHHRUOLFHQVHHEHSHUPLWWHGWR
ELOO RI
H[FKDQJH
                  GHQ\WKDWKLVEDLORURUOLFHQVRUKDGDWWKHWLPHZKHQWKHEDLOPHQWRUOLFHQFHFRPPHQFHG
EDLOHH RU        DXWKRULW\WRPDNHVXFKEDLOPHQWRUJUDQWVXFKOLFHQFH
OLFHQVHH
                       Explanation²7KHDFFHSWRURIDELOORIH[FKDQJHPD\GHQ\WKDWWKHELOOZDVUHDOO\
                  GUDZQE\WKHSHUVRQE\ZKRPLWSXUSRUWVWRKDYHEHHQGUDZQ

                        Explanation ²,I D EDLOHH GHOLYHUV WKH JRRGV EDLOHG WR D SHUVRQ RWKHU WKDQ WKH
                  EDLORUKHPD\SURYHWKDWVXFKSHUVRQKDGDULJKWWRWKHPDVDJDLQVWWKHEDLORU

                                                           &+$37(5,;

                                                           2):,71(66(6

:KR PD\                124. $OOSHUVRQVVKDOOEHFRPSHWHQWWRWHVWLI\XQOHVVWKH&RXUWFRQVLGHUVWKDWWKH\
WHVWLI\          DUHSUHYHQWHGIURPXQGHUVWDQGLQJWKHTXHVWLRQVSXWWRWKHPRUIURPJLYLQJUDWLRQDODQVZHUV
                  WRWKRVHTXHVWLRQVE\WHQGHU\HDUVH[WUHPHROGDJHGLVHDVHZKHWKHURIERG\RUPLQGRU
                  DQ\RWKHUFDXVHRIWKHVDPHNLQG

                        Explanation.²$SHUVRQRIXQVRXQGPLQGLVQRWLQFRPSHWHQWWRWHVWLI\XQOHVVKHLV
                  SUHYHQWHGE\KLVXQVRXQGQHVVRIPLQGIURPXQGHUVWDQGLQJWKHTXHVWLRQVSXWWRKLPDQG
                  JLYLQJUDWLRQDODQVZHUVWRWKHP

:LWQHVV                 125.$ZLWQHVVZKRLVXQDEOHWRVSHDNPD\JLYHKLVHYLGHQFHLQDQ\RWKHUPDQQHULQ
XQDEOH WR        ZKLFKKHFDQPDNHLWLQWHOOLJLEOHDVE\ZULWLQJRUE\VLJQVEXWVXFKZULWLQJPXVWEHZULWWHQ
FRPPXQLFDWH
YHUEDOO\
                  DQG WKH VLJQV PDGH LQ RSHQ &RXUW DQG HYLGHQFH VR JLYHQ VKDOO EH GHHPHG WR EH RUDO
                  HYLGHQFH

                        3URYLGHGWKDWLIWKHZLWQHVVLVXQDEOHWRFRPPXQLFDWHYHUEDOO\WKH&RXUWVKDOOWDNH
                  WKHDVVLVWDQFHRIDQLQWHUSUHWHURUDVSHFLDOHGXFDWRULQUHFRUGLQJWKHVWDWHPHQWDQGVXFK
                  VWDWHPHQWVKDOOEHYLGHRJUDSKHG
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            126. 1 ,QDOOFLYLOSURFHHGLQJVWKHSDUWLHVWRWKHVXLWDQGWKHKXVEDQGRUZLIHRIDQ\             &RPSHWHQF\
      SDUW\WRWKHVXLWVKDOOEHFRPSHWHQWZLWQHVVHV                                                            RI KXVEDQG DQG
                                                                                                                  ZLIHDV
             2 ,QFULPLQDOSURFHHGLQJVDJDLQVWDQ\SHUVRQWKHKXVEDQGRUZLIHRIVXFKSHUVRQ                    ZLWQHVVHV LQ
                                                                                                                  FHUWDLQ FDVHV
      UHVSHFWLYHO\VKDOOEHDFRPSHWHQWZLWQHVV
            127. 1R-XGJHRU0DJLVWUDWHVKDOOH[FHSWXSRQWKHVSHFLDORUGHURIVRPH&RXUWWR                     -XGJHVDQG
      ZKLFKKHLVVXERUGLQDWHEHFRPSHOOHGWRDQVZHUDQ\TXHVWLRQDVWRKLVRZQFRQGXFWLQ                       0DJLVWUDWHV
      &RXUWDVVXFK-XGJHRU0DJLVWUDWHRUDVWRDQ\WKLQJZKLFKFDPHWRKLVNQRZOHGJHLQ&RXUW
      DVVXFK-XGJHRU0DJLVWUDWHEXWKHPD\EHH[DPLQHGDVWRRWKHUPDWWHUVZKLFKRFFXUUHGLQ
      KLVSUHVHQFHZKLOVWKHZDVVRDFWLQJ

                                                  Illustrations.
             a $RQKLVWULDOEHIRUHWKH&RXUWRI6HVVLRQVD\VWKDWDGHSRVLWLRQZDVLPSURSHUO\
      WDNHQE\%WKH0DJLVWUDWH%FDQQRWEHFRPSHOOHGWRDQVZHUTXHVWLRQVDVWRWKLVH[FHSW
      XSRQWKHVSHFLDORUGHURIDVXSHULRU&RXUW
             b $LVDFFXVHGEHIRUHWKH&RXUWRI6HVVLRQRIKDYLQJJLYHQIDOVHHYLGHQFHEHIRUH%
      D0DJLVWUDWH%FDQQRWEHDVNHGZKDW$VDLGH[FHSWXSRQWKHVSHFLDORUGHURIWKHVXSHULRU
      &RXUW
             c $LVDFFXVHGEHIRUHWKH&RXUWRI6HVVLRQRIDWWHPSWLQJWRPXUGHUDSROLFHRIILFHU
      ZKLOVWRQKLVWULDOEHIRUH%D6HVVLRQV-XGJH%PD\EHH[DPLQHGDVWRZKDWRFFXUUHG
            128. 1R SHUVRQ ZKR LV RU KDV EHHQ PDUULHG VKDOO EH FRPSHOOHG WR GLVFORVH DQ\            &RPPXQLFDWLRQV
      FRPPXQLFDWLRQPDGHWRKLPGXULQJPDUULDJHE\DQ\SHUVRQWRZKRPKHLVRUKDVEHHQ                           GXULQJ
                                                                                                                  PDUULDJH
      PDUULHGQRUVKDOOKHEHSHUPLWWHGWRGLVFORVHDQ\VXFKFRPPXQLFDWLRQXQOHVVWKHSHUVRQ
      ZKRPDGHLWRUKLVUHSUHVHQWDWLYHLQLQWHUHVWFRQVHQWVH[FHSWLQVXLWVEHWZHHQPDUULHG
      SHUVRQVRUSURFHHGLQJVLQZKLFKRQHPDUULHGSHUVRQLVSURVHFXWHGIRUDQ\FULPHFRPPLWWHG
      DJDLQVWWKHRWKHU
            129.1RRQHVKDOOEHSHUPLWWHGWRJLYHDQ\HYLGHQFHGHULYHGIURPXQSXEOLVKHGRIILFLDO                 (YLGHQFH DV WR
      UHFRUGVUHODWLQJWRDQ\DIIDLUVRI6WDWHH[FHSWZLWKWKHSHUPLVVLRQRIWKHRIILFHUDWWKHKHDG             DIIDLUV RI
      RIWKHGHSDUWPHQWFRQFHUQHGZKRVKDOOJLYHRUZLWKKROGVXFKSHUPLVVLRQDVKHWKLQNVILW                   6WDWH

             130.1RSXEOLFRIILFHUVKDOOEHFRPSHOOHGWRGLVFORVHFRPPXQLFDWLRQVPDGHWRKLPLQ                  2IILFLDO
      RIILFLDOFRQILGHQFHZKHQKHFRQVLGHUVWKDWWKHSXEOLFLQWHUHVWVZRXOGVXIIHUE\WKHGLVFORVXUH            FRPPXQLFDWLRQV

            131. 1R 0DJLVWUDWH RU SROLFH RIILFHU VKDOO EH FRPSHOOHG WR VD\ ZKHQ KH JRW DQ\           ,QIRUPDWLRQ
      LQIRUPDWLRQDVWRWKHFRPPLVVLRQRIDQ\RIIHQFHDQGQRUHYHQXHRIILFHUVKDOOEHFRPSHOOHG                  DV WR
                                                                                                                  FRPPLVVLRQ RI
      WRVD\ZKHQKHJRWDQ\LQIRUPDWLRQDVWRWKHFRPPLVVLRQRIDQ\RIIHQFHDJDLQVWWKHSXEOLF
                                                                                                                  RIIHQFHV
      UHYHQXH
            Explanation.²UHYHQXHRIILFHUPHDQVDQ\RIILFHUHPSOR\HGLQRUDERXWWKHEXVLQHVV
      RIDQ\EUDQFKRIWKHSXEOLFUHYHQXH
             132. 1 1RDGYRFDWHVKDOODWDQ\WLPHEHSHUPLWWHGXQOHVVZLWKKLVFOLHQW VH[SUHVV                3URIHVVLRQDO
      FRQVHQWWRGLVFORVHDQ\FRPPXQLFDWLRQPDGHWRKLPLQWKHFRXUVHDQGIRUWKHSXUSRVHRI                     FRPPXQLFDWLRQV
      KLV VHUYLFH DV VXFK DGYRFDWH E\ RU RQ EHKDOI RI KLV FOLHQW RU WR VWDWH WKH FRQWHQWV RU
      FRQGLWLRQRIDQ\GRFXPHQWZLWKZKLFKKHKDVEHFRPHDFTXDLQWHGLQWKHFRXUVHDQGIRUWKH
      SXUSRVHRIKLVSURIHVVLRQDOVHUYLFHRUWRGLVFORVHDQ\DGYLFHJLYHQE\KLPWRKLVFOLHQWLQ
      WKHFRXUVHDQGIRUWKHSXUSRVHRIVXFKVHUYLFH
            3URYLGHGWKDWQRWKLQJLQWKLVVHFWLRQVKDOOSURWHFWIURPGLVFORVXUHRI²
                    a DQ\VXFKFRPPXQLFDWLRQPDGHLQIXUWKHUDQFHRIDQ\LOOHJDOSXUSRVH
                   b DQ\IDFWREVHUYHGE\DQ\DGYRFDWHLQWKHFRXUVHRIKLVVHUYLFHDVVXFK
            VKRZLQJWKDWDQ\FULPHRUIUDXGKDVEHHQFRPPLWWHGVLQFHWKHFRPPHQFHPHQWRIKLV
            VHUYLFH
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                          2 ,WLVLPPDWHULDOZKHWKHUWKHDWWHQWLRQRIVXFKDGYRFDWHUHIHUUHGWRLQWKHSURYLVRWR
                    VXEVHFWLRQ 1 ZDVRUZDVQRWGLUHFWHGWRVXFKIDFWE\RURQEHKDOIRIKLVFOLHQW
                          Explanation.²7KHREOLJDWLRQVWDWHGLQWKLVVHFWLRQFRQWLQXHVDIWHUWKHSURIHVVLRQDO
                    VHUYLFHKDVFHDVHG

                                                              Illustrations.
                          a $DFOLHQWVD\VWR%DQDGYRFDWH²,KDYHFRPPLWWHGIRUJHU\DQG,ZLVK\RXWR
                    GHIHQGPH$VWKHGHIHQFHRIDPDQNQRZQWREHJXLOW\LVQRWDFULPLQDOSXUSRVHWKLV
                    FRPPXQLFDWLRQLVSURWHFWHGIURPGLVFORVXUH
                            b $DFOLHQWVD\VWR%DQDGYRFDWH²,ZLVKWRREWDLQSRVVHVVLRQRISURSHUW\E\
                    WKHXVHRIDIRUJHGGHHGRQZKLFK,UHTXHVW\RXWRVXH7KLVFRPPXQLFDWLRQEHLQJPDGH
                    LQIXUWKHUDQFHRIDFULPLQDOSXUSRVHLVQRWSURWHFWHGIURPGLVFORVXUH
                           c $EHLQJFKDUJHGZLWKHPEH]]OHPHQWUHWDLQV%DQDGYRFDWHWRGHIHQGKLP,QWKH
                    FRXUVHRIWKHSURFHHGLQJV%REVHUYHVWKDWDQHQWU\KDVEHHQPDGHLQ$ VDFFRXQWERRN
                    FKDUJLQJ$ZLWKWKHVXPVDLGWRKDYHEHHQHPEH]]OHGZKLFKHQWU\ZDVQRWLQWKHERRNDW
                    WKH FRPPHQFHPHQW RI KLV SURIHVVLRQDOVHUYLFH7KLVEHLQJDIDFW REVHUYHG E\ % LQ WKH
                    FRXUVHRIKLVVHUYLFHVKRZLQJWKDWDIUDXGKDVEHHQFRPPLWWHGVLQFHWKHFRPPHQFHPHQWRI
                    WKHSURFHHGLQJVLWLVQRWSURWHFWHGIURPGLVFORVXUH
                         3 7KH SURYLVLRQV RI WKLV VHFWLRQ VKDOO DSSO\ WR LQWHUSUHWHUV DQG WKH FOHUNV RU
                    HPSOR\HHVRIDGYRFDWHV
3ULYLOHJH QRW             133. ,IDQ\SDUW\WRDVXLWJLYHVHYLGHQFHWKHUHLQDWKLVRZQLQVWDQFHRURWKHUZLVHKH
ZDLYHGE\           VKDOO QRW EH GHHPHG WR KDYH FRQVHQWHG WKHUHE\ WR VXFK GLVFORVXUH DV LV PHQWLRQHG LQ
YROXQWHHULQJ
HYLGHQFH           VHFWLRQDQGLIDQ\SDUW\WRDVXLWRUSURFHHGLQJFDOOVDQ\VXFKDGYRFDWHDVDZLWQHVV
                    KHVKDOOEHGHHPHGWRKDYHFRQVHQWHGWRVXFKGLVFORVXUHRQO\LIKHTXHVWLRQVVXFKDGYRFDWH
                    RQPDWWHUVZKLFKEXWIRUVXFKTXHVWLRQKHZRXOGQRWEHDWOLEHUW\WRGLVFORVH
&RQILGHQWLDO              134. 1RRQHVKDOOEHFRPSHOOHGWRGLVFORVHWRWKH&RXUWDQ\FRQILGHQWLDOFRPPXQLFDWLRQ
FRPPXQLFDWLRQ       ZKLFKKDVWDNHQSODFHEHWZHHQKLPDQGKLVOHJDODGYLVHUXQOHVVKHRIIHUVKLPVHOIDVD
ZLWK OHJDO
DGYLVHUV           ZLWQHVVLQZKLFKFDVHKHPD\EHFRPSHOOHGWRGLVFORVHDQ\VXFKFRPPXQLFDWLRQVDVPD\
                    DSSHDUWRWKH&RXUWQHFHVVDU\WREHNQRZQLQRUGHUWRH[SODLQDQ\HYLGHQFHZKLFKKHKDV
                    JLYHQEXWQRRWKHUV
3URGXFWLRQ RI             135. 1R ZLWQHVV ZKR LV QRW D SDUW\ WR D VXLW VKDOO EH FRPSHOOHG WR SURGXFH KLV
WLWOHGHHGV RI     WLWOHGHHGVWRDQ\SURSHUW\RUDQ\GRFXPHQWLQYLUWXHRIZKLFKKHKROGVDQ\SURSHUW\DV
ZLWQHVV QRW D
SDUW\
                    SOHGJHHRUPRUWJDJHHRUDQ\GRFXPHQWWKHSURGXFWLRQRIZKLFKPLJKWWHQGWRFULPLQDWH
                    KLPXQOHVVKHKDVDJUHHGLQZULWLQJWRSURGXFHWKHPZLWKWKHSHUVRQVHHNLQJWKHSURGXFWLRQ
                    RIVXFKGHHGVRUVRPHSHUVRQWKURXJKZKRPKHFODLPV
3URGXFWLRQ RI             136. 1RRQHVKDOOEHFRPSHOOHGWRSURGXFHGRFXPHQWVLQKLVSRVVHVVLRQRUHOHFWURQLF
GRFXPHQWV RU       UHFRUGVXQGHUKLVFRQWUROZKLFKDQ\RWKHUSHUVRQZRXOGEHHQWLWOHGWRUHIXVHWRSURGXFHLI
HOHFWURQLF
UHFRUGV ZKLFK      WKH\ ZHUH LQ KLV SRVVHVVLRQ RU FRQWURO XQOHVV VXFK ODVWPHQWLRQHG SHUVRQ FRQVHQWV WR
DQRWKHU             WKHLUSURGXFWLRQ
SHUVRQ KDYLQJ
SRVVHVVLRQ
FRXOG UHIXVH WR
SURGXFH

:LWQHVV QRW              137. $ZLWQHVVVKDOOQRWEHH[FXVHGIURPDQVZHULQJDQ\TXHVWLRQDVWRDQ\PDWWHU
H[FXVHG IURP       UHOHYDQWWRWKHPDWWHULQLVVXHLQDQ\VXLWRULQDQ\FLYLORUFULPLQDOSURFHHGLQJXSRQWKH
DQVZHULQJ RQ
JURXQG WKDW        JURXQGWKDWWKHDQVZHUWRVXFKTXHVWLRQZLOOFULPLQDWHRUPD\WHQGGLUHFWO\RULQGLUHFWO\WR
DQVZHUZLOO         FULPLQDWHVXFKZLWQHVVRUWKDWLWZLOOH[SRVHRUWHQGGLUHFWO\RULQGLUHFWO\WRH[SRVHVXFK
FULPLQDWH          ZLWQHVVWRDSHQDOW\RUIRUIHLWXUHRIDQ\NLQG
                          3URYLGHG WKDW QR VXFK DQVZHU ZKLFK D ZLWQHVV VKDOO EH FRPSHOOHG WR JLYH VKDOO
                    VXEMHFWKLPWRDQ\DUUHVWRUSURVHFXWLRQRUEHSURYHGDJDLQVWKLPLQDQ\FULPLQDOSURFHHGLQJ
                    H[FHSWDSURVHFXWLRQIRUJLYLQJIDOVHHYLGHQFHE\VXFKDQVZHU
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           138. $QDFFRPSOLFHVKDOOEHDFRPSHWHQWZLWQHVVDJDLQVWDQDFFXVHGSHUVRQ                         $FFRPSOLFH
      DQGDFRQYLFWLRQLVQRWLOOHJDOLILWSURFHHGVXSRQWKHFRUURERUDWHGWHVWLPRQ\RIDQ
      DFFRPSOLFH
            139. 1RSDUWLFXODUQXPEHURIZLWQHVVHVVKDOOLQDQ\FDVHEHUHTXLUHGIRUWKHSURRIRI             1XPEHU RI
                                                                                                              ZLWQHVVHV
      DQ\IDFW
                                                 &+$37(5;
                                        2)(;$0,1$7,212):,71(66(6
            140. 7KHRUGHULQZKLFKZLWQHVVHVDUHSURGXFHGDQGH[DPLQHGVKDOOEHUHJXODWHGE\                 2UGHU RI
      WKHODZDQGSUDFWLFHIRUWKHWLPHEHLQJUHODWLQJWRFLYLODQGFULPLQDOSURFHGXUHUHVSHFWLYHO\          SURGXFWLRQ
                                                                                                              DQG
      DQGLQWKHDEVHQFHRIDQ\VXFKODZE\WKHGLVFUHWLRQRIWKH&RXUW                                    H[DPLQDWLRQ
                                                                                                              RI ZLWQHVVHV

            141. 1 :KHQHLWKHUSDUW\SURSRVHVWRJLYHHYLGHQFHRIDQ\IDFWWKH-XGJHPD\DVN                -XGJHWRGHFLGH
      WKHSDUW\SURSRVLQJWRJLYHWKHHYLGHQFHLQZKDWPDQQHUWKHDOOHJHGIDFWLISURYHGZRXOG              DV WR
                                                                                                              DGPLVVLELOLW\
      EHUHOHYDQWDQGWKH-XGJHVKDOODGPLWWKHHYLGHQFHLIKHWKLQNVWKDWWKHIDFWLISURYHG
                                                                                                              RI HYLGHQFH
      ZRXOGEHUHOHYDQWDQGQRWRWKHUZLVH
             2 ,IWKHIDFWSURSRVHGWREHSURYHGLVRQHRIZKLFKHYLGHQFHLVDGPLVVLEOHRQO\XSRQ
      SURRIRIVRPHRWKHUIDFWVXFKODVWPHQWLRQHGIDFWPXVWEHSURYHGEHIRUHHYLGHQFHLVJLYHQ
      RIWKHIDFWILUVWPHQWLRQHGXQOHVVWKHSDUW\XQGHUWDNHVWRJLYHSURRIRIVXFKIDFWDQGWKH
      &RXUWLVVDWLVILHGZLWKVXFKXQGHUWDNLQJ
             3 ,IWKHUHOHYDQF\RIRQHDOOHJHGIDFWGHSHQGVXSRQDQRWKHUDOOHJHGIDFWEHLQJILUVW
      SURYHGWKH-XGJHPD\LQKLVGLVFUHWLRQHLWKHUSHUPLWHYLGHQFHRIWKHILUVWIDFWWREHJLYHQ
      EHIRUHWKHVHFRQGIDFWLVSURYHGRUUHTXLUHHYLGHQFHWREHJLYHQRIWKHVHFRQGIDFWEHIRUH
      HYLGHQFHLVJLYHQRIWKHILUVWIDFW

                                                 Illustrations.
             a ,WLVSURSRVHGWRSURYHDVWDWHPHQWDERXWDUHOHYDQWIDFWE\DSHUVRQDOOHJHGWREH
      GHDGZKLFKVWDWHPHQWLVUHOHYDQWXQGHUVHFWLRQ7KHIDFWWKDWWKHSHUVRQLVGHDGPXVWEH
      SURYHGE\WKHSHUVRQSURSRVLQJWRSURYHWKHVWDWHPHQWEHIRUHHYLGHQFHLVJLYHQRIWKH
      VWDWHPHQW
             b ,WLVSURSRVHGWRSURYHE\DFRS\WKHFRQWHQWVRIDGRFXPHQWVDLGWREHORVW7KH
      IDFWWKDWWKHRULJLQDOLVORVWPXVWEHSURYHGE\WKHSHUVRQSURSRVLQJWRSURGXFHWKHFRS\
      EHIRUHWKHFRS\LVSURGXFHG
             c $LVDFFXVHGRIUHFHLYLQJVWROHQSURSHUW\NQRZLQJLWWRKDYHEHHQVWROHQ,WLV
      SURSRVHG WR SURYH WKDW KH GHQLHG WKH SRVVHVVLRQ RI WKH SURSHUW\7KH UHOHYDQF\ RI WKH
      GHQLDO GHSHQGV RQ WKH LGHQWLW\ RI WKH SURSHUW\7KH &RXUW PD\ LQ LWV GLVFUHWLRQ HLWKHU
      UHTXLUHWKHSURSHUW\WREHLGHQWLILHGEHIRUHWKHGHQLDORIWKHSRVVHVVLRQLVSURYHGRUSHUPLW
      WKHGHQLDORIWKHSRVVHVVLRQWREHSURYHGEHIRUHWKHSURSHUW\LVLGHQWLILHG
              d ,WLVSURSRVHGWRSURYHDIDFW$ZKLFKLVVDLGWRKDYHEHHQWKHFDXVHRUHIIHFWRID
      IDFWLQLVVXH7KHUHDUHVHYHUDOLQWHUPHGLDWHIDFWV%&DQG'ZKLFKPXVWEHVKRZQWRH[LVW
      EHIRUHWKHIDFW$FDQEHUHJDUGHGDVWKHFDXVHRUHIIHFWRIWKHIDFWLQLVVXH7KH&RXUWPD\
      HLWKHUSHUPLW$WREHSURYHGEHIRUH%&RU'LVSURYHGRUPD\UHTXLUHSURRIRI%&DQG'
      EHIRUHSHUPLWWLQJSURRIRI$
           142. 1 7KHH[DPLQDWLRQRIDZLWQHVVE\WKHSDUW\ZKRFDOOVKLPVKDOOEHFDOOHGKLV                ([DPLQDWLRQ
      H[DPLQDWLRQLQFKLHI                                                                                   RI ZLWQHVVHV

             2 7KH H[DPLQDWLRQ RI D ZLWQHVV E\ WKH DGYHUVH SDUW\ VKDOO EH FDOOHG KLV
      FURVVH[DPLQDWLRQ
            3 7KHH[DPLQDWLRQRIDZLWQHVVVXEVHTXHQWWRWKHFURVVH[DPLQDWLRQE\WKHSDUW\
      ZKRFDOOHGKLPVKDOOEHFDOOHGKLVUHH[DPLQDWLRQ
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2UGHU RI                143. 1  :LWQHVVHV VKDOO EH ILUVW H[DPLQHGLQFKLHI WKHQ LI WKH DGYHUVH SDUW\ VR
H[DPLQDWLRQV      GHVLUHV FURVVH[DPLQHGWKHQ LIWKHSDUW\FDOOLQJKLPVRGHVLUHV UHH[DPLQHG
                          2 7KHH[DPLQDWLRQLQFKLHIDQGFURVVH[DPLQDWLRQPXVWUHODWHWRUHOHYDQWIDFWVEXW
                   WKHFURVVH[DPLQDWLRQQHHGQRWEHFRQILQHGWRWKHIDFWVWRZKLFKWKHZLWQHVVWHVWLILHGRQ
                   KLVH[DPLQDWLRQLQFKLHI
                          3 7KHUHH[DPLQDWLRQVKDOOEHGLUHFWHGWRWKHH[SODQDWLRQRIPDWWHUVUHIHUUHGWRLQ
                   FURVVH[DPLQDWLRQ DQG LI QHZ PDWWHU LV E\ SHUPLVVLRQ RI WKH &RXUW LQWURGXFHG LQ
                   UHH[DPLQDWLRQWKHDGYHUVHSDUW\PD\IXUWKHUFURVVH[DPLQHXSRQWKDWPDWWHU
&URVV                   144.$SHUVRQVXPPRQHGWRSURGXFHDGRFXPHQWGRHVQRWEHFRPHDZLWQHVVE\WKH
H[DPLQDWLRQ        PHUHIDFWWKDWKHSURGXFHVLWDQGFDQQRWEHFURVVH[DPLQHGXQOHVVDQGXQWLOKHLVFDOOHGDV
RI SHUVRQ
FDOOHG WR         DZLWQHVV
SURGXFH D
GRFXPHQW

:LWQHVVHV WR            145.:LWQHVVHVWRFKDUDFWHUPD\EHFURVVH[DPLQHGDQGUHH[DPLQHG
FKDUDFWHU

/HDGLQJ                 146. 1 $Q\TXHVWLRQVXJJHVWLQJWKHDQVZHUZKLFKWKHSHUVRQSXWWLQJLWZLVKHVRU
TXHVWLRQV         H[SHFWVWRUHFHLYHLVFDOOHGDOHDGLQJTXHVWLRQ
                         2 /HDGLQJTXHVWLRQVPXVWQRWLIREMHFWHGWRE\WKHDGYHUVHSDUW\EHDVNHGLQDQ
                   H[DPLQDWLRQLQFKLHIRULQDUHH[DPLQDWLRQH[FHSWZLWKWKHSHUPLVVLRQRIWKH&RXUW
                         3 7KH&RXUWVKDOOSHUPLWOHDGLQJTXHVWLRQVDVWRPDWWHUVZKLFKDUHLQWURGXFWRU\RU
                   XQGLVSXWHGRUZKLFKKDYHLQLWVRSLQLRQEHHQDOUHDG\VXIILFLHQWO\SURYHG
                          4 /HDGLQJTXHVWLRQVPD\EHDVNHGLQFURVVH[DPLQDWLRQ
(YLGHQFH DV WR          147. $Q\ZLWQHVVPD\EHDVNHGZKLOHXQGHUH[DPLQDWLRQZKHWKHUDQ\FRQWUDFW
PDWWHUV LQ        JUDQWRURWKHUGLVSRVLWLRQRISURSHUW\DVWRZKLFKKHLVJLYLQJHYLGHQFHZDVQRWFRQWDLQHG
ZULWLQJ
                   LQDGRFXPHQWDQGLIKHVD\VWKDWLWZDVRULIKHLVDERXWWRPDNHDQ\VWDWHPHQWDVWRWKH
                   FRQWHQWVRIDQ\GRFXPHQWZKLFKLQWKHRSLQLRQRIWKH&RXUWRXJKWWREHSURGXFHGWKH
                   DGYHUVHSDUW\PD\REMHFWWRVXFKHYLGHQFHEHLQJJLYHQXQWLOVXFKGRFXPHQWLVSURGXFHG
                   RU XQWLO IDFWV KDYH EHHQ SURYHG ZKLFK HQWLWOH WKH SDUW\ ZKR FDOOHG WKH ZLWQHVV WR JLYH
                   VHFRQGDU\HYLGHQFHRILW
                         Explanation.²$ZLWQHVVPD\JLYHRUDOHYLGHQFHRIVWDWHPHQWVPDGHE\RWKHUSHUVRQV
                   DERXWWKHFRQWHQWVRIGRFXPHQWVLIVXFKVWDWHPHQWVDUHLQWKHPVHOYHVUHOHYDQWIDFWV
                                                              Illustration.
                         7KHTXHVWLRQLVZKHWKHU$DVVDXOWHG%&GHSRVHVWKDWKHKHDUG$VD\WR'²%
                   ZURWH D OHWWHU DFFXVLQJ PH RI WKHIW DQG , ZLOO EH UHYHQJHG RQ KLP 7KLV VWDWHPHQW LV
                   UHOHYDQWDVVKRZLQJ$ VPRWLYHIRUWKHDVVDXOWDQGHYLGHQFHPD\EHJLYHQRILWWKRXJKQR
                   RWKHUHYLGHQFHLVJLYHQDERXWWKHOHWWHU
&URVV                    148. $ZLWQHVVPD\EHFURVVH[DPLQHGDVWRSUHYLRXVVWDWHPHQWVPDGHE\KLPLQ
H[DPLQDWLRQ        ZULWLQJRUUHGXFHGLQWRZULWLQJDQGUHOHYDQWWRPDWWHUVLQTXHVWLRQZLWKRXWVXFKZULWLQJ
DV WR SUHYLRXV
VWDWHPHQWV LQ
                   EHLQJVKRZQWRKLPRUEHLQJSURYHGEXWLILWLVLQWHQGHGWRFRQWUDGLFWKLPE\WKHZULWLQJ
ZULWLQJ           KLVDWWHQWLRQPXVWEHIRUHWKHZULWLQJFDQEHSURYHGEHFDOOHGWRWKRVHSDUWVRILWZKLFKDUH
                   WREHXVHGIRUWKHSXUSRVHRIFRQWUDGLFWLQJKLP
4XHVWLRQV                149. :KHQ D ZLWQHVV LV FURVVH[DPLQHG KH PD\ LQ DGGLWLRQ WR WKH TXHVWLRQV
ODZIXOLQ          KHUHLQEHIRUHUHIHUUHGWREHDVNHGDQ\TXHVWLRQVZKLFKWHQG²
FURVV
H[DPLQDWLRQ                     a WRWHVWKLVYHUDFLW\RU
                                 b WRGLVFRYHUZKRKHLVDQGZKDWLVKLVSRVLWLRQLQOLIHRU
                                c WRVKDNHKLVFUHGLWE\LQMXULQJKLVFKDUDFWHUDOWKRXJKWKHDQVZHUWRVXFK
                         TXHVWLRQVPLJKWWHQGGLUHFWO\RULQGLUHFWO\WRFULPLQDWHKLPRUPLJKWH[SRVHRUWHQG
                         GLUHFWO\RULQGLUHFWO\WRH[SRVHKLPWRDSHQDOW\RUIRUIHLWXUH
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             3URYLGHGWKDWLQDSURVHFXWLRQIRUDQRIIHQFHXQGHUVHFWLRQVHFWLRQVHFWLRQ
      VHFWLRQVHFWLRQVHFWLRQVHFWLRQRUVHFWLRQRIWKH%KDUDWL\D1\D\D6DQKLWD
      RUIRUDWWHPSWWRFRPPLWDQ\VXFKRIIHQFHZKHUHWKHTXHVWLRQRIFRQVHQWLVDQLVVXH
      LWVKDOOQRWEHSHUPLVVLEOHWRDGGXFHHYLGHQFHRUWRSXWTXHVWLRQVLQWKHFURVVH[DPLQDWLRQ
      RIWKHYLFWLPDVWRWKHJHQHUDOLPPRUDOFKDUDFWHURUSUHYLRXVVH[XDOH[SHULHQFHRIVXFK
      YLFWLPZLWKDQ\SHUVRQIRUSURYLQJVXFKFRQVHQWRUWKHTXDOLW\RIFRQVHQW
            150. ,IDQ\VXFKTXHVWLRQUHODWHVWRDPDWWHUUHOHYDQWWRWKHVXLWRUSURFHHGLQJWKH                :KHQ ZLWQHVV
      SURYLVLRQVRIVHFWLRQVKDOODSSO\WKHUHWR                                                             WR EH
                                                                                                                 FRPSHOOHG WR
                                                                                                                 DQVZHU

           151. 1 ,IDQ\VXFKTXHVWLRQUHODWHVWRDPDWWHUQRWUHOHYDQWWRWKHVXLWRUSURFHHGLQJ             &RXUW WR
      H[FHSWLQVRIDUDVLWDIIHFWVWKHFUHGLWRIWKHZLWQHVVE\LQMXULQJKLVFKDUDFWHUWKH&RXUWVKDOO        GHFLGH ZKHQ
                                                                                                                 TXHVWLRQ VKDOO
      GHFLGHZKHWKHURUQRWWKHZLWQHVVVKDOOEHFRPSHOOHGWRDQVZHULWDQGPD\LILWWKLQNVILW
                                                                                                                 EHDVNHGDQG
      ZDUQWKHZLWQHVVWKDWKHLVQRWREOLJHGWRDQVZHULW                                                      ZKHQ ZLWQHVV
                                                                                                                 FRPSHOOHG WR
            2 ,Q H[HUFLVLQJ LWV GLVFUHWLRQ WKH &RXUW VKDOO KDYH UHJDUG WR WKH IROORZLQJ              DQVZHU
      FRQVLGHUDWLRQVQDPHO\²
                   a VXFKTXHVWLRQVDUHSURSHULIWKH\DUHRIVXFKDQDWXUHWKDWWKHWUXWKRIWKH
            LPSXWDWLRQFRQYH\HGE\WKHPZRXOGVHULRXVO\DIIHFWWKHRSLQLRQRIWKH&RXUWDVWR
            WKHFUHGLELOLW\RIWKHZLWQHVVRQWKHPDWWHUWRZKLFKKHWHVWLILHV
                    b VXFKTXHVWLRQVDUHLPSURSHULIWKHLPSXWDWLRQZKLFKWKH\FRQYH\UHODWHVWR
            PDWWHUVVRUHPRWHLQWLPHRURIVXFKDFKDUDFWHUWKDWWKHWUXWKRIWKHLPSXWDWLRQZRXOG
            QRW DIIHFW RU ZRXOG DIIHFW LQ D VOLJKW GHJUHH WKH RSLQLRQ RI WKH &RXUW DV WR WKH
            FUHGLELOLW\RIWKHZLWQHVVRQWKHPDWWHUWRZKLFKKHWHVWLILHV
                   c VXFKTXHVWLRQVDUHLPSURSHULIWKHUHLVDJUHDWGLVSURSRUWLRQEHWZHHQWKH
            LPSRUWDQFHRIWKHLPSXWDWLRQPDGHDJDLQVWWKHZLWQHVV VFKDUDFWHUDQGWKHLPSRUWDQFH
            RIKLVHYLGHQFH
                   d WKH&RXUWPD\LILWVHHVILWGUDZIURPWKHZLWQHVV VUHIXVDOWRDQVZHUWKH
            LQIHUHQFHWKDWWKHDQVZHULIJLYHQZRXOGEHXQIDYRXUDEOH
            152. 1RVXFKTXHVWLRQDVLVUHIHUUHGWRLQVHFWLRQRXJKWWREHDVNHGXQOHVVWKH                 4XHVWLRQ QRW
      SHUVRQDVNLQJLWKDVUHDVRQDEOHJURXQGVIRUWKLQNLQJWKDWWKHLPSXWDWLRQZKLFKLWFRQYH\V                  WR EH DVNHG
                                                                                                                 ZLWKRXW
      LVZHOOIRXQGHG                                                                                           UHDVRQDEOH
                                                                                                                 JURXQGV
                                                 Illustrations.
             a $Q DGYRFDWH LV LQVWUXFWHG E\ DQRWKHU DGYRFDWH WKDW DQ LPSRUWDQW ZLWQHVV LV D
      GDFRLW7KLVLVDUHDVRQDEOHJURXQGIRUDVNLQJWKHZLWQHVVZKHWKHUKHLVDGDFRLW
             b $QDGYRFDWHLVLQIRUPHGE\DSHUVRQLQ&RXUWWKDWDQLPSRUWDQWZLWQHVVLVDGDFRLW
      7KH LQIRUPDQW RQ EHLQJ TXHVWLRQHG E\ WKH DGYRFDWH JLYHV VDWLVIDFWRU\ UHDVRQV IRU KLV
      VWDWHPHQW7KLVLVDUHDVRQDEOHJURXQGIRUDVNLQJWKHZLWQHVVZKHWKHUKHLVDGDFRLW
            c $ZLWQHVVRIZKRPQRWKLQJZKDWHYHULVNQRZQLVDVNHGDWUDQGRPZKHWKHUKHLV
      DGDFRLW7KHUHDUHKHUHQRUHDVRQDEOHJURXQGVIRUWKHTXHVWLRQ
              d $ZLWQHVVRIZKRPQRWKLQJZKDWHYHULVNQRZQEHLQJTXHVWLRQHGDVWRKLVPRGH
      RIOLIHDQGPHDQVRIOLYLQJJLYHVXQVDWLVIDFWRU\DQVZHUV7KLVPD\EHDUHDVRQDEOHJURXQG
      IRUDVNLQJKLPLIKHLVDGDFRLW
            153. ,IWKH&RXUWLVRIRSLQLRQWKDWDQ\VXFKTXHVWLRQZDVDVNHGZLWKRXWUHDVRQDEOH                  3URFHGXUH RI
      JURXQGVLWPD\LILWZDVDVNHGE\DQ\DGYRFDWHUHSRUWWKHFLUFXPVWDQFHVRIWKHFDVHWRWKH              &RXUW LQ FDVH
                                                                                                                 RI TXHVWLRQ
      +LJK &RXUW RU RWKHU DXWKRULW\ WR ZKLFK VXFK DGYRFDWH LV VXEMHFW LQ WKH H[HUFLVH RI KLV
                                                                                                                 EHLQJ DVNHG
      SURIHVVLRQ                                                                                                ZLWKRXW
                                                                                                                 UHDVRQDEOH
                                                                                                                 JURXQGV
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,QGHFHQW DQG          154. 7KH&RXUWPD\IRUELGDQ\TXHVWLRQVRULQTXLULHVZKLFKLWUHJDUGVDVLQGHFHQWRU
VFDQGDORXV       VFDQGDORXVDOWKRXJKVXFKTXHVWLRQVRULQTXLULHVPD\KDYHVRPHEHDULQJRQWKHTXHVWLRQV
TXHVWLRQV
                 EHIRUHWKH&RXUWXQOHVVWKH\UHODWHWRIDFWVLQLVVXHRUWRPDWWHUVQHFHVVDU\WREHNQRZQLQ
                 RUGHUWRGHWHUPLQHZKHWKHURUQRWWKHIDFWVLQLVVXHH[LVWHG
4XHVWLRQV              155. 7KH&RXUWVKDOOIRUELGDQ\TXHVWLRQZKLFKDSSHDUVWRLWWREHLQWHQGHGWRLQVXOW
LQWHQGHG WR     RUDQQR\RUZKLFKWKRXJKSURSHULQLWVHOIDSSHDUVWRWKH&RXUWQHHGOHVVO\RIIHQVLYHLQ
LQVXOW RU
                 IRUP
DQQR\

([FOXVLRQ RI          156. :KHQDZLWQHVVKDVEHHQDVNHGDQGKDVDQVZHUHGDQ\TXHVWLRQZKLFKLVUHOHYDQW
HYLGHQFH WR     WRWKHLQTXLU\RQO\LQVRIDUDVLWWHQGVWRVKDNHKLVFUHGLWE\LQMXULQJKLVFKDUDFWHUQR
FRQWUDGLFW
DQVZHUV WR
                 HYLGHQFHVKDOOEHJLYHQWRFRQWUDGLFWKLPEXWLIKHDQVZHUVIDOVHO\KHPD\DIWHUZDUGVEH
TXHVWLRQV        FKDUJHGZLWKJLYLQJIDOVHHYLGHQFH
WHVWLQJ
YHUDFLW\             Exception²,IDZLWQHVVLVDVNHGZKHWKHUKHKDVEHHQSUHYLRXVO\FRQYLFWHGRIDQ\
                 FULPHDQGGHQLHVLWHYLGHQFHPD\EHJLYHQRIKLVSUHYLRXVFRQYLFWLRQ
                      Exception²,IDZLWQHVVLVDVNHGDQ\TXHVWLRQWHQGLQJWRLPSHDFKKLVLPSDUWLDOLW\
                 DQGDQVZHUVLWE\GHQ\LQJWKHIDFWVVXJJHVWHGKHPD\EHFRQWUDGLFWHG

                                                         Illustrations.
                       a $FODLPDJDLQVWDQXQGHUZULWHULVUHVLVWHGRQWKHJURXQGRIIUDXG7KHFODLPDQWLV
                 DVNHGZKHWKHULQDIRUPHUWUDQVDFWLRQKHKDGQRWPDGHDIUDXGXOHQWFODLP+HGHQLHVLW
                 (YLGHQFHLVRIIHUHGWRVKRZWKDWKHGLGPDNHVXFKDFODLP7KHHYLGHQFHLVLQDGPLVVLEOH
                         b $ZLWQHVVLVDVNHGZKHWKHUKHZDVQRWGLVPLVVHGIURPDVLWXDWLRQIRUGLVKRQHVW\
                 +HGHQLHVLW(YLGHQFHLVRIIHUHGWRVKRZWKDWKHZDVGLVPLVVHGIRUGLVKRQHVW\7KHHYLGHQFH
                 LVQRWDGPLVVLEOH
                         c $DIILUPVWKDWRQDFHUWDLQGD\KHVDZ%DW*RD$LVDVNHGZKHWKHUKHKLPVHOIZDV
                 QRWRQWKDWGD\DW9DUDQDVL+HGHQLHVLW(YLGHQFHLVRIIHUHGWRVKRZWKDW$ZDVRQWKDWGD\
                 DW9DUDQDVL7KHHYLGHQFHLVDGPLVVLEOHQRWDVFRQWUDGLFWLQJ$RQDIDFWZKLFKDIIHFWVKLV
                 FUHGLWEXWDVFRQWUDGLFWLQJWKHDOOHJHGIDFWWKDW%ZDVVHHQRQWKHGD\LQTXHVWLRQLQ*RD
                 ,QHDFKRIWKHVHFDVHVWKHZLWQHVVPLJKWLIKLVGHQLDOZDVIDOVHEHFKDUJHGZLWKJLYLQJ
                 IDOVHHYLGHQFH
                        d $LVDVNHGZKHWKHUKLVIDPLO\KDVQRWKDGDEORRGIHXGZLWKWKHIDPLO\RI%DJDLQVW
                 ZKRPKHJLYHVHYLGHQFH+HGHQLHVLW+HPD\EHFRQWUDGLFWHGRQWKHJURXQGWKDWWKH
                 TXHVWLRQWHQGVWRLPSHDFKKLVLPSDUWLDOLW\
4XHVWLRQ E\          157. 1 7KH&RXUWPD\LQLWVGLVFUHWLRQSHUPLWWKHSHUVRQZKRFDOOVDZLWQHVVWRSXW
SDUW\ WR KLV   DQ\TXHVWLRQWRKLPZKLFKPLJKWEHSXWLQFURVVH[DPLQDWLRQE\WKHDGYHUVHSDUW\
RZQ ZLWQHVV
                       2 1RWKLQJ LQ WKLV VHFWLRQ VKDOO GLVHQWLWOH WKH SHUVRQ VR SHUPLWWHG XQGHU
                 VXEVHFWLRQ 1 WRUHO\RQDQ\SDUWRIWKHHYLGHQFHRIVXFKZLWQHVV
,PSHDFKLQJ              158. 7KHFUHGLWRIDZLWQHVVPD\EHLPSHDFKHGLQWKHIROORZLQJZD\VE\WKHDGYHUVH
FUHGLW RI       SDUW\RUZLWKWKHFRQVHQWRIWKH&RXUWE\WKHSDUW\ZKRFDOOVKLP²
ZLWQHVV
                              a E\WKHHYLGHQFHRISHUVRQVZKRWHVWLI\WKDWWKH\IURPWKHLUNQRZOHGJHRI
                       WKHZLWQHVVEHOLHYHKLPWREHXQZRUWK\RIFUHGLW
                              b E\SURRIWKDWWKHZLWQHVVKDVEHHQEULEHGRUKDVDFFHSWHGWKHRIIHURID
                       EULEHRUKDVUHFHLYHGDQ\RWKHUFRUUXSWLQGXFHPHQWWRJLYHKLVHYLGHQFH
                             c E\SURRIRIIRUPHUVWDWHPHQWVLQFRQVLVWHQWZLWKDQ\SDUWRIKLVHYLGHQFH
                       ZKLFKLVOLDEOHWREHFRQWUDGLFWHG
                       Explanation.²$ZLWQHVVGHFODULQJDQRWKHUZLWQHVVWREHXQZRUWK\RIFUHGLWPD\
                 QRWXSRQKLVH[DPLQDWLRQLQFKLHIJLYHUHDVRQVIRUKLVEHOLHIEXWKHPD\EHDVNHGKLV
                 UHDVRQV LQ FURVVH[DPLQDWLRQ DQG WKH DQVZHUV ZKLFK KH JLYHV FDQQRW EH FRQWUDGLFWHG
                 WKRXJKLIWKH\DUHIDOVHKHPD\DIWHUZDUGVEHFKDUJHGZLWKJLYLQJIDOVHHYLGHQFH
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                                                Illustrations.
            a $VXHV%IRUWKHSULFHRIJRRGVVROGDQGGHOLYHUHGWR%&VD\VWKDWKHGHOLYHUHG
      WKHJRRGVWR%(YLGHQFHLVRIIHUHGWRVKRZWKDWRQDSUHYLRXVRFFDVLRQKHVDLGWKDWKH
      KDGQRWGHOLYHUHGJRRGVWR%7KHHYLGHQFHLVDGPLVVLEOH
             b $LVDFFXVHGRIWKHPXUGHURI%&VD\VWKDW%ZKHQG\LQJGHFODUHGWKDW$KDG
      JLYHQ % WKH ZRXQG RI ZKLFK KH GLHG (YLGHQFH LV RIIHUHG WR VKRZ WKDW RQ D SUHYLRXV
      RFFDVLRQ&VDLGWKDW%ZKHQG\LQJGLGQRWGHFODUHWKDW$KDGJLYHQ%WKHZRXQGRIZKLFK
      KHGLHG7KHHYLGHQFHLVDGPLVVLEOH
            159. :KHQ D ZLWQHVV ZKRP LW LV LQWHQGHG WR FRUURERUDWH JLYHV HYLGHQFH RI DQ\        4XHVWLRQV
      UHOHYDQWIDFWKHPD\EHTXHVWLRQHGDVWRDQ\RWKHUFLUFXPVWDQFHVZKLFKKHREVHUYHGDWRU             WHQGLQJ WR
                                                                                                            FRUURERUDWH
      QHDUWRWKHWLPHRUSODFHDWZKLFKVXFKUHOHYDQWIDFWRFFXUUHGLIWKH&RXUWLVRIRSLQLRQWKDW       HYLGHQFH RI
      VXFKFLUFXPVWDQFHVLISURYHGZRXOGFRUURERUDWHWKHWHVWLPRQ\RIWKHZLWQHVVDVWRWKH               UHOHYDQW IDFW
      UHOHYDQWIDFWZKLFKKHWHVWLILHV                                                                     DGPLVVLEOH

                                                Illustration.
            $DQDFFRPSOLFHJLYHVDQDFFRXQWRIDUREEHU\LQZKLFKKHWRRNSDUW+HGHVFULEHV
      YDULRXVLQFLGHQWVXQFRQQHFWHGZLWKWKHUREEHU\ZKLFKRFFXUUHGRQKLVZD\WRDQGIURPWKH
      SODFHZKHUHLWZDVFRPPLWWHG,QGHSHQGHQWHYLGHQFHRIWKHVHIDFWVPD\EHJLYHQLQRUGHUWR
      FRUURERUDWHKLVHYLGHQFHDVWRWKHUREEHU\LWVHOI
            160.,QRUGHUWRFRUURERUDWHWKHWHVWLPRQ\RIDZLWQHVVDQ\IRUPHUVWDWHPHQWPDGHE\           )RUPHU
      VXFKZLWQHVVUHODWLQJWRWKHVDPHIDFWDWRUDERXWWKHWLPHZKHQWKHIDFWWRRNSODFHRU             VWDWHPHQWV RI
                                                                                                            ZLWQHVV PD\
      EHIRUHDQ\DXWKRULW\OHJDOO\FRPSHWHQWWRLQYHVWLJDWHWKHIDFWPD\EHSURYHG                        EH SURYHG WR
                                                                                                            FRUURERUDWH
                                                                                                            ODWHU
                                                                                                            WHVWLPRQ\ DV
                                                                                                            WR VDPH IDFW

            161. :KHQHYHUDQ\VWDWHPHQWUHOHYDQWXQGHUVHFWLRQRULVSURYHGDOOPDWWHUV            :KDW PDWWHUV
      PD\EHSURYHGHLWKHULQRUGHUWRFRQWUDGLFWRUWRFRUURERUDWHLWRULQRUGHUWRLPSHDFKRU           PD\ EH SURYHG
                                                                                                            LQ FRQQHFWLRQ
      FRQILUPWKHFUHGLWRIWKHSHUVRQE\ZKRPLWZDVPDGHZKLFKPLJKWKDYHEHHQSURYHGLIWKDW            ZLWK SURYHG
      SHUVRQKDGEHHQFDOOHGDVDZLWQHVVDQGKDGGHQLHGXSRQFURVVH[DPLQDWLRQWKHWUXWKRIWKH            VWDWHPHQW
      PDWWHU VXJJHVWHG                                                                                    UHOHYDQW XQGHU
                                                                                                            VHFWLRQ  RU
                                                                                                            

             162. 1 $ZLWQHVVPD\ZKLOHXQGHUH[DPLQDWLRQUHIUHVKKLVPHPRU\E\UHIHUULQJWR             5HIUHVKLQJ
      DQ\ZULWLQJPDGHE\KLPVHOIDWWKHWLPHRIWKHWUDQVDFWLRQFRQFHUQLQJZKLFKKHLVTXHVWLRQHG         PHPRU\
      RUVRVRRQDIWHUZDUGVWKDWWKH&RXUWFRQVLGHUVLWOLNHO\WKDWWKHWUDQVDFWLRQZDVDWWKDWWLPH
      IUHVKLQKLVPHPRU\
            3URYLGHG WKDW WKH ZLWQHVV PD\ DOVR UHIHU WR DQ\ VXFK ZULWLQJ PDGH E\ DQ\ RWKHU
      SHUVRQDQGUHDGE\WKHZLWQHVVZLWKLQWKHWLPHDIRUHVDLGLIZKHQKHUHDGLWKHNQHZLWWREH
      FRUUHFW
            2 :KHQHYHUDZLWQHVVPD\UHIUHVKKLVPHPRU\E\UHIHUHQFHWRDQ\GRFXPHQWKH
      PD\ZLWKWKHSHUPLVVLRQRIWKH&RXUWUHIHUWRDFRS\RIVXFKGRFXPHQW
           3URYLGHG WKDW WKH &RXUW EH VDWLVILHG WKDW WKHUH LV VXIILFLHQW UHDVRQ IRU WKH
      QRQSURGXFWLRQRIWKHRULJLQDO
             3URYLGHGIXUWKHUWKDWDQH[SHUWPD\UHIUHVKKLVPHPRU\E\UHIHUHQFHWRSURIHVVLRQDO
      WUHDWLVHV
             163. $ ZLWQHVV PD\ DOVR WHVWLI\ WR IDFWV PHQWLRQHG LQ DQ\ VXFK GRFXPHQW DV LV     7HVWLPRQ\ WR
      PHQWLRQHGLQVHFWLRQDOWKRXJKKHKDVQRVSHFLILFUHFROOHFWLRQRIWKHIDFWVWKHPVHOYHV           IDFWV VWDWHG LQ
                                                                                                            GRFXPHQW
      LIKHLVVXUHWKDWWKHIDFWVZHUHFRUUHFWO\UHFRUGHGLQWKHGRFXPHQW                                 PHQWLRQHG LQ
                                                                                                            VHFWLRQ 
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                                                                 Illustration.
                          $ERRNNHHSHUPD\WHVWLI\WRIDFWVUHFRUGHGE\KLPLQERRNVUHJXODUO\NHSWLQWKH
                    FRXUVHRIEXVLQHVVLIKHNQRZVWKDWWKHERRNVZHUHFRUUHFWO\NHSWDOWKRXJKKHKDVIRUJRWWHQ
                    WKHSDUWLFXODUWUDQVDFWLRQVHQWHUHG
5LJKW RI                 164.$Q\ZULWLQJUHIHUUHGWRXQGHUWKHSURYLVLRQVRIWKHWZRODVWSUHFHGLQJVHFWLRQV
DGYHUVH SDUW\      VKDOOEHSURGXFHGDQGVKRZQWRWKHDGYHUVHSDUW\LIKHUHTXLUHVLWVXFKSDUW\PD\LIKH
DV WR ZULWLQJ
                    SOHDVHVFURVVH[DPLQHWKHZLWQHVVWKHUHXSRQ
XVHG WR UHIUHVK
PHPRU\

3URGXFWLRQ RI             165. 1 $ZLWQHVVVXPPRQHGWRSURGXFHDGRFXPHQWVKDOOLILWLVLQKLVSRVVHVVLRQRU
GRFXPHQWV          SRZHUEULQJLWWR&RXUWQRWZLWKVWDQGLQJDQ\REMHFWLRQZKLFKWKHUHPD\EHWRLWVSURGXFWLRQ
                    RUWRLWVDGPLVVLELOLW\
                          3URYLGHGWKDWWKHYDOLGLW\RIDQ\VXFKREMHFWLRQVKDOOEHGHFLGHGRQE\WKH&RXUW
                           2 7KH&RXUWLILWVHHVILWPD\LQVSHFWWKHGRFXPHQWXQOHVVLWUHIHUVWRPDWWHUVRI
                    6WDWHRUWDNHRWKHUHYLGHQFHWRHQDEOHLWWRGHWHUPLQHRQLWVDGPLVVLELOLW\
                           3 ,IIRUVXFKDSXUSRVHLWLVQHFHVVDU\WRFDXVHDQ\GRFXPHQWWREHWUDQVODWHGWKH
                    &RXUW PD\ LI LW WKLQNV ILW GLUHFW WKH WUDQVODWRU WR NHHS WKH FRQWHQWV VHFUHW XQOHVV WKH
                    GRFXPHQWLVWREHJLYHQLQHYLGHQFHDQGLIWKHLQWHUSUHWHUGLVREH\VVXFKGLUHFWLRQKHVKDOO
                    EH KHOG WR KDYH FRPPLWWHG DQ RIIHQFH XQGHU VHFWLRQ  RI WKH %KDUDWL\D 1\D\D
                    6DQKLWD
                          3URYLGHGWKDWQR&RXUWVKDOOUHTXLUHDQ\FRPPXQLFDWLRQEHWZHHQWKH0LQLVWHUVDQG
                    WKH3UHVLGHQWRI,QGLDWREHSURGXFHGEHIRUHLW
*LYLQJ DV              166. :KHQDSDUW\FDOOVIRUDGRFXPHQWZKLFKKHKDVJLYHQWKHRWKHUSDUW\QRWLFHWR
HYLGHQFH RI       SURGXFH DQG VXFK GRFXPHQW LV SURGXFHG DQG LQVSHFWHG E\ WKH SDUW\ FDOOLQJ IRU LWV
GRFXPHQW
FDOOHG IRU DQG
                    SURGXFWLRQKHLVERXQGWRJLYHLWDVHYLGHQFHLIWKHSDUW\SURGXFLQJLWUHTXLUHVKLPWRGRVR
SURGXFHG RQ
QRWLFH

8VLQJ DV                167. :KHQDSDUW\UHIXVHVWRSURGXFHDGRFXPHQWZKLFKKHKDVKDGQRWLFHWRSURGXFH
HYLGHQFH RI       KHFDQQRWDIWHUZDUGVXVHWKHGRFXPHQWDVHYLGHQFHZLWKRXWWKHFRQVHQWRIWKHRWKHUSDUW\
GRFXPHQW
SURGXFWLRQ RI
                    RUWKHRUGHURIWKH&RXUW
ZKLFKZDV
UHIXVHG RQ                                                      Illustration.
QRWLFH
                          $VXHV%RQDQDJUHHPHQWDQGJLYHV%QRWLFHWRSURGXFHLW$WWKHWULDO$FDOOVIRUWKH
                    GRFXPHQWDQG%UHIXVHVWRSURGXFHLW$JLYHVVHFRQGDU\HYLGHQFHRILWVFRQWHQWV%VHHNV
                    WRSURGXFHWKHGRFXPHQWLWVHOIWRFRQWUDGLFWWKHVHFRQGDU\HYLGHQFHJLYHQE\$RULQRUGHU
                    WRVKRZWKDWWKHDJUHHPHQWLVQRWVWDPSHG+HFDQQRWGRVR
-XGJH VSRZHU             168. 7KH-XGJHPD\LQRUGHUWRGLVFRYHURUREWDLQSURRIRIUHOHYDQWIDFWVDVNDQ\
WR SXW             TXHVWLRQKHFRQVLGHUVQHFHVVDU\LQDQ\IRUPDWDQ\WLPHRIDQ\ZLWQHVVRURIWKHSDUWLHV
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SURGXFWLRQ         SDUWLHVQRUWKHLUUHSUHVHQWDWLYHVVKDOOEHHQWLWOHGWRPDNHDQ\REMHFWLRQWRDQ\VXFKTXHVWLRQ
                    RURUGHUQRUZLWKRXWWKHOHDYHRIWKH&RXUWWRFURVVH[DPLQHDQ\ZLWQHVVXSRQDQ\DQVZHU
                    JLYHQLQUHSO\WRDQ\VXFKTXHVWLRQ
                          3URYLGHGWKDWWKHMXGJPHQWPXVWEHEDVHGXSRQIDFWVGHFODUHGE\WKLV$GKLQL\DPWR
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                          3URYLGHGIXUWKHUWKDWWKLVVHFWLRQVKDOOQRWDXWKRULVHDQ\-XGJHWRFRPSHODQ\ZLWQHVV
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                    WRUHIXVHWRDQVZHURUSURGXFHXQGHUVHFWLRQVWRERWKLQFOXVLYHLIWKHTXHVWLRQ
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                    KHUHLQEHIRUHH[FHSWHG
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                Sec. 1]                 THE GAZETTE   OF INDIA EXTRAORDINARY
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                     169.7KHLPSURSHUDGPLVVLRQRUUHMHFWLRQRIHYLGHQFHVKDOOQRWEHJURXQGRILWVHOIIRU           1R QHZ WULDO
               DQHZWULDORUUHYHUVDORIDQ\GHFLVLRQLQDQ\FDVHLILWVKDOODSSHDUWRWKH&RXUWEHIRUHZKLFK      IRU LPSURSHU
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               VXFKREMHFWLRQLVUDLVHGWKDWLQGHSHQGHQWO\RIWKHHYLGHQFHREMHFWHGWRDQGDGPLWWHGWKHUH           UHMHFWLRQ RI
               ZDVVXIILFLHQWHYLGHQFHWRMXVWLI\WKHGHFLVLRQRUWKDWLIWKHUHMHFWHGHYLGHQFHKDGEHHQ            HYLGHQFH
               UHFHLYHGLWRXJKWQRWWRKDYHYDULHGWKHGHFLVLRQ
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 RI          170. 1 7KH,QGLDQ(YLGHQFH$FWLVKHUHE\UHSHDOHG                                        5HSHDO DQG
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                       2 1RWZLWKVWDQGLQJ VXFK UHSHDO LI LPPHGLDWHO\ EHIRUH WKH GDWH RQ ZKLFK WKLV
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               LPPHGLDWHO\EHIRUHVXFKFRPPHQFHPHQWDVLIWKLV$GKLQL\DPKDGQRWFRPHLQWRIRUFH
Case 2:24-cv-01745-RAJ                Document 60-2               Filed 01/07/25            Page 46 of 47


       46                      THE GAZETTE   OF INDIA EXTRAORDINARY
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                      _________________________________________________________        [Part II—
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      FUHDWLQJ VWRULQJ RU SURFHVVLQJ LQIRUPDWLRQ IRU WKH SXUSRVHV RI FDUU\LQJ RXW UHJXODU
      DFWLYLWLHVDQGGXULQJWKLVSHULRGWKHFRPSXWHURUWKHFRPPXQLFDWLRQGHYLFHZDVZRUNLQJ
      SURSHUO\DQGWKHUHOHYDQWLQIRUPDWLRQZDVUHJXODUO\IHGLQWRWKHFRPSXWHUGXULQJWKH
      RUGLQDU\FRXUVHRIEXVLQHVV,IWKHFRPSXWHUGLJLWDOGHYLFHDWDQ\SRLQWRIWLPHZDVQRW
      ZRUNLQJ SURSHUO\ RU RXW RI RSHUDWLRQ WKHQ LW KDV QRW DIIHFWHG WKH HOHFWURQLFGLJLWDO
      UHFRUGRULWVDFFXUDF\7KHGLJLWDOGHYLFHRUWKHVRXUFHRIWKHGLJLWDOUHFRUGLV²
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   Case 2:24-cv-01745-RAJ                 Document 60-2              Filed 01/07/25           Page 47 of 47



            SEC. 1]              THE GAZETTE OF INDIA EXTRAORDINARY                                  47

                                                       PART B
                                            (To be filled by the Expert)

            I, ____________________ (Name), Son/daughter/spouse of _____________________
            residing/employed at _________________________ do hereby solemnly affirm and
            sincerely state and submit as follows:—
            The produced electronic record/output of the digital record are obtained from the following
            device/digital record source (tick mark):—
            Computer / Storage Media         DVR        Mobile       Flash Drive
            CD/DVD             Server          Cloud       Other
            Other: ________________________________________

            Make & Model: _______________ Color: _______________
            Serial Number: _______________
            IMEI/UIN/UID/MAC/Cloud ID_____________________ (as applicable)
            and any other relevant information, if any, about the device/digital record_______(specify).
            I state that the HASH value/s of the electronic/digital record/s is _____________________,
            obtained through the following algorithm:—
               SHA1:
               SHA256:
               MD5:
               Other__________________ (Legally acceptable standard)
            (Hash report to be enclosed with the certificate)


                                                                    (Name, designation and signature)
            Date (DD/MM/YYYY): _____
            Time (IST): ________hours (In 24 hours format)
            Place: ____________




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                                                                                DIWAKAR SINGH,
                                         Joint Secretary & Legislative Counsel to the Govt. of India.




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